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                                                                                                         Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
21st Century Fox America, Inc.
Peter Simshauser, Esq.
Skadden, Arps, Slate, Meagher & Flom LLP
500 Boylston Street
Boston, MA 02116                               345     10/31/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
21st Century Fox America, Inc.
Peter Simshauser, Esq.
Skadden, Arps, Slate, Meagher & Flom LLP
500 Boylston Street
Boston, MA 02116                               346     10/31/2016          Tierra Solutions, Inc.                                   $0.00                                                      $0.00                                                                         $0.00
Aaron, Craig
307 Lighthouse Point Circle
Youngsville, LA 70592                          2488    3/20/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Aaron, Craig Alan
307 Lighthouse Point Circle
Youngsville, LA 70592                          531     1/19/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
ABBOTT, DAVID W
3504 MEADOWLARK LANE
ALVIN, TX 77511-7914                           1057    1/30/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
ABBOTT, DAVID W.
3504 MEADOWLARK LN
ALVIN, TX 77511                                937     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ABBOTT, DAVID W.
3504 MEADOWLARK LN
ALVIN, TX 77511                                947     1/30/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
ABBOTT, DAVID W.
3504 MEADOWLARK LN
ALVIN, TX 77511                                964     1/30/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
ABBOTT, DAVID W.
3504 MEADOWLARK LN
ALVIN, TX 77511                                1043    1/30/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
ABBOTT, DAVID W.
3504 MEADOWLARK LN
ALVIN, TX 77511                                2517    3/28/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ABBOTT, DAVID W.
3504 MEADOWLARK LN
ALVIN, TX 77511                                2530    3/28/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
ABRAHAM, ANITA F
51 HICKORY OAK DRIVE
THE WOODLANDS, TX 77381-2574                   2209    2/14/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
ACCARDO, RICKY G
3518 REDWOOD LANE
PAULINA, LA 70763                              1881    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Acevedo Settlement Group 3
Reich & Binstock LLP
Attn: Dennis C. Reich, Esq.
4265 San Felipe Suite 1000
Houston, TX 77027                              197     10/28/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ADAMSKI, JEFFREY W
107 PAMELLIA DR
BELLAIRE, TX 77401-3711                        1242     2/2/2017          Gateway Coal Company                                      $0.00                       $0.00                                                                                                        $0.00
ADAMSKI, JEFFREY W
107 PAMELLIA DR
BELLAIRE, TX 77401-3711                        1292     2/2/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
ADAMSKI, JEFFREY W
107 PAMELLIA DR
BELLAIRE, TX 77401-3711                        1297     2/2/2017           Tierra Solutions, Inc.                                   $0.00                       $0.00                                                                                                        $0.00
Adamski, Jeffrey W.
107 Pamellia Dr,
Bellaire, TX 77401-3711                        1253     2/2/2017     Maxus (U.S.) Exploration Company                               $0.00                       $0.00                                                                                                        $0.00
Adamski, Jeffrey W.
107 Pamellia Dr.
Bellaire, TX 77401-3711                        1295     2/2/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
Aetna Life Insurance Company
Aaron McCollough
McGuireWoods LLP
77 W. Wacker Drive - Suite 4100
Chicago, IL 60601                              208     10/27/2016         Gateway Coal Company                                                                  $0.00                                                                                                        $0.00



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                                                                                                                      Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
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                                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
Aetna Life Insurance Company
Aaron McCollough
McGuireWoods LLP
77 W. Wacker Drive - Suite 4100
Chicago, IL 60601                                             214     10/27/2016       Maxus Energy Corporation                                                              $0.00                                                                                                        $0.00
AGONIZANTE, LINDA
720 PAULA CT
MESQUITE, TX 75149                                            653     1/24/2017        Maxus Energy Corporation                                                              $0.00                                                                                                        $0.00
Ahlstrom, Richard Mather & Beverly Soule
5412 Bent Tree Drive
Dallas, TX 75248                                              2527    3/27/2017        Maxus Energy Corporation                         $1,713,977.92                                                                                                                     $0.00    $1,713,977.92
AIG Assurance Company on behalf of the entities listed on
Exhibit A
AIG, Inc. Attn: Eric Manne
175 Water Street
15th Floor
New York, NY 10038                                            323     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
AIG Assurance Company on behalf of the entities listed on
Exhibit A
AIG, Inc.
Attn: Eric Manne
175 Water Street, 15th Floor
New York, NY 10038                                            330     10/31/2016 Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
AIG Assurance Company on behalf of the entities listed on
exhibit A
AIG, Inc.
Attn: Eric Manne
175 Water Street, 15th Floor
New York, NY 10038                                            337     10/31/2016   Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00
AIG Assurance Company on behalf of the entities listed on
exhibit A
AIG, Inc.
Attn: Eric Manne
175 Water Street, 15th Floor
New York, NY 11038-4969                                       343     10/31/2016        Gateway Coal Company                                     $0.00                                                                                                                                    $0.00
AIG Assurance Company on behalf of the entities listed on
Exhibit A
Attn: Eric Manne
175 Water Street
15th Floor
New York, NY 10038                                            318     10/31/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
Alabama Power Company
Eric T. Ray
Balch & Bingham LLP
1901 Sixth Avenue N, Suite 1500
Birmingham, AL 35203                                           12      8/1/2016        Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
ALCALA, CAROL J
2802 WESTGROVE LN
SAN JOSE, CA 95148-3538                                       1225    1/31/2017        Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
Alden Leeds Inc.
Joseph B. Fiorenzo, Esq.
Sills Cummis & Gross P.C.
One Riverfront Plaza
Newark, NJ 07102                                              184     10/28/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
Alden Leeds Inc.
Joseph B. Fiorenzo, Esq.
Sills Cummis & Gross P.C.
One Riverfront Plaza
Newark, NJ 07102                                              241     10/28/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
Alden Leeds Inc.
Joseph B. Fiorenzo, Esq.
Sills Cummis & Gross PC
One Riverfront Plaza
Newark, NJ 07102                                              164     10/28/2016        Gateway Coal Company                                     $0.00                                                                                                                                    $0.00
Alden Leeds Inc.
Joseph B. Fiorenzo, Esq.
Sills Cummis & Gross PC
One Riverfront Plaza
Newark, NJ 07102                                              231     10/28/2016   Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00

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                                                                                                               Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address         Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                          Amount                                                                                     Amount                                                Claim Amount
Alden Leeds Inc.
Joseph B. Fiorenzo, Esq.
Sills Cummis & Gross PC
One Riverfront Plaza
Newark, NJ 07102                                     248     10/28/2016 Maxus International Energy Company                                $0.00                                                                                                                                    $0.00
ALEXANDER, RONALD
PO BOX 318225
BATON ROUGE, LA 70831-8225                           2147    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Alexander, Ronald
PO Box 318225
Baton Rouge, LA 70831-8225                           2772    2/18/2019        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Alford, William V.
P.O. Box 2164
Lexington, KY 40588-2164                             1728     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Alief Independent School District
Attn: Carl O. Sandin
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600
Houston, TX 77008                                     1      6/30/2016        Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
Allen, Johnny L
8342 Cassidy Creek Ct
Houston, TX 77095                                    1707     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ALLEN, JOHNNY L.
8342 CASSIDY CREEK CT
HOUSTON, TX 77095                                    1652     2/7/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
ALLEN, JOHNNY L.
8342 CASSIDY CREEK CT
HOUSTON, TX 77095                                    1718     2/7/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
ALLEN, JOHNNY L.
8342 CASSIDY CREEK CT
HOUSTON, TX 77095                                    1719     2/7/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
ALLEN, JOHNNY L.
8342 CASSIDY CREEK CT
HOUSTON, TX 77095                                    1729     2/7/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
ALLEN, JOHNNY L.
8342 CASSIDY CREEK CT
HOUSTON, TX 77095                                    2455    3/13/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
ALLEN, NATHAN
PO BOX 845
GONZALES, LA 70707-0845                              1621     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Alliance Chemical, Inc.
Fredi Pearlmutter, Esq.
Lindabury, McCormick, Estabrook & Cooper, P.C.
53 Cardinal Drive
Box 2369
Westfield, NJ 07091                                   88     10/17/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Alliance Chemical, Inc.
Fredi Pearlmutter, Esq.
Lindabury, McCormick, Estabrook & Cooper, P.C.
53 Cardinal Drive
Box 2369
Westfield, NJ 07091                                   93     10/18/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Alliance Chemical, Inc.
Fredi Pearlmutter, Esq.
Lindabury, McCormick, Estabrook & Cooper, P.C.
53 Cardinal Drive
Box 2369
Westfield, NJ 07091                                  239     10/28/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Alliance Chemical, Inc.
Fredi Pearlmutter, Esq.
Lindabury, McCormick, Estabrook & Cooper, P.C.
53 Cardinal Drive
Box 2369
Westfield, NJ 07091                                  251     10/28/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00




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                                                                                                                       Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                   Creditor Name and Address                         Claim No. Claim Date            Debtor                                            Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
Alliance Chemical, Inc. on behalf of itself and Pfister Chemical,
Inc.
Fredi Pearlmutter, Esq.
Lindabury, McCormick, Estabrook & Cooper, P.C.
53 Cardinal Drive
Box 2369
Westfield, NJ 07091                                                     87     10/17/2016     Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
Alliance Chemical, Inc., on behalf of itself and Pfister Chemical,
Inc.
Fredi Pearlmutter, Esq.
Lindabury, McCormick, Estabrook & Cooper, P.C.
53 Cardinal Drive
Box 2369
Westfield, NJ 07091                                                     89     10/17/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Alliance Chemical, Inc., on behalf of itself and Pfister Chemical,
Inc.
Fredi Pearlmutter, Esq.
Lindabury, McCormick, Estabrook & Cooper, P.C.
53 Cardinal Drive
Box 2369
Westfield, NJ 07091                                                    162     10/28/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Alliance Chemical, Inc., on behalf of itself and Pfister Chemical,
Inc.
Fredi Pearlmutter, Esq.
Lindabury, McCormick, Estabrook & Cooper, P.C.
53 Cardinal Drive
Box 2369
Westfield, NJ 07091                                                    163     10/28/2016     Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
American Natural Resources Company
Mark Moedritzer
Shook, Hardy & Bacon L.L.P.
2555 Grand Blvd.
Kansas City, MO 64108                                                  415     10/31/2016   Maxus Energy Corporation                       $803,924.25                                                                                                                               $803,924.25
AMODEO, JAMES
3303 OAK GARDENS DR
KINGWOOD, TX 77339-5507                                                1624     2/6/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
AMOROSO, JOSEPH C
537 SALEM CHURCH RD
NEWARK, DE 19702                                                       1702     2/7/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Analysis Group, Inc.
Attn: Michael Seigfried
111 Huntington Ave, 14th Floor
Boston, MA 02199                                                       392     10/31/2016   Maxus Energy Corporation                        $77,911.94                                                                                                                                $77,911.94
ANDERSEN, MICHAEL A
1425 WEST ISLAND CLUB SQUARE
VERO BEACH, FL 32963-5519                                              600     1/23/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Anderson, Billy C
5901 Fairchild Ct
Plano, TX 75093                                                        514     1/19/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
ANDERSON, JOHN
808 DUSKY SAP CT
GRIFFIN, GA 30223                                                      2347    2/21/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
ANDERSON, JOHN
808 DUSKY SAP CT
GRIFFIN, GA 30223                                                      2421     3/9/2017    Maxus Energy Corporation                                                                                                                                                       $0.00           $0.00
ANDERSON, JOHN R
808 DUSKY SAP CT 36
GRIFFIN, GA 30223-5996                                                 1179    1/31/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
ANDERSON, MICHAEL R
1217 KENNY ST
DEER PARK, TX 77536                                                    1868    2/10/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Anderson, Robert A
5716 Dekker Rd
Castle Hayne, NC 28429                                                 1021    1/30/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
Andrews Kurth Kenyon LLP
c/o Joseph Rovira
600 Travis
Suite 4200
Houston, TX 77002                                                      170     10/28/2016   Maxus Energy Corporation                        $17,615.84                                                                                                                                $17,615.84

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                                                                                                        Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                   Amount                                                                                     Amount                                                Claim Amount
Andrews Kurth Kenyon LLP
c/o Joseph Rovira
600 Travis, Suite 4200
Houston, TX 77002                             185     10/28/2016          Tierra Solutions, Inc.                              $4,341.34                                                       $0.00                                                                      $4,341.34
ANDREWS, CRAIG R
18117 CLIFTON RD
LAKEWOOD, OH 44107-1024                       2213    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ANDREWS, RICKY P
12461 ANDREWS LANE
GONZALES, LA 70737                            692     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Anguiano, Richard Flores
1805 12th St
Galena Park , TX 77547                        2381     3/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ANZALONE, ROBERT J
186 6TH ST
HARRISON, NJ 07029-1839                       951     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Apogent Transition Corp.
c/o McCarter & English, LLP
Attn: Lanny S. Kurzweil, Esq.
Four Gateway Center, 100 Mulberry Street
Newark, NJ 07102                              2570     4/3/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
Apogent Transition Corp.
c/o McCarter & English, LLP
Attn: Lanny S. Kurzweil, Esq.
Four Gateway Center, 100 Mulberry Street
Newark, NJ 07102                              2571     4/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Apogent Transition Corp.
c/o McCarter & English, LLP
Attn: Lanny S. Kurzweil, Esq.
Four Gateway Center, 100 Mulberry Street
Newark, NJ 07102                              2573     4/3/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
Apogent Transition Corp.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07101                              315     10/31/2016       Maxus Energy Corporation                                                                                               $0.00                                                         $0.00           $0.00
Apogent Transition Corp.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                              299     10/31/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                         $0.00           $0.00
Apogent Transition Corp.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                              311     10/31/2016 Maxus International Energy Company                                                                                           $0.00                                                         $0.00           $0.00
Apogent Transition Corp.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                              407     11/2/2016        Maxus Energy Corporation                                    $0.00                                                      $0.00                                                         $0.00           $0.00
Apogent Transition Corp.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                              409     11/2/2016           Tierra Solutions, Inc.                                                                                              $0.00                                                         $0.00           $0.00
Apogent Transition Corp.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                              410     11/2/2016    Maxus International Energy Company                                                                                         $0.00                                                         $0.00           $0.00




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                                                                                                               Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                  Creditor Name and Address        Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                          Amount                                                                                     Amount                                                Claim Amount
ARCHER, MICHAEL
2121 N. CURTIS RD
BOISE, ID 83706                                      2508    3/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ARCHER, MICHAEL
2121 N. CURTIS RD
BOISE, ID 83706                                      2509    3/27/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
ARDEN, STEVE S
9621 ROSEWOOD DR
DENTON, TX 76207-6679                                879     1/27/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
ARDEN, STEVE S
9621 ROSEWOOD DR
DENTON, TX 76207-6679                                880     1/27/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
ARDEN, STEVE S
9621 ROSEWOOD DR
DENTON, TX 76207-6679                                886     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Arizmendi, Carmen
3416 Oriole Avenue
McAllen, TX 78504                                    1494     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Arkema Inc.
Legacy Site Services LLC (agent for Arkema Inc.)
486 Thomas Jones Way, Suite 110
Exton, PA 19341-2528                                 129     10/26/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
Arkema Inc.
Legacy Site Services LLC (agent for Arkema Inc.)
486 Thomas Jones Way, Suite 110
Exton, PA 19341-2528                                 130     10/26/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
ARMSTRONG, JOHN B.
136 WESTSIDE LANE
MIDDLETOWN, DE 19709                                 1422     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ARMSTRONG, JOHN B.
136 WESTSIDE LANE
MIDDLETOWN, DE 19709                                 2490    3/20/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
ARMSTRONG, ROBERT J
26 WINDING HILL DR
HOCKESSIN, DE 19707-2014                             1382     2/2/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ARMSTRONG, ROBERT J
26 WINDING HILL DR
HOCKESSIN, DE 19707-2014                             2397     3/6/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
AROSTEGUI, MARVIN A
17541 SW 73RD CT
PALMETTO BAY, FL 33157-6351                          1164    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ARRA, MARK T
3801 68TH AVE NE
NORMAN, OK 73026-2705                                719     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ASHE, LILLIE B
2446 MCKENSIE LN
GRAND PRAIRIE, TX 75052-3915                         1011    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Ashford, Catherine B
147 W Cliffside Ave
Amarillo, TX 79108                                   1491     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Ashland LLC (f/k/a Ashland Inc.)
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                     394     10/31/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Ashland LLC (f/k/a Ashland Inc.)
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                     2640     5/9/2017        Maxus Energy Corporation                           $1,144,855.39                                                                                                                     $0.00    $1,144,855.39
Ashland LLC (f/k/a Ashland Inc.)
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                     2650     5/9/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                    $0.00           $0.00




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                                                                                                         Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
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                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
Ashland, Inc. (f/k/a Ashland Inc.)
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                               393     10/31/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Ashraf, Saied
5711 Andover
Amarillo, TX 79109                             1502     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
AT&T Corp
c/o AT&T Services, Inc
Karen A. Cavagnaro, Lead Paralegal
One AT&T Way, Room 3A104
Bedminster, NJ 07921                            78     10/7/2016        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ATKINSON, LACY
22 BEULAH LN
HAMPSTEAD, NC 28443-8948                       1527     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BACON, JAMES W.
41153 AVOYELLES AVE
GONZALES, LA 70737-8591                        2434    3/10/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BADDERS, WILLIAM M
260 CHRISTIANA RD APT N16
NEW CASTLE, DE 19720-2963                      2038    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                            615     1/23/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                            657     1/23/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                            658     1/23/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                            659     1/23/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                            713     1/23/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                            2513    3/27/2017          Gateway Coal Company                                                                                                                                                               $0.00           $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                            2514    3/27/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                            2525    3/27/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                            2526    3/27/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                            2532    3/27/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
BAILEY, JACK K
98 MALONEY RD
ELKTON, MD 21921-6333                          1573     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Bailey, Kenneth D.
4748 Pin Oaks Circle
Rockwall, TX 75032                             523     1/19/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Bailey, Kenneth D.
4748 Pin Oaks Circle
Rockwall, TX 75032                             524     1/19/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Baker, Edward J.
12035 Fairbury Dr.
Houston, TX 77089-6321                         1777     2/9/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Baker, Gale
1413 Oakwood Tr.
Painesville, OH 44077                          2497    3/21/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00




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                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
BALDWIN, RAY A
135 THUNDER RD
KERRVILLE, TX 78028-9325                    899     1/27/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BANDT, KERMIT
PO BOX 1548
LAFAYETTE, CA 94549-1548                    687     1/23/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BANDT, KERMIT
PO BOX 1548
LAFAYETTE, CA 94549-1548                    2405     3/7/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Barber, Betty A
4415 Sapelo Dr.
Evans, GA 30809                             1844    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Barmore, Clifford W
7938 Bayou Drive St
Alvin, TX 77511                             1842    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Barmore, Deborah L
7938 Bayou Dr St
Alvin, TX 77511                             1487     2/6/2017        Maxus Energy Corporation                                                                $0.00                          $0.00                                                                         $0.00
BARNES JR, GRADY R
230 GOOSE NECK RD
ROCKY POINT, NC 28457                       562     1/21/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
BARNES JR, GRADY R
230 GOOSE NECK RD
ROCKY POINT, NC 28457                       563     1/21/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
BARNES JR, GRADY R
230 GOOSE NECK RD
ROCKY POINT, NC 28457                       564     1/21/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
BARNES JR, GRADY R
230 GOOSE NECK RD
ROCKY POINT, NC 28457                       565     1/21/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BARNES JR, GRADY R
230 GOOSE NECK RD
ROCKY POINT, NC 28457                       585     1/21/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
BARNES, CLARENCE W
4402 RASPBERRY RD
WILMINGTON, NC 28405-8477                   1992    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BARNES, JOHN W.
C/O SHIRLEY CAMP
11841 BENT BRANCH RD
PIKEVILLE, KY 41501                         1172    1/31/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BARNES, JOHN W.
C/O SHIRLEY CAMP
11841 BENT BRANCH RD
PIKEVILLE, KY 41501                         2422     3/9/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BARNETT, ELAINE FRY
9101 CRESTVIEW DR
DENTON, TX 76207-6762                       627     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BARRERA, PEDRO
1101 E PRINCETON LN
DEER PARK, TX 77536-6527                    1438     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BARROS, CATHERINE E
9210 FLICKERING SHADOW DRIVE
DALLAS, TX 75243                            1755     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BARROWS, RUSSELL ERNEST
521 KEARLEY DR
FATE, TX 75087-8607                         1538     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BARRY, JR., FRANKLIN S.
8198 KNIGHTSBRIDGE LANE
MENTOR, OH 44060-8044                       2426     3/9/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Barstow, Roger L
71 Morgan Rd East
Spring City, TN 37381-7611                  544     1/19/2017        Maxus Energy Corporation                                                                                                                              $0.00                                          $0.00
Barstow, Roger L
71 Morgan Rd East
Spring City, TN 37381                       528     1/19/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Barstow, Roger L
71 Morgan Rd East
Spring City, TN 37381                       532     1/19/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00


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                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
Barstow, Roger L
71 Morgan Rd East
Spring City, TN 37381-7611                     529     1/19/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Barstow, Roger L
71 Morgan Rd East
Spring City, TN 37381-7611                     530     1/19/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
BASF Catalysts LLC
Bressler, Amery & Ross, P.C.
David Schneider, Esq.
325 Columbia Turnpike
Florham Park, NJ 07932                         2765    5/24/2018        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BASF Corporation and BASF Catalysts LLC
David P. Schneider, Esq.
Bressler, Amery & Ross, P.C.
325 Columbia Turnpike
Florham Park, NJ 07932                         230     10/31/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
BASF Corporation and BASF Catalysts LLC
David P. Schneider, Esq.
Bressler, Amery & Ross, P.C.
325 Columbia Turnpike
Florham Park, NJ 07932                         389     10/31/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
BATTISE, IRMA J
PO BOX 3081
BAYTOWN, TX 77522                              2036    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Battista, Georgia
4002 Long Groove
Seabrook, TX 77586                              32     9/12/2016        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Battista, Joseph
4002 Long Groove
Seabrook, TX 77586                              31     9/12/2016        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Battista, Joseph B.
650 Surrey Lane
Martinez, GA 30907                             2764    9/26/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Battista, Jospeh B
4002 Long Groove
Seabrook, TX 77586                              34     9/12/2016        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Battista, Jospeh B
4002 Long Groove
Seabrook, TX 77586                             2466     3/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BATTLES, DARRELL D
4765 S HIGHWAY 35
ALVIN, TX 77511                                1228     2/1/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
BATTLES, DARRELL D
4765 S HIGHWAY 35
ALVIN, TX 77511                                1230     2/1/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BATTLES, DARRELL D
4765 S HIGHWAY 35
ALVIN, TX 77511                                1231     2/1/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
BATTLES, DARRELL D
4765 S HIGHWAY 35
ALVIN, TX 77511                                1233     2/1/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
Battles, Darrell D
4765 S Highway 35
Alvin, TX 77511                                1246     2/1/2017     Maxus (U.S.) Exploration Company                               $0.00                       $0.00                                                                                                        $0.00
Bayer Corporation
c/o William E. Kelleher, Jr., Esq.
Cohen & Grigsby, P.C.
625 Liberty Avenue
Pittsburgh, PA 15222-3152                      169     10/28/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
Bayer Corporation
Cohen & Grigsby, P.C.
c/o William E. Kelleher, Jr., Esq.
625 Liberty Avenue
Pittsburgh, PA 15222-3152                      183     10/28/2016          Tierra Solutions, Inc.                                   $0.00                                                      $0.00                                                                         $0.00
BAYNE, SUSAN
554 CORAL CT UNIT 501
FORT WALTON BEACH, FL 32548-6959               1404     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00




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                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
BEAR, SIDNEY MAURICE
323 WILLOW VISTA DR
EL LAGO, TX 77586-6017                         1672     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Beard Jr, Oscar J
237 County Road 433
Chireno, TX 75937                              319     10/30/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BEASLEY JR, DONNIE
334 SHADY ROCK LN
HOUSTON, TX 77015-2129                         990     1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BEASLEY JR, DONNIE
334 SHADY ROCK LN
HOUSTON, TX 77015-2129                         2406     3/7/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BEAUXIS, AL R
104 GULLS POINTE DR
LAFAYETTE, LA 70506-6426                       1560     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BEAUXIS, ALVIN R
104 GULLS POINTE DR
LAFAYETTE, LA 70506                            1547     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Beazer East, Inc.
c/o Manko, Gold, Katcher & Fox, LLP
Attn: Todd D. Kantorczyk
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                          2568     4/3/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
Beazer East, Inc.
Manko, Gold, Katcher & Fox, LLP
Todd D. Kantorczyk
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                          2569     4/3/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
Beazer East, Inc.
Manko, Gold, Katcher & Fox, LLP
Todd D. Kantorczyk
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                          2581     4/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Beazer East, Inc.
Todd D. Kantorczyk, Esquire
Manko, Gold, Katcher & Fox, LLP
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                          260     10/31/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                         $0.00           $0.00
Beazer East, Inc.
Todd D. Kantorczyk, Esquire
Manko, Gold, Katcher & Fox, LLP
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                          309     10/31/2016 Maxus International Energy Company                                                            $0.00                          $0.00                                                                         $0.00
Beazer East, Inc.
Todd D. Kantorczyk, Esquire
Manko, Gold, Katcher & Fox, LLP
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                          344     10/31/2016          Tierra Solutions, Inc.                                   $0.00                                                      $0.00                                                         $0.00           $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                              1338     2/3/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                              1342     2/3/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                              1347     2/3/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                              1350     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                              1461     2/3/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                              2476    3/23/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                              2478    3/23/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00

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                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                           2480    3/23/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                           2499    3/23/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                           2500    3/23/2017          Gateway Coal Company                                                                                                                                                               $0.00           $0.00
BECNEL, KENNETH J
1719 HIGHWAY 307
THIBODAUX, LA 70301-8629                    2249    2/15/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                          1665     2/8/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                          1679     2/8/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                          1685     2/8/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                          1785     2/8/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                          1786     2/8/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                          2461    3/17/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                          2462    3/17/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                          2463    3/17/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                          2467    3/17/2017          Gateway Coal Company                                                                                                                                                               $0.00           $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                          2469    3/17/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
BEDORE, JOSEPH
4312 GOLF CLUB LN
TAMPA, FL 33618-2707                        1325     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BEHRENDT, WILLIAM P
14442 DALY DRIVE
HOUSTON, TX 77077-1058                      571     1/20/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BELL, KAREN S
22022 GLEN ARDEN LN
KATY, TX 77450-7615                         2413     3/8/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BENABENTOS, MARCELO
1302 KENT OAK DR
HOUSTON, TX 77077-2525                      1122    1/31/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
BENABENTOS, MARCELO
1302 KENT OAK DR
HOUSTON, TX 77077-2525                      1150    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BENABENTOS, MARCELO
1302 KENT OAK DR
HOUSTON, TX 77077-2525                      1152    1/31/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
BENABENTOS, MARCELO
1302 KENT OAK DR
HOUSTON, TX 77077-2525                      1153    1/31/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
BENABENTOS, MARCELO
1302 KENT OAK DR
HOUSTON, TX 77077-2525                      1154    1/31/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
BENAMATI, FRANK EDWARD
PO BOX 323
MATHER, PA 15346                            1204     2/1/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00

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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
BENAMATI, FRANK EDWARD
PO BOX 323
MATHER, PA 15346                             1206     2/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BENAMATI, FRANK EDWARD
PO BOX 323
MATHER, PA 15346                             1275     2/1/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
BENAMATI, FRANK EDWARD
PO BOX 323
MATHER, PA 15346                             1277     2/1/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
BENAMATI, FRANK EDWARD
PO BOX 323
MATHER, PA 15346                             1280     2/1/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Benamati, Frank Edward
PO Box 323
Mather, PA 15346                             2440    3/10/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Benamati, Frank Edward
PO Box 323
Mather, PA 15346                             2441    3/10/2017          Gateway Coal Company                                                                                                                                                               $0.00           $0.00
Benamati, Frank Edward
PO Box 323
Mather, PA 15346                             2442    3/10/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
Benamati, Frank Edward
PO Box 323
Mather, PA 15346                             2450    3/10/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
Benamati, Frank Edward
PO Box 323
Mather, PA 15346                             2451    3/10/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
Benich, Julie J
8919 Summerdale Lane
Conroe, TX 77302                             1996    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Benich, Julie J
8919 Summerdale Lane
Conroe, TX 77302                             1999    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Benjamin Moore & Co.
Paul Sangillo, Esq.
101 Paragon Drive
Montvale, NJ 07645                           353     10/31/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Benjamin Moore & Co.
Paul Sangillo, Esq.
101 Paragon Drive
Montvale, NJ 07645                           357     10/31/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Berardinelli, Dan
345 Sanford St
PO Box 485
Painesville, OH 44077-4126                   682     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BERARDINELLI, DAN
345 SANFORD ST
PO BOX 485
PAINESVILLE, OH 44077-4126                   2632    4/21/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BERNAL, CARLOS A
501 MAPLE ST
GOLDEN, CO 80403                             1671     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BERNAL, CARLOS A
501 MAPLE ST
GOLDEN, CO 80403                             1750     2/8/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
BERNAL, CARLOS A
501 MAPLE ST
GOLDEN, CO 80403                             1784     2/8/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
BERNAY, WILLIAM E.
1172 DALTON DR
PAINESVILLE, OH 44077                        2612     4/5/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Best, James Leonard
806 South Elm Boulevard
Champaign, IL 61820                          2417     3/9/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
Best, James Leonard
806 South Elm Boulevard
Champaign, IL 61820                          2418     3/9/2017        Maxus Energy Corporation                              $19,849.00                                                                                                                     $0.00      $19,849.00




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               Creditor Name and Address        Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                       Amount                                                                                     Amount                                                Claim Amount
BEVERLY A. MCINTYRE DECEASED
ATTN: KATHLEEN M. BELL
EXECUTOR OF THE ESTATE OF BEVERLY A. MCINTYRE
8960 WILDWOOD DR
NORTH ROYALTON, OH 44133-1154                     2433    3/10/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
BEVERLY A. MCINTYRE DECEASED
ATTN: KATHLEEN M. BELL
EXECUTOR OF THE ESTATE OF BEVERLY A. MCINTYRE
8960 WILDWOOD DR
NORTH ROYALTON, OH 44133-1154                     2435    3/10/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
BEVERLY A. MCINTYRE DECEASED
ATTN: KATHLEEN M. BELL
EXECUTOR OF THE ESTATE OF BEVERLY A. MCINTYRE
8960 WILDWOOD DR
NORTH ROYALTON, OH 44133-1154                     2436    3/10/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
BEVERLY A. MCINTYRE DECEASED
ATTN: KATHLEEN M. BELL
EXECUTOR OF THE ESTATE OF BEVERLY A. MCINTYRE
8960 WILDWOOD DR
NORTH ROYALTON, OH 44133-1154                     2438    3/10/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
BEVERLY A. MCINTYRE DECEASED
ATTN: KATHLEEN M. BELL
EXECUTOR OF THE ESTATE OF BEVERLY A. MCINTYRE
8960 WILDWOOD DR
NORTH ROYALTON, OH 44133-1154                     2449    3/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BHARWADA, UPEN J
6211 N 74TH PLACE
SCOTTSDALE, AZ 85250                              2566     4/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BICKELMAN SR., JAMES R.
5 GLEN AVENUE
CASTLE HILLS
NEW CASTLE, DE 19720                              2115    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BICKELMAN SR., JAMES R.
5 GLEN AVENUE
CASTLE HILLS
NEW CASTLE, DE 19720                              2502    3/24/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
BICKELMAN SR., JAMES R.
5 GLEN AVENUE
CASTLE HILLS
NEW CASTLE, DE 19720                              2504    3/24/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Bilbrey, Lanny R.
c/o Warren V. Norred
Norred Law, PLLC
200 E. Abram, Suite 300
Arlington, TX 76010                                41     9/16/2016        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
BIRCKBICHLER, JOHN W
712 PARKER RD
CHESAPEAKE, VA 23322-5832                         729     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BIVENS, RAY D
906 N HIGHWAY 87
TULIA, TX 79088-1024                              580     1/21/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BLAKE, KATRINA
6975 SO. PENROSE CT.
CENTENNIAL, CO 80122                              461     12/2/2016        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BLOCK, LAURI K
5403 MORNINGSIDE AVE
DALLAS, TX 75206-5839                             2414     3/8/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BLOCK, LAURI K.
5403 MORNINGSIDE AVE
DALLAS, TX 75206                                  2407     3/8/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
Blouin Sr, Irvin W
38488 Arrowhead Dr
Gonzales, LA 70737                                941     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Blouin Sr, Irvin W
38488 Arrowhead Dr
Gonzales, LA 70737                                2385     3/3/2017          Gateway Coal Company                                                                                                                                                               $0.00           $0.00
Blouin Sr, Irvin W
38488 Arrowhead Dr
Gonzales, LA 70737                                2393     3/3/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00

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               Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
Blouin Sr, Irvin W
38488 Arrowhead Dr
Gonzales, LA 70737                           2750    8/14/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                    $0.00           $0.00
Blouin Sr, Irvin W.
38488 Arrowhead Dr
Gonzales, LA 70731                           2746    8/14/2017    Maxus International Energy Company                              $0.00                                                                                                                    $0.00           $0.00
BLOUIN SR, IRVIN W.
38488 ARROWHEAD DRIVE
GONZALES, LA 70737                           917     1/27/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
BLOUIN SR, IRVIN W.
38488 ARROWHEAD DRIVE
GONZALES, LA 70737                           2749    8/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Blouin, Irvin W
38488 Arrowhead Dr
Gonzales, LA 70737                           920     1/27/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Blouin, Irvin W
38488 Arrowhead Dr
Gonzales, LA 70737                           921     1/27/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Blouin, Irvin W
38488 Arrowhead Dr
Gonzales, LA 70737                           922     1/27/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
BLOUIN, IRVIN W.
38488 ARROWHEAD DR
GONZALES, LA 70737                           2748    8/14/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                    $0.00           $0.00
Blouin, Irvin W.
38488 Arrowhead Drive
Gonzales, LA 70737                           804     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Blouin, Irvin W.
38488 Arrowhead Drive
Gonzales, LA 70737                           2391     3/3/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
Blouin, Irvin W.
38488 Arrowhead Drive
Gonzales, LA 70737                           2392     3/3/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Blouin, Irvin W.
38488 Arrowhead Drive
Gonzales, LA 70737                           2394     3/3/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
BLUESTEIN, PAUL J
17 ROGER RD
EDISON, NJ 08817                             538     1/20/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
BLUESTEIN, PAUL J
17 ROGER RD
EDISON, NJ 08817                             549     1/20/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
BLUESTEIN, PAUL J
17 ROGER ROAD
EDISON, NJ 08817                             539     1/20/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Bluestein, Paul J
17 Roger Road
Edison, NJ 08817-4506                        548     1/20/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Bluestein, Paul J
17 Roger Road
Edison, NJ 08817-4506                        1026    1/20/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Bluestein, Paul J
17 Roger Road
Edison, NJ 08817-4506                        1033    1/20/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BLYTHE, ANNA M
PO BOX 761
WEIMAR, TX 78962                             550     1/20/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
BLYTHE, RANDY D
PO BOX 761
WEIMAR, TX 78962                             552     1/20/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
BOBE, CONNIE F
4707 NW 88TH TERRACE
KANSAS CITY, MO 64154                        909     1/26/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Bobe, Connie F.
4707 NW 88th Terrace
Kansas City, MO 64154                        649     1/23/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Bobe, Henry Dale
201 South Main Street
Sullivan, IN 47882-1838                      589     1/22/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

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                                                                                                       Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
               Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
BODEN, JAMES G
401 SECRETARIAT DR
AUSTIN, TX 78737-2636                        1237     2/2/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BOGLE, ROBERT W
1736 LA CORONILLA DR
SANTA BARBARA, CA 93109-1618                 1318     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BOLIN, DENISE A.
5305 BLODGETT AVE
DOWNERS GROVE, IL 60515                      2615    4/10/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
BOLIN, DENISE A.
5305 BLODGETT AVE
DOWNERS GROVE, IL 60515                      2618    4/10/2017          Gateway Coal Company                                                                                                                                                               $0.00           $0.00
BOLIN, DENISE A.
5305 BLODGETT AVE
DOWNERS GROVE, IL 60515                      2619    4/10/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BOLIN, DENISE A.
5305 BLODGETT AVE
DOWNERS GROVE, IL 60515                      2626    4/10/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
BOLIN, DENISE A.
5305 BLODGETT AVE
DOWNERS GROVE, IL 60515                      2627    4/10/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
BOLLOZOS, ABRAHAM P
6284 MISSION ST
DALY CITY, CA 94014                          2222    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BOLLOZOS, ABRAHAM P
6284 MISSION ST
DALY CITY, CA 94014                          2613     4/4/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BOLTON, GLEN D
3018 GRACE LN
HIGHLANDS, TX 77562-2127                     1193    1/31/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BOOKER, EARNEST C
PO BOX 674
HARDIN, TX 77561                             2037    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BORDAS, JULIO J
8471 SW 48TH ST
MIAMI, FL 33155-5416                         1416     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Boruk, Robert Eric
2707 Volute Ct
Houston, TX 77038                            2380     3/2/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BOUDREAUX, RANDY E
1848 CABANOSE ST 27
LUTCHER, LA 70071-5623                       2316    2/17/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
BOUDREAUX, RANDY E
1848 CABANOSE ST 27
LUTCHER, LA 70071-5623                       2317    2/17/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
BOUDREAUX, RANDY E
1848 CABANOSE ST 27
LUTCHER, LA 70071-5623                       2318    2/17/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
BOUDREAUX, RANDY E
1848 CABANOSE ST 27
LUTCHER, LA 70071-5623                       2328    2/17/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
BOUDREAUX, RANDY E
1848 CABANOSE ST 27
LUTCHER, LA 70071-5623                       2333    2/17/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BOURGEOIS, LINDA V
32240 LONGVIEW ST
PAULINA, LA 70763                            1875    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Bowden, Joan Weatherspoon
1018 Pondview Drive
Cedar Hill, TX 75104                         2769     9/4/2018        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BOWDEN, JOSEPH A
PO BOX 1023
ROOSEVELT, UT 84066                          1581     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BOWDEN, JOSEPH A
PO BOX 1023
ROOSEVELT, UT 84066                          2654    5/15/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BOWDEN, JOSEPH A
PO BOX 1023
ROOSEVELT, UT 84066                          2655    5/15/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00

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                                                                                                       Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
Bowen, Debbie H
6414 Hinsdale
Amarillo, TX 79109                           656     1/24/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Bowen, Debbie L
6414 Hinsdale Dr
Amarillo, TX 79109                           623     1/23/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
BOWER, ROBERT L
3837 WATERFORD DR
ADDISON, TX 75001-7955                       1852    2/10/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
BOWER, ROBERT L
3837 WATERFORD DR
ADDISON, TX 75001-7955                       1866    2/10/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
BOWER, ROBERT L
3837 WATERFORD DR
ADDISON, TX 75001-7955                       1867    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BOWER, ROBERT L
3837 WATERFORD DR
ADDISON, TX 75001-7955                       1871    2/10/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
BOWER, ROBERT L
3837 WATERFORD DR
ADDISON, TX 75001-7955                       1872    2/10/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Bracero, Frank J
4801 Nan Lane
Salina, CA 95368                             654     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Bradford, Karen
834 Nora Lane
Desoto, TX 75115                             460     12/2/2016        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
Bradford, Karen
834 Nora Lane
Desoto, TX 75115                             2724     8/8/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                    $0.00           $0.00
BRADFORD, KAREN N
834 NORA LANE
DESOTO, TX 75115                             1709     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Bradford, Karen N
834 Nora Lane
DeSoto, TX 75115                             2552     4/1/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Bradford, Karen N
834 Nora Lane
DeSoto, TX 75115                             2553     4/1/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
BRADFORD, KAREN N
834 NORA LANE
DESOTO, TX 75115                             2560     4/1/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Bradford, Karen N
834 Nora Lane
DeSoto, TX 75115                             2723     8/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Brady, Richard F
1416 Bascomb Drive
Raleigh, NC 27614-9014                       1605     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Brady, Timothy Scott
1009 Maley Rd
Cove, TX 77523                               1485     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Brady, Timothy Scott
1009 Maley Rd
Cove, TX 77523                               1498     2/6/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Brady, Timothy Scott
1009 Maley Rd
Cove, TX 77523                               1504     2/6/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Brady, Timothy Scott
1009 Maley Rd
Cove, TX 77523                               1511     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Brady, Timothy Scott
1009 Maley Rd
Cove, TX 77523                               2234     2/6/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
BRAGG, LARESHIA DIANE
1923 SHAWNEE TRL
DALHART, TX 79022-5211                       2364    2/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BRAMSTEDT, WILLIAM R
1166 EUREKA MILL RUN
THE VILLAGES, FL 32162                       997     1/30/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00

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                                                                                                       Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
BRAMSTEDT, WILLIAM R
1166 EUREKA MILL RUN
THE VILLAGES, FL 32162                       998     1/30/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
BRAMSTEDT, WILLIAM R
1166 EUREKA MILL RUN
THE VILLAGES, FL 32162                       1001    1/30/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
BRAMSTEDT, WILLIAM R
1166 EUREKA MILL RUN
THE VILLAGES, FL 32162                       1004    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BRAMSTEDT, WILLIAM R
1166 EUREKA MILL RUN
THE VILLAGES, FL 32162                       1064    1/30/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
BRAMSTEDT, WILLIAM R
1166 EUREKA MILL RUN
THE VILLAGES, FL 32162                       2398     3/6/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Branchick, Susan E.
7700 Snowberry Ct.
Mentor, OH 44060                             1626     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Branchick, Susan E.
7700 Snowberry Ct.
Mentor, OH 44060                             2293    2/15/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Braud, Lenette
8187 Kingview St
Saint James, LA 70086                        2773    2/19/2019        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BRAUD, LENETTE D
8187 KINGVIEW ST
SAINT JAMES, LA 70086-7529                   2146    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BRCAK, JOAN M
3758 OHIO ST
PERRY, OH 44081-9551                         1984    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Brenner, Michael G
7811 Legend
Amarillo, TX 79121-1717                      1730     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Brenner, Mike
4605 Ashville
Amarillo, TX 79119                           2695    7/31/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                    $0.00           $0.00
Brenner, Mike
4605 Ashville
Amarillo, TX 79119                           2696    7/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
BREWER, ANNA R
417 W PALMER ST
MORRISVILLE, PA 19067-2177                   1877    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Bricker, Doris A.
2732 Summertree Drive
Carrollton, TX 75006                          13      8/6/2016        Maxus Energy Corporation                             $552,870.84                                                                                                                               $552,870.84
BRIGNAC, TERENCE M.
1891 THIRD ST.
LUTCHER, LA 70071                            1544     2/7/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
BRIGNAC, TERENCE M.
1891 THIRD ST.
LUTCHER, LA 70071                            1601     2/7/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
BRIGNAC, TERENCE M.
1891 THIRD ST.
LUTCHER, LA 70071                            1630     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BRIGNAC, TERENCE M.
1891 THIRD ST.
LUTCHER, LA 70071                            1710     2/7/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
BRIGNAC, TERENCE M.
1891 THIRD ST.
LUTCHER, LA 70071                            1711     2/7/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
BRIGNAC, TERENCE M.
1891 THIRD ST.
LUTCHER, LA 70071                            2625    4/10/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BROCK, GARY L
1206 E 13TH ST
DEER PARK, TX 77536-2829                     1336     2/3/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
BROCK, GARY L
1206 E 13TH ST
DEER PARK, TX 77536-2829                     1439     2/3/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00

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                                                                                                                         Amount                                                                                     Amount                                                Claim Amount
BROCK, GARY L
1206 E 13TH ST
DEER PARK, TX 77536-2829                            1442     2/3/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
BROCK, GARY L
1206 E 13TH ST
DEER PARK, TX 77536-2829                            1443     2/3/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BROCK, GARY L
1206 E 13TH ST
DEER PARK, TX 77536-2829                            1444     2/3/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
BROCK, JOCELYN Y
314 W STERLING
BAYTOWN, TX 77520-4046                              2371    2/28/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BROCK, LEONARD
374 COUNTY ROAD 958
TISHOMINGO, MS 38873-9621                           2410     3/7/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BROOKS, THOMAS LEE
12907 CAMBRIDGE EAGLE DR
HOUSTON, TX 77044                                   2628    4/11/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BROUILLARD, NANCY J
1121 N COUNTY ROAD 310
EARLY, TX 76802-3741                                567     1/23/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
BROUILLARD, NANCY J
1121 N COUNTY ROAD 310
EARLY, TX 76802-3741                                578     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BROUSSARD, MICHEAL D
224 JOGG RD
YOUNGSVILLE, LA 70592                               1268     2/2/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Brown & Caldwell
c/o Greene Radovsky Maloney Share & Hennigh LLP
Attn: Edward Tredinnick, Esq.
Four Embarcadero Center, Suite 4000
San Francisco, CA 94111                             196     10/28/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
BROWN JR, WESLEY
858 JACKEYS CREEK LN SE
LELAND, NC 28451                                    722     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BROWN JR, WESLEY
858 JACKEYS CREEK LN SE
LELAND, NC 28451                                    726     1/24/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
BROWN JR, WESLEY
858 JACKEYS CREEK LN SE
LELAND, NC 28451                                    765     1/24/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
BROWN JR, WESLEY
858 JACKEYS CREEK LN SE
LELAND, NC 28451                                    769     1/24/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
BROWN JR, WESLEY
858 JACKEYS CREEK LN SE
LELAND, NC 28451                                    771     1/24/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
BROWN JR, WESLEY
858 JACKEYS CREEK LN SE
LELAND, NC 28451                                    1686     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BROWN, CHARLES PATRICK
30 N BANTAM WOODS CIR
SPRING, TX 77382-2685                               734     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BROWN, CHRISTINA M
3104 AVORY RIDGE LN
PEARLAND, TX 77581-5682                             2326    2/17/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BROWN, CHRISTINA M
3104 AVORY RIDGE LN
PEARLAND, TX 77581-5682                             2453    3/13/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BROWN, CLAUDE M
4906 MIDDLE RIDGE RD
PERRY, OH 44081-8700                                2370    2/28/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BROWN, DENNIS L
1010 N COLUMBIA AVE
SHEFFIELD, AL 35660-7529                            980     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BROWN, JEAN D
17199 SUMMERFIELD RD S
PRAIRIEVILLE, LA 70769-6643                         2081    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00


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                                                                                                                         Amount                                                                                     Amount                                                Claim Amount
Brown, Jean D.
427 CR 4151
Woodville, TX 75979                                 2479    3/20/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BROWN, JEFFREY K
4023 10TH STREET NW
GIG HARBOR, WA 98335                                1793     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BROWN, NORMAN
6614 WESTON ST APT 25
HOUSTON, TX 77021                                   2622    4/10/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Brown, Richard Joe
1105 Mills Ave
Dumas, TX 79029                                     929     1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BROWN, STEVEN M.
3914 ASPEN MOUNTAIN TRL.
KINGWOOD, TX 77345-1346                             1609     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BROWN, STEVEN M.
3914 ASPEN MOUNTAIN TRL.
KINGWOOD, TX 77345-1346                             2269    2/14/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
BROWN, STEVEN M.
3914 ASPEN MOUNTAIN TRL.
KINGWOOD, TX 77345-1346                             2271    2/14/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
BROWN, STEVEN M.
3914 ASPEN MOUNTAIN TRL.
KINGWOOD, TX 77345-1346                             2275    2/14/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
BROWN, STEVEN M.
3914 ASPEN MOUNTAIN TRL.
KINGWOOD, TX 77345-1346                             2276    2/14/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
Browning, Patricia A
2222 N. St. Augustine Dr.
Apt. #2214
Dallas, TX 75227                                    205     10/27/2016       Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
BRUINGTON, BRENT ALAN
2013 BRENTWOOD DR
MIDLAND, TX 79707-5061                              1405     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
BRYSON, DONALD L
1450 AXMINSTER LANE
ESTES PARK, CO 80517-5605                           1892    2/10/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
BRYSON, DONALD L
1450 AXMINSTER LANE
ESTES PARK, CO 80517-5605                           1899    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BRYSON, DONALD L
1450 AXMINSTER LANE
ESTES PARK, CO 80517-5605                           1901    2/10/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
BUCHMAN, RUSSELL
3767 OGDEN LANE
MUNDELEIN, IL 60060                                 701     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BUCKNER (DECEASED), JERRY W
3514 RAMSEY DR
PASADENA, TX 77503-2744                             1690     2/7/2017        Maxus Energy Corporation                                    $0.00                       $0.00                          $0.00                          $0.00                                          $0.00
BULLOUGH, ROGER D
203 VILLA HILL CT
DICKSON, TN 37055-2667                              2043    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Burdick, Mamie L
2800 Henry CT
College Station, TX 77845                           2624    4/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Burdick, Robert L
2800 Henry CT
College Station, TX 77845                           2623    4/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Bureau of Land Management, Wyoming State Office
Phyllisina Leslie, Department of the Interior
1849 C Street, NW, MS 5358
Washington, DC 20240                                477     12/15/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BURGMAN, CARL A
1355 E 43RD CT
TULSA, OK 74105-4150                                759     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BURGOS, JORGE E
183 E LANSDOWNE CIR
THE WOODLANDS, TX 77382-2726                        2366    2/27/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00


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                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
BURKE, JOHN W
1615 N HEARTHSIDE DR
RICHMOND, TX 77406-1358                        666     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Burkett, Donna Mogab
3915 Vista Rd
Pasadena, TX 77504                             2708     8/4/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Burkett, Donna Mogab
3915 Vista Rd.
Pasadena, TX 77504                             2457    3/14/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Burkett, Donna Mogab
3915 Vista Road
Pasadena, TX 77504                             1631     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BURNS, JAMES R
3907 TRAILWOOD DR
BAYTOWN, TX 77521                              2344    2/21/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BUSBIN, MARIE G
1861 GRADY HOPE ROAD
FORT MILL, SC 29715                            2425     3/9/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Bushin, Marie G.
1861 Grady Hope Rd
Fort Mill, SC 29708                            2437    3/10/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Busse, Johnny L.
340 County Road 427
Goldthwaite, TX 76844-3338                     762     1/25/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Butler, Charles
8 Sullivan Rd.
Pensacola, FL 32507                            2235     2/8/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Butler, Charles
8 Sullivan Rd.
Pensacola, FL 32507                            2454    3/13/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Butler, Charles
8 Sullivan Rd.
Pensacola, FL 32507                            2700    7/31/2017    Maxus International Energy Company                              $0.00                                                                                                                    $0.00           $0.00
Butler, Charles
8 Sullivan Rd.
Pensacola, FL 32507                            1270    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Butler, Charles
8 Sullivan Rd.
Pensacola, FL 32507                            2419     3/9/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
BUTLER, CHARLES G.
8 SULLIVAN RD.
PENSACOLA, FL 32507                            2699    7/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Butler, Deborah L
6822 22nd Ave North
#202
St. Petersburg, FL 33710                       217     10/26/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BUTLER, DEBORAH L.
6190 62ND AVE. N. #3
PINELLAS PARK, FL 33781                        2730    8/11/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
BUTLER, WILLIE L
3414 N ATLANTA AVE
TULSA, OK 74110-1537                           1628     2/3/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BUTTERFIELD, JACK D
719 CORAL DRIVE
CAPE CORAL, FL 33904                           588     1/22/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BYNUM, KARL J
101 E 12TH AVE
SPEARMAN, TX 79081-3813                        1215     2/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Caesar Oil Pipeline Company, LLC
Alston & Bird LLP
Attn: Sage Sigler
1201 W. Peachtree Street
Atlanta, GA 30309                              265     10/27/2016    Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
CAIN, PATRICK W
PO BOX 669
RAWLINS, WY 82301-0669                         2620     4/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Calabrese, Charles F.
709 Harborside Way
Kemah, TX 77565                                812     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

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                                                                                                                          Amount                                                                                     Amount                                                Claim Amount
Calabrese, Charles F.
709 Harborside Way
Kemah, TX 77565                                      813     1/26/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Calabrese, Charles F.
709 Harborside Way
Kemah, TX 77565                                      814     1/26/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Calabrese, Charles F.
709 Harborside Way
Kemah, TX 77565                                      815     1/26/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Calabrese, Charles F.
709 Harborside Way
Kemah, TX 77565                                      816     1/26/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Calcagno, Mary O
P.O. Box 989
307 Tania
Gramercy, LA 70052                                   1998    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
CALVERT, WILLIAM S
7810 ELIZABETH RD
PASADENA, MD 21122-2310                              1508     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Cambre, Ched
PO Box 961
Gramercy, LA 70052                                   1738     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Cambre, Ched M.
P.O. Box 961
Gramercy, LA 70052                                   2760    8/22/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Cameron, Kenneth
P.O. Box 428
Rowlett, TX 75030                                    464     12/5/2016        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
CAMERON, KENNETH J
PO BOX 428
ROWLETT, TX 75030-0428                               1712     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Campbell, Louie Patrick
204 S. 6th St.
Highlands, TX 77562                                  924     1/29/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Canada, Gregory E
4305 West 37th Ave
Amarillo, TX 79109-4317                              433     11/11/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CANADA, GREGORY E.
4305 WEST 37TH AVE
AMARILLO, TX 79109-4317                              434     11/11/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CANADA, GREGORY E.
4305 WEST 37TH AVE
AMARILLO, TX 79109-4317                              2484    3/24/2017        Maxus Energy Corporation                                    $0.00                                                                                     $0.00                          $0.00           $0.00
CANADA, GREGORY E.
4305 WEST 37TH AVE
AMARILLO, TX 79109-4317                              2505    3/24/2017        Maxus Energy Corporation                                    $0.00                                                                                     $0.00                          $0.00           $0.00
Canadian Independent School District
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                               54     9/23/2016        Maxus Energy Corporation                                                                $0.00                          $0.00                                                                         $0.00
Canadian Independent School District
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                              2542    3/30/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
CANIDA, JERRY W
1401 HIGHWAY 26
SPRUCE PINE, AL 35585-3915                           1424     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CANNON, DOUGLAS
670 COUNTY ROAD 3552
SULPHUR BLUFF, TX 75481-5101                         1553     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
CAREL, PENNY
169 ROCKY RIDGE RD
RED OAK, TX 75154-5034                               1313     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CARLEGIS, NORMAN J
15611 PARK ESTATES LN
HOUSTON, TX 77062                                    1100    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Carlini, Robert T
1008 Dogwood Ct.
Colleyville, TX 76034                                526     1/18/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

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                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
CARLSON, DENNIS L
284 DRESSAGE CT
WEST CHESTER, PA 19382-2366                    2516    3/28/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CARLSON, JON
PO BOX 161166
BIG SKY, MT 59716-1166                         865     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Carlton, Gerald G. & Susan M.
Michell E. Shriro
Singer & Levick, P.C.
16200 Addison Road
Suite 140
Addison, TX 75001                              177     10/27/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Carlton, Gerald G. and Susan M.
Michelle E. Shriro
Singer & Levick, P.C.
16200 Addison Road, Suite 140
Addison, TX 75001                              166     10/27/2016       Maxus Energy Corporation                           $1,882,972.73                                                                                                                              $1,882,972.73
CARMICHAEL, WILLIE J
2804-B PLAZA COURT
MARION, SC 29571                               2244    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Carr, Cornelius
8548 Bella Dr
Macedonia, OH 44056-1878                       522     1/19/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Carr, Cornelius
8548 Bella Dr
Macedonia, OH 44056-1878                       546     1/19/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
CARR, CORNELIUS
8548 BELLA DRIVE
MACEDONIA, OH 44056-1878                       542     1/19/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
CARR, CORNELIUS
8548 BELLA DRIVE
MACEDONIA, OH 44056-1878                       543     1/19/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Carr, Cornelius Patrick
8548 Bella Dr
Macedonia, OH 44056-1878                       2376     3/1/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
Carr, Cornelius Patrick
8548 Bella Drive
Macedonia, OH 44056-1878                       545     1/19/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Carr, Cornelius Patrick
8548 Bella Drive
Macedonia, OH 44056-1878                       2375     3/1/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Carr, Cornelius Patrick
8548 Bella Drive
Macedonia, OH 44056-1878                       2377     3/1/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Carr, Cornelius Patrick
8548 Bella Drive
Macedonia, OH 44056-1878                       2378     3/1/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
Carr, Cornelius Patrick
8548 Bella Drive
Macedonia, OH 44056-1878                       2379     3/1/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
CARROLL, JOSEPH L
9406 WOOLSEY CT
HUMBLE, TX 77396-1941                          2088    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CARTER JR, WILEY R
6919 PLANTATION DR
BAYTOWN, TX 77523-8845                         789     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Carter, Jimmy L.
4803 Aberdeen Pkwy
Amarillo, TX 79119                              40     9/14/2016        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Carter, Jimmy L.
4803 Aberdeen Pkwy
Amarillo, TX 79119                             2460    3/16/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
CASTILLO, BIOLANDA SIFUENT
5124 MCCARTY BLVD
AMARILLO, TX 79110-3009                        2132    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CASTRILLA, CHRIS A
174 MCKINLEY AVE
CONNEAUT, OH 44030-2148                        1238     2/2/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00


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                                                                                                                   Amount                                                                                     Amount                                                Claim Amount
CASTRO, ENRIQUE M
93 MILLTOWN RD
BRIDGEWATER, NJ 08807-2790                    932     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CASTRO, ENRIQUE M
93 MILLTOWN RD
BRIDGEWATER, NJ 08807-2790                    934     1/30/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
CASTRO, ENRIQUE M
93 MILLTOWN RD
BRIDGEWATER, NJ 08807-2790                    956     1/30/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Castro, Enrique M
93 Milltown Rd.
Bridgewater, NJ 08807                         931     1/30/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
CATES, PEGGY T
4907 CYPRESS SPRING DR
MISSOURI CITY, TX 77459-3809                  1111    1/31/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
CAYTON, INGRID STORM
4442 SEAPINES DR SE
SOUTHPORT, NC 28461                           2114    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
CAYTON, INGRID STORM
4442 SEAPINES DR SE
SOUTHPORT, NC 28461                           2439    3/10/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
CEBALLOS, JOE
17014 ARGYLE RD
HOUSTON, TX 77049-1004                        674     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Celanese Corporation
Morgan, Lewis & Bockius LLP
Attn: Julia Frost-Davies
One Federal Street
Boston, MA 02110                              300     10/31/2016          Tierra Solutions, Inc.                                   $0.00                                                      $0.00                                                                         $0.00
Celanese Corporation
Morgan, Lewis & Bockius LLP
Attn: Julia Frost-Davies
One Federal Street
Boston, MA 02110                              350     10/31/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
Celanese Corporation
Morgan, Lewis & Bockius LLP
Attn: Julia Frost-Davies
One Federal Street
Boston, MA 02110                              352     10/31/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
Celanese Corporation
Morgan, Lewis & Bockius LLP
Attn: Julia Frost-Davies
One Federal Street
Boston, MA 02110                              356     10/31/2016       Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
CHAMBERS, LINDA M
122 KOLAT LANE
RICES LANDING, PA 15357                       1922    2/12/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Chaney, Thomas R
5215 Rose St Unit C
Houston, TX 77007-5392                        504     1/18/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CHANNING, JOHN F
1006 REDFISH ST
BAYOU VISTA, TX 77563                         2445    3/10/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
CHAPPELL, DONNA
9488 CRANE ST.
LANTANA, TX 76226-6463                        442     11/17/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CHARBA, DAVID
5489 CHARBA LN
FLATONIA, TX 78941-5309                       2386     3/6/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
CHARBULA, CAROL K.
11900 SUDBURY COVE
AUSTIN, TX 78748                              2565     4/3/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
CHARBULA, DON E.
11900 SUDBURY COVE
AUSTIN, TX 78748                              2564     4/3/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Charsinsky, Kenneth
23 Malba Cresent
Dianella, WA 6059
Australia                                     2534    3/29/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00

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                                                                                                       Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
               Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
CHARSINSKY, KENNETH
3007 STANTON ST
HOUSTON, TX 77025-2630                       2200    2/13/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Chavez, Jamie C.
18218 Quail Run Circle
Conroe, TX 77302-6495                        1834     2/9/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
CHAVIS, JOHN HUGH
1506 MARCO DR
PASADENA, MD 21122-4837                      2348    2/21/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CHEEZUM, DAVID M
PO BOX 316
VERONA, VA 24482-0316                        1357     2/3/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
CHEEZUM, DAVID M
PO BOX 316
VERONA, VA 24482-0316                        1385     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Cherry, James C
P O Box 293
115 Second St
Jefferson, PA 15344                          216     10/30/2016         Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Cherry, Toni J
P O Box 293
115 Second St
Jefferson, PA 15344                          215     10/30/2016         Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Chevron Environmental Management Company
Mark Pfeiffer, Esq.
Buchanan Ingersoll & Rooney PC
50 S. 16th St., Ste. 3200
Philadelphia, PA 19102                       189     10/28/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
Chevron Environmental Management Company
Mark Pfeiffer, Esq.
Buchanan Ingersoll & Rooney PC
50 S. 16th St., Ste. 3200
Philadelphia, PA 19102                       273     10/28/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
Chevron U.S.A. Inc.
Attn: Emily Pipkin Blackwell, Esq.
1400 Smith STreet, Room 03198
Houston, TX 77002                             72     9/29/2016        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CHINSKI, WALTER
121 GROVE MANSION WAY
BEAR, DE 19701                               642     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CHINSKI, WALTER
121 GROVE MANSION WAY
BEAR, DE 19701                               2428     3/9/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
CHRISP, MARY A
1707 YOUNG STREET
HICKMAN, KY 42050-1945                       1691     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Christal, Joel O
26910 Casper Cliff Ct
Katy, TX 77494                               2470    3/21/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
CIOCI, JOSEPH P
303 FOREST LAKE DR
SEABROOK, TX 77586                           821     1/26/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Citibank, N.A.
Attention: Saulo Ferraz
388 Greenwich Street, 22nd Floor
New York, NY 10013                           2555    3/31/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Citibank, N.A.
Attn: Saulo Ferraz
388 Greenwich Street, 22nd Floor
New York, NY 10013                           283     10/28/2016       Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
Citibank, N.A.
Attn: Saulo Ferraz
388 Greenwich Street, 22nd Floor
New York, NY 10013                           2727    8/11/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00




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                                                                                                               Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                  Creditor Name and Address        Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                          Amount                                                                                     Amount                                                Claim Amount
City of Houston
Attn: Michael J. Darlow
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600
Houston, TX 77008                                     2      6/30/2016        Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
City of Newark
Guenther Waldow
Dept. of Law
920 Broad St., Rm. 316
Newark, NJ 07102                                     2579     4/3/2017        Maxus Energy Corporation                              $95,000.00                                                                                                                     $0.00      $95,000.00
City of Newark
Guenther Waldow, Jr.
Dept. of Law
920 Broad St., Room 316
Newark, NJ 07102                                     2577     4/3/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
City of Newark
Guenther Waldow, Jr.
Dept. of Law
920 Broad St., Room 316
Newark, NJ 07102                                     2580     4/3/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
City of Newark
Guenther Waldow, Jr.
Dept. of Law
920 Broad St., Room 316
Newark, NJ 07102                                     2589     4/3/2017          Gateway Coal Company                                                                                                                                                               $0.00           $0.00
City of Newark
Guenther Waldow, Jr.
Dept. of Law
920 Broad St., Room 316
Newark, NJ 07102                                     2593     4/3/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
Claim docketed in error
                                                      81     10/13/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                     379     10/31/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                     479     12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                     621     1/23/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                     622     1/23/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                     624     1/23/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                     644     12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                     646     12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                     648     12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                     743     12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                     747     12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                     750     12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                     794     12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                     969     1/30/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                     969     1/23/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                     1014    1/23/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                     1076    12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                     1077    12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                     1078    12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00

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                                                                                               Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address   Claim No. Claim Date           Debtor                                             Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                          Amount                                                                                     Amount                                                Claim Amount
Claim docketed in error
                                               1079    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1080    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1087    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1088    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1090    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1091    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1093    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1094    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1095    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1096    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1097    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1098    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1099    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1102    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1103    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1104    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1105    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1106    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1107    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1109    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1110    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1112    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1113    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1114    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1115    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1116    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1117    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1123    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1143    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1156    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1157    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1161    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1163    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1182    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00


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                                                                                               Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address   Claim No. Claim Date           Debtor                                             Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                          Amount                                                                                     Amount                                                Claim Amount
Claim docketed in error
                                               1185    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1188    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1190    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1199    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1200    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1211    1/31/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1213    12/21/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1232    1/31/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1241    1/31/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1248    1/31/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1249    1/31/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1250    1/31/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1251    1/31/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1254    1/31/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1259    1/31/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1260    1/31/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1284    1/31/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1291    1/31/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1296    1/31/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1300    1/31/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1301    1/31/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1302    1/31/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1303    1/31/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1475    1/31/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1478    1/31/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1479    1/31/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1500     2/6/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1636    1/31/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1715     2/7/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1798     2/8/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1919    2/11/2016    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1925    2/13/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1932    2/13/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1933    2/13/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00


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                                                                                               Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address   Claim No. Claim Date           Debtor                                             Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                          Amount                                                                                     Amount                                                Claim Amount
Claim docketed in error
                                               1934    2/14/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1935    2/13/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1936    2/13/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1937    2/14/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1939    2/13/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1941    2/13/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1943    2/13/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1945    2/13/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1946    2/13/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1947    2/13/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1948    2/13/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1949    2/13/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1950    2/14/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1951    2/14/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1960    2/13/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1964    2/13/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1965    2/13/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1966    2/13/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1968    2/13/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1969    1/31/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1970    2/13/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1971    2/14/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               1973    2/14/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               2008    2/13/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               2009    2/13/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               2010    2/13/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               2012    2/13/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               2015    2/13/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               2217    2/14/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               2411     3/8/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               2412     3/8/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               2415     3/8/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               2549    3/30/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00
Claim docketed in error
                                               2610     4/5/2017    Maxus Energy Corporation                                                                                                                                                                       $0.00


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                                                                                                                Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address          Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                           Amount                                                                                     Amount                                                Claim Amount
Claim docketed in error
                                                      2611     4/5/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                      2720     8/8/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                      2774    5/27/2020        Maxus Energy Corporation                                                                                                                                                                             $0.00
CLARK, AUDREY B
215 GORES ROW
WILMINGTON, NC 28401-4837                             1598     2/8/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Clark, Stephen L
307 S Rosemont Avenue
Dallas, TX 75208-5814                                 1837    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CLARK, TIMOTHY E
4 STONEGATE DR
QUEENSBURY, NY 12804-7750                             677     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CLARK, WILLIAM E
106 HELEN COURT 1
TUSCUMBIA, AL 35674-1757                              721     1/24/2017        Maxus Energy Corporation                                                                $0.00                          $0.00                                                                         $0.00
Clean Harbors
42 Longwater Dr Cred Dept
Norwell, MA 02061                                      15     8/10/2016           Tierra Solutions, Inc.                             $55,481.25                                                                                                                                $55,481.25
Cleopatra Gas Gathering Pipeline Company, LLC
Alston & Bird LLP
Attn: Sage Sigler
1201 W. Peachtree Street
Atlanta, GA 30309                                     262     10/27/2016    Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
CLH Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                               291     10/28/2016          Tierra Solutions, Inc.                             $51,173.44                        $0.00                                                                                                   $51,173.44
CLH Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                               292     10/28/2016 Maxus International Energy Company                          $51,173.44                        $0.00                                                                                                   $51,173.44
CLH Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                               293     10/28/2016       Maxus Energy Corporation                              $51,173.44                        $0.00                                                                                                   $51,173.44
CLH Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                               2656    5/22/2017           Tierra Solutions, Inc.                             $51,173.44                        $0.00                                                                                                   $51,173.44
CLH Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                               2658    5/22/2017    Maxus International Energy Company                        $51,173.44                        $0.00                                                                                                   $51,173.44
CLH Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                               2664    5/22/2017        Maxus Energy Corporation                              $51,173.44                        $0.00                                                                                                   $51,173.44
Clifford, Judith Rock
2710 Park Hills Drive
Katy, TX 77494                                        1957    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Cliffs Mining Company
Christopher B. Wick, Esq.
Hahn Loeser & Parks LLP
200 Public Square, Suite 2800
Cleveland, OH 44114-2544                              359     10/31/2016       Maxus Energy Corporation                             $550,000.00                                                                                                                               $550,000.00
COATES, MARY HELEN
830 BIG THICKET TRL.
MESQUITE, TX 75149                                    2554    3/31/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00




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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
COATES, MARY HELEN
830 BIG THICKET TRL.
MESQUITE, TX 75149                           2556    3/31/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
COATES, MARY HELEN
830 BIG THICKET TRL.
MESQUITE, TX 75149                           2558    3/31/2017          Gateway Coal Company                                                                                                                                                               $0.00           $0.00
COATES, MARY HELEN
830 BIG THICKET TRL.
MESQUITE, TX 75149                           2559    3/31/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
COATES, MARY HELEN
830 BIG THICKET TRL.
MESQUITE, TX 75149                           2562    3/31/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
Coats & Clark, Inc.
Stephan Custer
3430 Toringdon Way
Suite 301
Charlotte, NC 28277                          207     10/27/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
Coats & Clark, Inc.
Stephan Custer
3430 Toringdon Way
Suite 301
Charlotte, NC 28277                          152     10/27/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
COBLYN, HAROLD W
5832 CLEARWATER DR.
THE COLONY, TX 75056-3865                    590     1/23/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
COCCO, DENNIS A.
2933 LAMPLIGHT LANE
WILLOUGHBY HILLS, OH 44094                   2491    3/20/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
COFFMAN, MICHAEL KEITH
20102 HALEY CREEK PL
BEND, OR 97702-9377                          2252    2/15/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
COGAR, JOHN DAVID
406 TANGLEWOOD CT
BOSSIER CITY, LA 71111-6141                  856     1/26/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Cogdill, Ronnie K.
PO Box 50345
Amarillo, TX 79159-0345                      782     1/25/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
COKER, JO ELLEN
113 LAKEWOOD DR.
BAYTOWN, TX 77520                            2259    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
COKER, JO ELLEN
113 LAKEWOOD DR.
BAYTOWN, TX 77520                            2496    3/21/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Cole, Cheryl Bryant
4523 Matagorda Lakes Dr
Humble, TX 77396                             1376     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
COLE, JAMES
793 MARLIN ST
HITCHCOCK, TX 77563-2611                     1136    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
COLE, LEROY
401 LESTER RD
HARRODSBURG, KY 40330                        1799     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
COLE, LEROY
401 LESTER RD
HARRODSBURG, KY 40330                        2092    2/13/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
COLE, LEROY
401 LESTER RD
HARRODSBURG, KY 40330                        2101    2/13/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
COLE, LEROY
401 LESTER RD
HARRODSBURG, KY 40330                        2105    2/13/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
COLE, LEROY
401 LESTER RD
HARRODSBURG, KY 40330                        2110    2/13/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
COLE, LEROY
401 LESTER RD
HARRODSBURG, KY 40330                        2567     4/3/2017          Gateway Coal Company                                                                                                                                                               $0.00           $0.00




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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
COLE, LEROY
401 LESTER RD
HARRODSBURG, KY 40330                        2575     4/3/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
Cole, Leroy
401 Lester Rd
Harrodsburg, KY 40330                        2583     4/3/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
COLE, LEROY
401 LESTER RD
HARRODSBURG, KY 40330                        2586     4/3/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
COLE, LEROY
401 LESTER RD
HARRODSBURG, KY 40330                        2602     4/3/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
COLEMAN, SHARON O
11055 REYN DR
GONZALES, LA 70737-7764                      2238    2/14/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
COLEMAN, SHARON O
11055 REYN DR
GONZALES, LA 70737-7764                      2280    2/14/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Coleman, Sharon O
11055 Reyn Drive
Gonzales, LA 70737-7764                      1676     2/9/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Coleman, Sharon O
11055 Reyn Drive
Gonzales, LA 70737-7764                      1682     2/9/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Coleman, Sharon O
11055 Reyn Drive
Gonzales, LA 70737-7764                      1684     2/9/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Coleman, Sharon O
11055 Reyn Drive
Gonzales, LA 70737-7764                      1801     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Coleman, Sharon O
11055 Reyn Drive
Gonzales, LA 70737-7764                      1806     2/9/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Coleman, Sharon O
11055 Reyn Drive
Gonzales, LA 70737-7764                      2279    2/14/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Coleman, Sharon O
11055 Reyn Drive
Gonzales, LA 70737-7764                      2281    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Coleman, Sharon O
11055 Reyn Drive
Gonzales, LA 70737-7764                      2287    2/14/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Coleman, Sharon O
11055 Reyn Drive
Gonzales, LA 70737-7764                      2563     4/3/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Collier Sr., Ricky J
313 Regency Dr.
Deer Park, TX 77536                          1614     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Collier Sr., Ricky J
313 Regency Dr.
Deer Park, TX 77536                          2444    3/10/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
COLLIER, JERRY A
PO BOX 46
SUNRAY, TX 79086-0046                        1155    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Collins, Johnny Roy
5627 South Brook Dr.
Houston, TX 77033-3220                       2389     3/6/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
COLLINS, JOHNNY ROY
5627 SOUTHBROOK DR.
HOUSTON, TX 77033-3220                       718     1/24/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
COLLINS, JOHNNY ROY
5627 SOUTHBROOK DR.
HOUSTON, TX 77033-3220                       740     1/24/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
COLLINS, JOHNNY ROY
5627 SOUTHBROOK DR.
HOUSTON, TX 77033-3220                       761     1/24/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
Collins, Johnny Roy
5627 Southbrook Dr.
Houston, TX 77033-3220                       773     1/24/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00

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                                                                                                                         Amount                                                                                     Amount                                                Claim Amount
COLLINS, JOHNNY ROY
5627 SOUTHBROOK DR.
HOUSTON, TX 77033-3220                              775     1/24/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Collums, Kary
Kary Pickett
PO Box 386
Etoile, TX 75944                                    429     11/7/2016        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
COMSTOCK, ROBERT N
PO BOX 239
BARBOURSVILLE, VA 22923-0239                        910     1/26/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
COMSTOCK, ROBERT N
PO BOX 239
BARBOURSVILLE, VA 22923-0239                        911     1/26/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
COMSTOCK, ROBERT N
PO BOX 239
BARBOURSVILLE, VA 22923-0239                        912     1/26/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
COMSTOCK, ROBERT N
PO BOX 239
BARBOURSVILLE, VA 22923-0239                        913     1/26/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
COMSTOCK, ROBERT N
PO BOX 239
BARBOURSVILLE, VA 22923-0239                        927     1/26/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
CONNALLY, OLETA DARLENE
2508 CASHION PL
OKLAHOMA CITY, OK 73112-7610                        2561    3/31/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
CONNERS, KEVIN MICHAEL
1400 CAROLINA PLACE
DOWNINGTOWN, PA 19335                               2126    2/13/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
CONNERS, KEVIN MICHAEL
1400 CAROLINA PLACE
DOWNINGTOWN, PA 19335                               2137    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CONNERS, KEVIN MICHAEL
1400 CAROLINA PLACE
DOWNINGTOWN, PA 19335                               2142    2/13/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
CONNERS, KEVIN MICHAEL
1400 CAROLINA PLACE
DOWNINGTOWN, PA 19335                               2145    2/13/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Conners, Kevin Michael
1400 Carolina Place
Downingtown, PA 19335                               2202    2/13/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Conopco, Inc.
Joshua B. Frank
Baker Botts L.L.P.
1299 Pennsylvania Avenue, N.W.
Washington, DC 20004-2400                           278     10/28/2016       Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
Conopco, Inc.
Joshua B. Frank
Baker Botts L.L.P.
1299 Pennsylvania Avenue, N.W.
Washington, DC 20004-2400                           279     10/28/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
Conopco, Inc.
Joshua B. Frank
Baker Botts L.L.P.
1299 Pennsylvania Avenue, N.W.
Washington, DC 20004-2400                           2668    6/29/2017           Tierra Solutions, Inc.                          $2,044,866.10                                                       $0.00                                                                  $2,044,866.10
Conopco, Inc.
Joshua B. Frank
Baker Botts L.L.P.
1299 Pennsylvania Avenue, N.W.
Washington, DC 20004-2400                           2669    6/29/2017        Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
CONSTANCE T TOMPKINS, WIDOW OF LEE R. TOMPKINS,
DECEASED
P O BOX 735
SHEFFIELD, AL 35660-0735                            1426     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CONTENZA, MICHAEL D
8693 WOODHAWK LANE
KIRTLAND, OH 44094                                  2047    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00




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                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
CONTENZA, MICHAEL D
8693 WOODHAWK LANE
KIRTLAND, OH 44094                             2528    3/28/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
COOK, ANTHONY B
10 TILDEN COURT
SIMPSONVILLE, SC 29680-6740                    2529    3/28/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
COOK, JOHN B
19 TOWNSHIP ROAD 1312 437
CROWN CITY, OH 45623-8822                      733     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
COOK, OSCAR BRYSON
13607 LAKEHILLS VIEW CIR
CYPRESS, TX 77429-6003                         798     1/25/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
COOK, OSCAR BRYSON
13607 LAKEHILLS VIEW CIR
CYPRESS, TX 77429-6003                         801     1/25/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
COOK, OSCAR BRYSON
13607 LAKEHILLS VIEW CIR
CYPRESS, TX 77429-6003                         2432     3/9/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
Cooper Industries, LLC
c/o Baker & Hostetler LLP
Attn: Sonja A. Inglin
11601 Wilshire Boulevard, Suite 1400
Los Angeles, CA 90025                          387     10/31/2016 Maxus International Energy Company                                $0.00                                                      $0.00                                                                         $0.00
Cooper Industries, LLC
Sonja A. Inglin
Baker & Hostetler LLP
11601 Wilshire Boulevard, Suite 1400
Los Angeles, CA 90025                          355     10/31/2016 Maxus International Energy Company                                $0.00                                                      $0.00                                                                         $0.00
Cooper Industries, LLC
Sonja A. Inglin, Esq.
Baker & Hostetler LLP
11601 Wilshire Boulevard, Suite 1400
Los Angeles, CA 90025                          258     10/31/2016          Tierra Solutions, Inc.                                   $0.00                                                      $0.00                                                                         $0.00
Cooper Industries, LLC
Sonja A. Inglin, Esq.
Baker & Hostetler LLP
11601 Wilshire Boulevard, Suite 1400
Los Angeles, CA 90025                          342     10/31/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
Cooper, Michael Wayne
12703 River Run West
Baytown , TX 77523-8554                        778     1/25/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
COOPER, MICHAEL WAYNE
12703 RIVER RUN WEST
BAYTOWN, TX 77523-8554                         809     1/25/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
COOPER, MICHAEL WAYNE
12703 W RIVER RUN DR
BAYTOWN, TX 77523-8554                         817     1/25/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
COOPER, MICHAEL WAYNE
12703 W RIVER RUN DR
BAYTOWN, TX 77523-8554                         824     1/25/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
COOPER, MICHAEL WAYNE
12703 W RIVER RUN DR
BAYTOWN, TX 77523-8554                         835     1/25/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
COOPER, MICHAEL WAYNE
12703 W RIVER RUN DR
BAYTOWN, TX 77523-8554                         1764     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CORLEE, JANE
2627 VIOLET ST
PASADENA, TX 77503                             2131    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CORLEE, JANE
2627 VIOLET ST
PASADENA, TX 77503                             2474    3/21/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
CORMIER, CLIFTON I
3905 WAYNE ST
HOUSTON, TX 77026                              1856    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CORMIER, CLIFTON I
3905 WAYNE ST
HOUSTON, TX 77026                              1869    2/10/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00



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                                                                                                                Amount                                                                                     Amount                                                Claim Amount
CORMIER, CLIFTON I
3905 WAYNE ST
HOUSTON, TX 77026                          1870    2/10/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
CORMIER, CLIFTON I
3905 WAYNE ST
HOUSTON, TX 77026                          1876    2/10/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
CORMIER, CLIFTON I
3905 WAYNE ST
HOUSTON, TX 77026                          1888    2/10/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
CORODEMUS & CORODEMUS LLC
120 WOOD AVE SO STE 500
ISELIN, NJ 08830                           2400     3/6/2017        Maxus Energy Corporation                              $17,281.25                                                                                                                     $0.00      $17,281.25
CORSBIE, DAVID C
444 BRADEN LANE
TUSCUMBIA, AL 35674                        1118    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
COSGROVE, LLOYD
1502 ROARING SPRINGS LN
SEABROOK, TX 77586-4158                    2494    3/21/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
COSGROVE, LLOYD
1502 ROARING SPRINGS LN
SEABROOK, TX 77586-4158                    2495    3/21/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
COSTANGO, JEFFREY SCOTT
PO BOX 161
ST. GEORGES, DE 19733                      1050    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
COSTANGO, JEFFREY SCOTT
PO BOX 161
ST. GEORGES, DE 19733                      2515    3/27/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
COTHERN, WILLIAM H
1532 FOXRIDGE RD
ROCK HILL, SC 29732-9527                   1173    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
COUNTRYMAN, RICHARD A
761 PARKSIDE TRL NW
MARIETTA, GA 30064-4714                    2576     4/3/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
COUNTRYMAN, RICHARD A
761 PARKSIDE TRL NW
MARIETTA, GA 30064-4714                    2578     4/3/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
COUNTRYMAN, RICHARD A
761 PARKSIDE TRL NW
MARIETTA, GA 30064-4714                    2585     4/3/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
COUNTRYMAN, RICHARD A
761 PARKSIDE TRL NW
MARIETTA, GA 30064-4714                    2590     4/3/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
COUNTRYMAN, RICHARD A
761 PARKSIDE TRL NW
MARIETTA, GA 30064-4714                    2592     4/3/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
COUNTRYMAN, RICHARD A
761 PARKSIDE TRL NW
MARIETTA, GA 30064-4714                    2594     4/3/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
COUNTRYMAN, RICHARD A
761 PARKSIDE TRL NW
MARIETTA, GA 30064-4714                    2595     4/3/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
COUNTRYMAN, RICHARD A
761 PARKSIDE TRL NW
MARIETTA, GA 30064-4714                    2600     4/3/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
COUNTRYMAN, RICHARD A
761 PARKSIDE TRL NW
MARIETTA, GA 30064-4714                    2601     4/3/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Countryman, Richard A.
761 Parkside Trail NW
Marietta, GA 30064                         2598     4/3/2017          Gateway Coal Company                                                                                                                                                               $0.00           $0.00
Covanta Essex Company
Gary P. Gengel, Esq.
Latham & Watkins, LLP
885 Third Avenue
New York, NY 10022-4834                    368     10/31/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00




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                                                                                                       Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
               Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
Covanta Essex Company
Gary P. Gengel, Esq.
Latham & Watkins, LLP
885 Third Avenue
New York, NY 10022-4834                      378     10/31/2016          Tierra Solutions, Inc.                                   $0.00                                                      $0.00                                                                         $0.00
COVERNALE, FRANK J
2708 NORMAN ST
PASADENA, TX 77506-3132                      748     1/25/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
COVERNALE, FRANK J
2708 NORMAN ST
PASADENA, TX 77506-3132                      746     1/25/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
COVERNALE, FRANK J
2708 NORMAN ST
PASADENA, TX 77506-3132                      751     1/25/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
COVERNALE, FRANK J
2708 NORMAN ST
PASADENA, TX 77506-3132                      793     1/25/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
COVERNALE, FRANK J
2708 NORMAN ST
PASADENA, TX 77506-3132                      795     1/25/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
COVIL, JERRY D.
305 ELK SUMMIT DR.
TODD, NC 28684-9621                          1235     2/2/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
COX, PATRICK W
30281 MARBELLA VISTA
SAN JUAN CAPISTRANO, CA 92675                2373    2/27/2017        Maxus Energy Corporation                                                                $0.00                          $0.00                                                                         $0.00
COX, PATRICK W
30281 MARBELLA VISTA
SAN JUAN CAPISTRANO, CA 92675                2427     3/9/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Cox, Patrick W.
30281 Marbella Vista
San Juan Capistrano, CA 92675                2402     3/7/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Cozen O'Connor
A. Martin M. Wickliff
1221 McKinney, Suite 2900
Houston, TX 77010                            115     10/21/2016       Maxus Energy Corporation                               $5,115.00                                                                                                                                  $5,115.00
CRAIG, ALAN AARON
307 LIGHTHOUSE POINT CIR
YOUNGSVILLE, LA 70592-5693                   1070    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
CRANDALL, MICHAEL M.
1214 VELMA ST.
DEER PARK, TX 77536                          828     1/26/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
CRANDALL, MICHAEL M.
1214 VELMA ST.
DEER PARK, TX 77536                          844     1/26/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
CRANDALL, MICHAEL M.
1214 VELMA ST.
DEER PARK, TX 77536                          857     1/26/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
CRANDALL, MICHAEL M.
1214 VELMA ST.
DEER PARK, TX 77536                          858     1/26/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
CRANDALL, MICHAEL M.
1214 VELMA ST.
DEER PARK, TX 77536                          859     1/26/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
CRANDALL, MICHAEL M.
1214 VELMA ST.
DEER PARK, TX 77536                          2503    3/24/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
CRAWFORD, GARY LEON
10014 STONEMONT RD
LA PORTE, TX 77571-4057                      1653     2/8/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
CRAWFORD, GARY LEON
10014 STONEMONT RD
LA PORTE, TX 77571-4057                      1667     2/8/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
CRAWFORD, GARY LEON
10014 STONEMONT RD
LA PORTE, TX 77571-4057                      1722     2/8/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
CRAWFORD, GARY LEON
10014 STONEMONT RD
LA PORTE, TX 77571-4057                      1789     2/8/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00

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                 Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
CRAWFORD, GARY LEON
10014 STONEMONT RD
LA PORTE, TX 77571-4057                        1790     2/8/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Crenshaw, Michael J
6 Creek Lane
Newark, DE 19702                               822     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Crenshaw, Michael J
6 Creek Lane
Newark, DE 19702                               826     1/26/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Crenshaw, Michael J
6 Creek Lane
Newark, DE 19702                               849     1/26/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Crenshaw, Michael J
6 Creek Lane
Newark, DE 19702                               851     1/26/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Crenshaw, Michael J
6 Creek Lane
Newark, DE 19702                               853     1/26/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
CRIBBS, THOMAS R
777 LEGENDS VIEW DR
EUREKA, MO 63025-2091                          1257     2/2/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
CRIBBS, THOMAS R
777 LEGENDS VIEW DR
EUREKA, MO 63025-2091                          1737     2/8/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
CRIBBS, THOMAS R
777 LEGENDS VIEW DR
EUREKA, MO 63025-2091                          1742     2/8/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Cribbs, Thomas Ralph
777 Legends View Dr.
Eureka, MO 63025                               1741     2/8/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
Cribbs, Thomas Ralph
Tom Cribbs
777 Legends View Dr.
Eureka, MO 63025                               1740     2/8/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
CRISPI, JOSELINA
14003 WADEBRIDGE WAY
HOUSTON, TX 77015                              2616    4/10/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Croda Inc.
Christina Manuelli, Corporate Secretary
300-A Columbus Circle
Edison, NJ 08837-3907                          193     10/28/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
Croda Inc.
Christina Manuelli, Corporate Secretary
300-A Columbus Circle
Edison, NJ 08837-3907                          198     10/28/2016          Tierra Solutions, Inc.                                   $0.00                                                      $0.00                                                                         $0.00
CROMBIE, ANN C.
PO BOX 350
ADELPHIA, NJ 07710-0350                        2367    2/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CROMBIE, ANN C.
PO BOX 350
ADELPHIA, NJ 07710-0350                        2409     3/7/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
CROYLE, WILLIAM E
544 GRAND RIDGE DR.
HOWARD, OH 43028                               2090    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
CULVER, SUSAN C
7929 CHURCHILL WAY APT 2214
DALLAS, TX 75251-2094                          2225    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CULVER, SUSAN C
7929 CHURCHILL WAY APT 2214
DALLAS, TX 75251-2094                          2226    2/14/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
CULVER, SUSAN C
7929 CHURCHILL WAY APT 2214
DALLAS, TX 75251-2094                          2247    2/14/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
CULVER, SUSAN C
7929 CHURCHILL WAY APT 2214
DALLAS, TX 75251-2094                          2250    2/14/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
CULVER, SUSAN C
7929 CHURCHILL WAY APT 2214
DALLAS, TX 75251-2094                          2272    2/14/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00

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                 Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
Cummings, Martis W. (Wayne)
1205 E Sandy Lake Rd.
# 229
Coppell, TX 75019                               73     9/29/2016        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
Cunningham Darlow LLP
919 Milam, Suite 575
Houston, TX 77002                               42     9/15/2016        Maxus Energy Corporation                               $6,650.00                                                                                                                                  $6,650.00
Curtis, Jeanne B
PO Box 542
Canadian, TX 79014                             2511    3/28/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
CURTIS, JEANNE B
PO BOX 542
CANADIAN, TX 79014                             1654     2/8/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
CURTIS, JEANNE B
PO BOX 542
CANADIAN, TX 79014                             1664     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CURTIS, JEANNE B
PO BOX 542
CANADIAN, TX 79014                             1666     2/8/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
CURTIS, JEANNE B
PO BOX 542
CANADIAN, TX 79014                             1668     2/8/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
CURTIS, JEANNE B
PO BOX 542
CANADIAN, TX 79014                             1782     2/8/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
CURTIS, JEANNE B
PO BOX 542
CANADIAN, TX 79014                             2506    3/27/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
CURTIS, JEANNE B
PO BOX 542
CANADIAN, TX 79014                             2507    3/28/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
Curtis, Jeanne B
PO Box 542
Canadian, TX 79014                             2510    3/27/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
Curtis, Jeanne B
PO Box 542
Canadian, TX 79014                             2512    3/28/2017          Gateway Coal Company                                                                                                                                                               $0.00           $0.00
CUTLER, KEVIN H
2309 E REATA DR
DEER PARK, TX 77536-4961                       1510     2/6/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
CUTLER, KEVIN H
2309 E REATA DR
DEER PARK, TX 77536-4961                       1512     2/6/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
CUTLER, KEVIN H
2309 E REATA DR
DEER PARK, TX 77536-4961                       1523     2/6/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
CUTLER, KEVIN H
2309 E REATA DR
DEER PARK, TX 77536-4961                       1612     2/6/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
CUTLER, KEVIN H
2309 E REATA DR
DEER PARK, TX 77536-4961                       1619     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
CUTNO, PAUL
18 CANE DR
LA PLACE, LA 70068                             2551    3/31/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Darling Ingredients Inc.
James F. Sterling
Darling International Inc.
251 O'Connor Ridge Boulevard, Suite 300
Irving, TX 75038                               146     10/27/2016 Maxus International Energy Company                                $0.00                                                                                                                                    $0.00
Darling Ingredients Inc.
James F. Sterling
Darling International Inc.
251 O'Connor Ridge Boulevard, Suite 300
Irving, TX 75038                               149     10/27/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00




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                                                                                                         Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
Darling Ingredients Inc.
John F. Sterling
Darling International Inc.
251 O'Connor Ridge Boulevard, Suite 300
Irving, TX 75038                               143     10/27/2016    Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Darling Ingredients Inc.
John F. Sterling
Darling International Inc.
251 O'Connor Ridge Boulevard, Suite 300
Irving, TX 75038                               144     10/27/2016         Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Darling Ingredients Inc.
John F. Sterling
Darling International Inc.
251 O'Connor Ridge Boulevard, Suite 300
Irving, TX 75038                               158     10/27/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Daugherty, Mahlon H
139 Selway Ct
Lewiston, ID 83501                             312     10/28/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
David, Frederick D
8738 Berndale St.
Houston, TX 77029                              1423     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DAVIS, CHANA
32760 LEDGE HILL DR
SOLON, OH 44139-1915                           1456     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
DAVIS, DEBORAH
PO BOX 996
CANYON, TX 79015                               965     1/30/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
DAVIS, DEBORAH
PO BOX 996
CANYON, TX 79015-0996                          960     1/30/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
DAVIS, DEBORAH
PO BOX 996
CANYON, TX 79015-0996                          961     1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
DAVIS, DEBORAH
PO BOX 996
CANYON, TX 79015-0996                          962     1/30/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
DAVIS, DEBORAH
PO BOX 996
CANYON, TX 79015-0996                          1055    1/30/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
DAVIS, FRANKLIN
3219 BRYN MAWR DR
DALLAS, TX 75225-7646                          439     11/15/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DAVIS, JOHN C
5992 N ARDEN DR.
MENTOR, OH 44060                               1607     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DAVIS, MARILYN S
8601 ICE HOUSE DR APT 10105
N RICHLAND HILLS, TX 76180-5449                776     1/24/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
DAVIS, MARILYN S
8601 ICE HOUSE DR APT 10105
N RICHLAND HILLS, TX 76180-5449                786     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DAVIS, MARILYN S
8601 ICE HOUSE DR APT 10105
N RICHLAND HILLS, TX 76180-5449                788     1/24/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
DAVIS, MARILYN S
8601 ICE HOUSE DR APT 10105
N RICHLAND HILLS, TX 76180-5449                790     1/24/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Davis, Marilyn S
8601 Ice House Dr Apt 10105
North Richland Hills, TX 76180-5449            787     1/24/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Davis, Marilyn S.
8601 Ice House Dr.
Apt. 10105
N. Richland Hills, TX 76180                    2486    3/20/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
DAVIS, MARTIN E
123 PRIVATE ROAD 3596
PARADISE, TX 76073-4702                        1165    1/31/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00




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                                                                                                                              Amount                                                                                     Amount                                                Claim Amount
Davis, Mary F
3618 Green St
Harrisburg, PA 17110                                       298     10/31/2016        Gateway Coal Company                                     $0.00                                                                                                                                    $0.00
DAVISON, ELMIRA B
2322 E 88TH ST
CLEVELAND, OH 44106-3438                                   2156    2/13/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
De Liege, Maureen
617 Rollins Road Apt 1
Burlingame, CA 94010-2784                                   35     9/12/2016       Maxus Energy Corporation                                   $0.00                       $0.00                                                                                                        $0.00
De Liege, Maureen
617 Rollins Road Apt 1
Burlingame, CA 94010-2784                                  2404     3/7/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
Decker, Gary
PO Box 22
Grannis, AR 71944                                          2471    3/21/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
DEEB, CHARLES G
8779 PINEWOOD CT
MENTOR, OH 44060-2248                                      2349    2/21/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
Degli, Patricia A
7143 N. Galahad Place
Painesville, OH 44077-9538                                 1477     2/4/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
DELVENTO, VITO R
122 VISTA DR
EASTON, CT 06612-1132                                      2524    3/27/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
DEMBNY, NANCY L
3209 ABINGDON DRIVE
RICHARDSON, TX 75082                                       502     1/17/2017       Maxus Energy Corporation                                                                                                                             $0.00                                          $0.00
DEMEL, DENNIS J
3642 VACEK LOOP
PO BOX 532
SCHULENBURG, TX 78956                                      799     1/25/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
Denson, William R.
1821 Meadow Creek Dr.
Pearland, TX 77581                                         2403     3/7/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
Department of the Interior/Office of Natural Resources
Revenue
PO Box 25165 MS 64200B
Denver, CO 80225                                           472     12/15/2016   Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00
Department of the Treasury - Internal Revenue Service
P.O. BOX 7346
Philadelphia, PA 19101-7346                                 10     7/18/2016          Tierra Solutions, Inc.                                                              $0.00                                                                                                        $0.00
Department of the Treasury - Internal Revenue Service
P.O. BOX 7346
Philadelphia, PA 19101-7346                                 11      8/5/2016       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
Department of the Treasury - Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346                                 14      8/5/2016          Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
Department of the Treasury - Internal Revenue Service
P.O. BOX 7346
Philadelphia, PA 19101-7346                                2430    3/10/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
DERBONNE, MARY B
4203 FM 1960
DAYTON, TX 77535-5903                                      2273    2/14/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
DEVALL, JUNIOR P
1525 N PRESTON HWY
KINGWOOD, WV 26537-7675                                    2099    2/13/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
DEVENISH, BRIAN
29588 N 129TH DR
PEORIA, AZ 85383-5262                                      2053    2/13/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
DICARLO, MARIA F.
289 COVENTRY DR
PAINESVILLE, OH 44077                                      669     1/24/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
DICARLO, MARIA F.
289 COVENTRY DR
PAINESVILLE, OH 44077                                      2521    3/27/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
DICICCO, ANNA M
8 W PICKWICK RD
ARLINGTON HTS, IL 60005-3753                               625     1/23/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00


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                                                                                                                       Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address                 Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
DICICCO, ANNA M
8 W PICKWICK RD
ARLINGTON HTS, IL 60005-3753                                 628     1/23/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
DICICCO, ANNA M
8 W PICKWICK RD
ARLINGTON HTS, IL 60005-3753                                 633     1/23/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
DICICCO, ANNA M
8 W PICKWICK RD
ARLINGTON HTS, IL 60005-3753                                 634     1/23/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
DICICCO, ANNA M
8 W PICKWICK RD
ARLINGTON HTS, IL 60005-3753                                 635     1/23/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
DICKENS, LINDA
546 ORCHARD AVE
ELKVIEW, WV 25071-7676                                       2042    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
DIEDRICH, JEFFERY D
15082 ALSTONE DR
FRISCO, TX 75035                                             2246    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DIEDRICH-BECK, NANCY
1600 N OAKWOOD RD
OSHKOSH, WI 54904                                            2473    3/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DIEDRICH-BECK, NANCY
1600 N OAKWOOD RD
OSHKOSH, WI 54904                                            2475    3/23/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
DIEDRICH-BECK, NANCY
1600 N OAKWOOD RD
OSHKOSH, WI 54904                                            2477    3/23/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
DIEDRICH-BECK, NANCY
1600 N OAKWOOD RD
OSHKOSH, WI 54904                                            2481    3/23/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
DIEDRICH-BECK, NANCY
1600 N OAKWOOD RD
OSHKOSH, WI 54904                                            2482    3/23/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
DIETZ, BRADLEY
136 EAST 64TH STREET, APT 8C
NEW YORK, NY 10065                                           186     10/27/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DII Industries, LLC
Joshua B. Frank
Baker Botts L.L.P.
1299 Pennsylvania Avenue, N.W.
Washington, DC 20004-2400                                    202     10/28/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
DII Industries, LLC
Joshua B. Frank
Baker Botts L.L.P.
1299 Pennsylvania Avenue, N.W.
Washington, DC 20004-2400                                    201     10/28/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
DILLOW, EDWARD
721 FRESA
PASADENA, TX 77502                                           2274    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DILLOW, EDWARD
721 FRESA
PASADENA, TX 77502                                           2523    3/27/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
DiLorenzo Properties Company on behalf of itself and the
Goldman/Goldman/DiLorenzo Properties Partne
Steven Schwartz
401 E. 74th Street, Apt. 6F
New York, NY 10021-3919                                      322     10/31/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
DiLorenzo Properties Company on behalf of itself and the
Goldman/Goldman/DiLorenzo Properties Partne
Steven Schwartz
401 E. 74th Street, Apt. 6F
New York, NY 10021-3919                                      351     10/31/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
DIMAIO, JOYCE A.
308 DEVON RD
FAIRLESS HILLS, PA 19030                                     575     1/20/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DIMAIO, JOYCE A.
308 DEVON RD
FAIRLESS HILLS, PA 19030                                     2388     3/6/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00



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                                                                                                       Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
               Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
Dixon, Daniel K
6451 Ridglea Crest Drive
Fort Worth, TX 76116                         2215    2/14/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
DIXON, DANIEL K
6451 RIDGLEA CREST DRIVE
FORT WORTH, TX 76116                         2231    2/14/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
DIXON, DANIEL K
6451 RIDGLEA CREST DRIVE
FORT WORTH, TX 76116                         2237    2/14/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
DIXON, DANIEL K
6451 RIDGLEA CREST DRIVE
FORT WORTH, TX 76116                         2243    2/14/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Dixon, Daniel K
6451 Ridglea Crest Drive
Fort Worth, TX 76116                         2268    2/14/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
DLA Piper France LLP
27 Rue Laffitte
Paris 75009
France                                       2763    8/30/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
DLA PIPER LLP
Vonnick Le Guillou
27 Rue Laffitte
Paris 75009
France                                       118     10/25/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DOLIER, KATHLEEN R
310 HUME LN
BAKERSFIELD, CA 93309-2427                   1603     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DOLIER, KATHLEEN R
310 HUME LN
BAKERSFIELD, CA 93309-2427                   2452    3/13/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
DOMITROVICH, THEODORE R
4312 JENNING CT
PLANO, TX 75093-5500                         1632     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Donnelly, JR, Charles E
5848 Shady Oaks DR
Frisco, TX 75034-7225                        1516     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DONNELLY, VICKI V
5848 SHADY OAKS DR
FRISCO, TX 75034-7225                        1387     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DORSETT, TERRY E
11205 HOSFORD RD.
CHARDON, OH 44024                            2588     4/3/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
DOSSETT JR., SONNY
6185 WILMER RD.
WILMER, AL 36587                             1751     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DOSSETT JR., SONNY
6185 WILMER RD.
WILMER, AL 36587                             1752     2/9/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
DOSSETT JR., SONNY
6185 WILMER RD.
WILMER, AL 36587                             1774     2/9/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
DOSSETT JR., SONNY
6185 WILMER RD.
WILMER, AL 36587                             1775     2/9/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
DOSSETT JR., SONNY
6185 WILMER RD.
WILMER, AL 36587                             1827     2/9/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
DOSSETT JR., SONNY
6185 WILMER RD.
WILMER, AL 36587                             2596     4/3/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
DOUGHERTY, MICHAEL O
9930 TANBARK TRL
MENTOR, OH 44060-7244                        1092    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DREIBELBIS, KENT D
PO BOX 603
ALLENWOOD, NJ 08720-0603                     779     1/25/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00




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                                                                                                                           Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address                     Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                      Amount                                                                                     Amount                                                Claim Amount
Duane Marine Site Trust Fund
c/o Norman W. Bernstein, Esq.
N.W. Bernstein & Associates, LLC
800 Westchester Ave., Suite N319
Rye Brook, NY 10573                                              2605     4/3/2017        Maxus Energy Corporation                              $12,300.00                                                                                                                     $0.00      $12,300.00
DUANE, CAROL A
7950 GARFIELD RD
MENTOR, OH 44060-5956                                            2221    2/14/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
DUANE, WARREN C
7950 GARFIELD RD
MENTOR, OH 44060-5956                                            2270    2/14/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
DUDLEY, ROBERT L
19125 FOREST RD 219
RICHARDS, TX 77873                                               1366     2/6/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
DUDLEY, ROBERT L
19125 FOREST RD 219
RICHARDS, TX 77873                                               1370     2/6/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
DUDLEY, ROBERT L
19125 FOREST RD 219
RICHARDS, TX 77873                                               1400     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
DUDLEY, ROBERT L
19125 FOREST RD 219
RICHARDS, TX 77873                                               1517     2/6/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
DUDLEY, ROBERT L
19125 FOREST RD 219
RICHARDS, TX 77873                                               1520     2/6/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
DUHE, BARRY J
2479 ADMIRALS LANDING
PAULINA, LA 70763                                                2448    3/13/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Duhe, Paul
2176 Pebble Beach Dr
Laplace , LA 70068                                               2485    3/20/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
DUKE, JACK W.
4806 CREPE MYRTLE LN.
PASADENA, TX 77505                                               2197    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
DUKE, JACK W.
4806 CREPE MYRTLE LN.
PASADENA, TX 77505                                               2465    3/16/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
DULLYE, BRYAN C
325 TENISON TRL
ROANOKE, TX 76262-1140                                           735     1/24/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
DULLYE, BRYAN C
325 TENISON TRL
ROANOKE, TX 76262-1140                                           742     1/24/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
DULLYE, BRYAN C
325 TENISON TRL
ROANOKE, TX 76262-1140                                           754     1/24/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
DULLYE, BRYAN C
325 TENISON TRL
ROANOKE, TX 76262-1140                                           774     1/24/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
DULLYE, BRYAN C
325 TENISON TRL
ROANOKE, TX 76262-1140                                           784     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
DUMAN, DYANA L
7312 GENTLE VALLEY ST
LAS VEGAS, NV 89149-1616                                         2278    2/15/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Dunlap, Perry E
c/o Mark Dunlap, Independent Executor of the Estate of Perry
Dunlap, Deceased
7707 Tripp
Amarillo, TX 79121                                               432     11/9/2016        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
DURKAN, RAYMOND
2310 MILLVALE DRIVE
KINGWOOD, TX 77345                                               1537     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DURKAN, RAYMOND
2310 MILLVALE DRIVE
KINGWOOD, TX 77345                                               2697    7/31/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00




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                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
Durley, Henry James
7023 Richwood
Houston, TX 77087                             1681     2/8/2017       Maxus Energy Corporation                                   $0.00                       $0.00                          $0.00                                                                         $0.00
DURR, BESSIE
2094 FAIRWAY CIR
HUDSON, OH 44236                              2557    3/31/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
Dye, Louis J
6555 Creekside Trail
Solon, OH 44139                                53     9/26/2016       Maxus Energy Corporation                                   $0.00                       $0.00                                                                                                        $0.00
Dye, Sonja
6555 Creekside Trail
Solon, OH 44139                                44     9/26/2016       Maxus Energy Corporation                                   $0.00                       $0.00                          $0.00                                                                         $0.00
DYKES, JAMES DAVID
11611 N LEE HUGHES RD
HAMMOND, LA 70401-4811                        486     1/17/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Dykes, Thomas
6653 MS Hwy 568
Osyka, MS 39657                               482     12/28/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
EADY, MAX R
312 W COURTLAND AVE
MUSCLE SHOALS, AL 35661-2816                  1509     2/6/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
EAGLIN, JAMES
17007 HIDDEN TREASURE CIR
FRIENDSWOOD, TX 77546-3461                    2384     3/6/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
Eaglin, James
17007 Hidden Treasure Circle
Friendswood, TX 77546                         2383     3/6/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
East Greenfield Investors LLC
Jeffrey K. Paulsen
FactorLaw
105 W. Madison
Suite 1500
Chicago, IL 60602                             285     10/28/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
EBRIGHT, FRANK W
96 ROLLING GREEN LANE
ELKTON, MD 21921                              2093    2/13/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
ECKL, DAVID L
2081 COUNTY RD. 30
FLORENCE, AL 35634                            1229     2/1/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
ECKL, DAVID L
2081 COUNTY RD. 30
FLORENCE, AL 35634                            2464    3/15/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
EDDY, RONALD DEWAYNE
1933 GIBSON RD
WAXAHACHIE, TX 75165-7420                     1401     2/6/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
EDDY, RONALD DEWAYNE
1933 GIBSON RD
WAXAHACHIE, TX 75165-7420                     2487    3/20/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
Edge, Grover Devone
6232 Rock Creek Rd NE
Leland, NC 28451                              506     1/18/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
EDWARDS, FRANCES B
8218 GOODNIGHT TRL
AMARILLO, TX 79110-4726                       1101    1/31/2017    Maxus (U.S.) Exploration Company                                                          $0.00                                                                                                        $0.00
El Paso Remediation Company
Saul Ewing LLP
Attn: Robyn F. Pollack, Esq.
1500 Market Street, 38th Floor
Philadelphia, PA 19102-2186                   388     10/31/2016      Maxus Energy Corporation                                   $0.00                                                      $0.00                                                                         $0.00
El Paso Remediation Company
Saul Ewing LLP
Attn: Robyn F. Pollack, Esq.
1500 Market Street, 38th Floor
Philadelphia, PA 19102-2186                   400     10/31/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
ELLIS, LINDA E
6301 BERMUDA DUNES DR
PLANO, TX 75093-6167                          999     1/30/2017         Gateway Coal Company                                     $0.00                                                                                                                                    $0.00




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                 Creditor Name and Address          Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                           Amount                                                                                     Amount                                                Claim Amount
ELLIS, LINDA E
6301 BERMUDA DUNES DR
PLANO, TX 75093-6167                                  1000    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ELLIS, LINDA E
6301 BERMUDA DUNES DR
PLANO, TX 75093-6167                                  1006    1/30/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
ELLIS, LINDA E
6301 BERMUDA DUNES DR
PLANO, TX 75093-6167                                  1017    1/30/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
ELLIS, LINDA E
6301 BERMUDA DUNES DR
PLANO, TX 75093-6167                                  1059    1/30/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Elmo Joseph Boxie, Deceased
Attn: Janet Boxie
176 Henderson Drive
Arnaudville, LA 70512                                 2603     4/3/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
ELZNER, DEBORAH KAY
26319 RIMWICK FOREST DR.
MAGNOLIA, TX 77354                                    577     1/21/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
ELZNER, DEBORAH KAY
26319 RIMWICK FOREST DR.
MAGNOLIA, TX 77354                                    2483    3/23/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Enbridge Offshore Facilities, LLC
Eversheds Sutherland (US) LLP
c/o Mark Sherrill
1001 Fannin St., Suite 3700
Houston, TX 77002                                     2742    8/14/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
Enbridge Offshore Facilities, LLC
Mark Sherrill
Eversheds Sutherland (US) LLP
1001 Fannin St, Ste. 3700
Houston, TX 77002                                     2737    8/14/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
Enbridge Offshore Facilities, LLC
Mark Sherrill, Sutherland Asbill & Brennan
1001 Fannin St., Suite 3700
Houston, TX 77002                                     112     10/21/2016    Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
ENGLISH, WILLIAM H
919 N LUCAS ST
WEST COLUMBIA, SC 29169-7026                          2670    7/11/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Enriquez, Maria S
13731 Yardmaster Trl
Houston, TX 77034                                     1911    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ENRIQUEZ, MARIA S
13731 YARDMASTER TRL
HOUSTON, TX 77034                                     2458    3/15/2017        Maxus Energy Corporation                                                                                                                              $0.00                          $0.00           $0.00
Entact, LLC
William W Thorsness
Vedder Price P.C.
222 N. LaSalle Street, Suite 2400
Chicago, IL 60601                                      99     10/19/2016          Tierra Solutions, Inc.                              $4,800.00                                                                                                                                  $4,800.00
Entact, LLC
William W Thorsness
Vedder Price P.C.
222 N. LaSalle Street, Suite 2400
Chicago, IL 60601                                     2775    5/27/2020           Tierra Solutions, Inc.                            $220,000.00                                                                                                                               $220,000.00
Enterprise Gas Processing, LLC
c/o Charlie San Miguel, Assistant General Counsel
1100 Louisiana, Suite 24.105
Houston, TX 77002                                     161     10/28/2016    Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
EPSTEIN, NORMAN A
347 FOX CHASE ROAD
CLARKSBORO, NJ 08020-0000                             767     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Essex Chemical Corporation
Kenneth H. Mack, Esq.
Fox Rothschild LLP
997 Lenox Drive, Building Three
Lawrenceville, NJ 08648                               364     10/31/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00




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                 Creditor Name and Address          Claim No. Claim Date            Debtor                                            Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
Essex Chemical Corporation
Kenneth H. Mack, Esq.
Fox Rothschild LLP
997 Lenox Drive, Building Three
Lawrenceville, NJ 08648                               377     10/31/2016   Maxus Energy Corporation                              $0.00                                                      $0.00                                                                         $0.00
Estate of Richard Mather Ahlstrom
Mrs. Beverly Sowle Ahlstrom
Gruber Hail Johansen Shank, LLP
c/o Tricia R. DeLeon
1445 Ross Avenue, Suite 2500
Dallas, TX 75202                                      2736    8/11/2017    Maxus Energy Corporation                                                                                                                                                       $0.00           $0.00
ETEMADI, MOHAMAD R
13967 TEEL RD
MONTGOMERY, TX 77356-7449                             651     1/23/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
ETEMADI, MOHAMAD R
13967 TEEL RD
MONTGOMERY, TX 77356-7449                             2416     3/8/2017    Maxus Energy Corporation                                                                                                                                                       $0.00           $0.00
Eurofins Lancaster Laboratories Environmental LLC
Attn: Adrienne Kuhl
2425 New Holland Pike
Lancaster, PA 17601                                    17     8/22/2016      Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
Eurofins Lancaster Laboratories Environmental LLC
Attn: Adrienne Kuhl
2425 New Holland Pike
Lancaster, PA 17601                                    20     8/22/2016      Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
EVANGELISTA, NICHOLAS H
25 SANFORD ST
PAINESVILLE, OH 44077-3043                            2390     3/6/2017    Maxus Energy Corporation                                                                                                                                                       $0.00           $0.00
EVANS, GENE RAYMOND
PO BOX 969
SMITHVILLE, TX 78957-0969                             2423     3/9/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
EVANS, GENE RAYMOND
PO BOX 969
SMITHVILLE, TX 78957-0969                             2424     3/9/2017    Maxus Energy Corporation                                                                                                                                                       $0.00           $0.00
EVANS, PAUL A
11 2ND AVENUE
ROEBLING, NJ 08554-1001                               2310    2/17/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
F R YOCOM
206 SPANISH LAKES DRIVE
NOKOMIS, FL 34275                                     940     1/27/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Falgoust, Molly S
22885 North Oak Street
Vacherie, LA 70090                                    1902    2/10/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Falgoust, Molly S
22885 North Oak Street
Vacherie, LA 70090-4456                               1781     2/8/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
FARHADI, MAHMOUD
10210 WINDING WOOD LN
TOMBALL, TX 77375-6972                                2032    2/13/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
FARHADI, MAHMOUD
10210 WINDING WOOD LN
TOMBALL, TX 77375-6972                                2138    2/13/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Farnell, Marion B
7385 Pinewood Dr
Theodore, AL 36582                                    2537    3/30/2017    Maxus Energy Corporation                                                                                                                                                       $0.00           $0.00
FAUST, SHARON
1042 MILLCREEK RD
YORK, PA 17404                                        925     1/26/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
FEENEY, CHILONG
13020 BELKNAP PL
BRADENTON, FL 34211-4012                              1068    1/30/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
FELAN, CATARINO D
3212 CHESTERSHIRE DR
PASADENA, TX 77503                                    1202    1/30/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Fenton Jr, Richard C
29611 Fairway Bluff DR
Fair Oaks Ranch, TX 78015                             490     1/18/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00




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                                                                                                        Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                   Amount                                                                                     Amount                                                Claim Amount
FERGUSON, MICHAEL
20604 CHARLOTTE BLVD S
MILLSBORO, DE 19966-7578                      1346     2/4/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
FERL, JERRY M
5210 SAMUEL AVE
ASHTABULA, OH 44004-6628                      2255    2/14/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
FERNANDEZ, JUAN A
7526 SW 111 PLACE
MIAMI, FL 33173                               867     1/27/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
FERNANDEZ, JUAN A
7526 SW 111 PLACE
MIAMI, FL 33173                               868     1/27/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
FERNANDEZ, JUAN A
7526 SW 111 PLACE
MIAMI, FL 33173                               889     1/27/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
FERNANDEZ, JUAN A
7526 SW 111 PLACE
MIAMI, FL 33173                               944     1/27/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
FERNANDEZ, JUAN A
7526 SW 111 PLACE
MIAMI, FL 33173                               948     1/27/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
FERNANDEZ, JUAN A
7526 SW 111 PLACE
MIAMI, FL 33173                               2399     3/6/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
FIDLER, DANIEL J.
17787 W. POND RIDGE CIRCLE
GURNEE, IL 60031                              2492    3/20/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
FINELLI, JR, WILLIAM J
8981 CLINTON RIVER ROAD
STERLING HEIGHTS, MI 48314-2410               1776     2/8/2017        Maxus Energy Corporation                                                                $0.00                          $0.00                                                                         $0.00
FISCHER, STEPHEN A
15472 PRESTWICK CIR N
NORTHVILLE, MI 48168-5014                     768     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Fisher, Robert E
45 North Wade Ave., Apt. B-1
Washington, PA 15301                          2374    2/28/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Fiske Brothers Refining Company
Joseph M. Campisano, Esq.
Sedita, Campisano & Campisano, LLC
145 US-46
Wayne, NJ 07470                               268     10/31/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Fiske Brothers Refining Company
Joseph M. Campisano, Esq.
Sedita, Campisano & Campisano, LLC
145 US-46
Wayne, NJ 07470                               270     10/31/2016 Maxus International Energy Company                                $0.00                                                                                                                                    $0.00
Fiske Brothers Refining Company
Joseph M. Campisano, Esq.
Sedita, Campisano & Campisano, LLC
55 Lane Road, Suite 170
Fairfield, NJ 07004                           276     10/31/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
FLANAGAN, LISA K
1021 SUNSET TER
AMARILLO, TX 79106-6336                       1133    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
FLANAGAN, LISA K
1021 SUNSET TER
AMARILLO, TX 79106-6336                       2420     3/9/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
FleetPride Inc
Matt Perry
600 Las Colinas Blvd E
Suite 400
Irving, TX 75039                              116     10/22/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Fletcher, Erick
PO Box 1963
Pottsboro, TX 75076                           1226     2/1/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
FLETCHER, JAMES D
16462 PARKSLEY DR
HOUSTON, TX 77059-4719                        975     1/30/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00



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                                                                                                                    Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                  Creditor Name and Address             Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                               Amount                                                                                     Amount                                                Claim Amount
FLETCHER, JAMES D
16462 PARKSLEY DR
HOUSTON, TX 77059-4719                                    989     1/30/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
FLETCHER, JAMES D
16462 PARKSLEY DR
HOUSTON, TX 77059-4719                                    993     1/30/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
FLETCHER, JAMES D
16462 PARKSLEY DR
HOUSTON, TX 77059-4719                                    994     1/30/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
FLETCHER, JAMES D
16462 PARKSLEY DR
HOUSTON, TX 77059-4719                                    995     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Flewellen III, Johnnie
6005 S. Gessner Apt. #2340
Houston, TX 77036                                         1978    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Flewellen III, Johnnie
6005 S. Gessner Apt. #2340
Houston, TX 77036                                         2446    3/10/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Flick, Sondra Caroline
4821 Coral Road
Fort Myers Beach, FL 33931-3914                           2024    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Flook, Robert C.
15238 W. Baker Avenue
Lakewood, CO 80228                                        431     11/9/2016        Maxus Energy Corporation                              $17,799.22                        $0.00                                                                                                   $17,799.22
FLOREK, LARRY
861 RIDGEVIEW DR.
MEDINA, OH 44256                                          487     1/17/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
FLOREK, LARRY
861 RIDGEVIEW DR.
MEDINA, OH 44256                                          2447    3/12/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Flowers, Steven Joseph
3401 Lee Parkway, Apt. # 1009
Dallas, TX 75219                                          535     1/19/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Foley & Lardner LLP
Mark Wolfson, Esq.
100 North Tampa St., Suite 2700
Tampa, FL 33602                                           138     10/27/2016       Maxus Energy Corporation                              $17,719.50                                                       $0.00                                                                    $17,719.50
Fordham, J Lynn
624 Andover Village Pl
Lexington, KY 40509                                       131     10/26/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Fordham, James L
624 Andover Village Pl
Lexington, KY 40509                                       136     10/26/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Fordham, Joellen S
624 Andover Village Pl
Lexington, KY 40509-1928                                  132     10/26/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
FORISH, ANNE M
202 LARIAT LN
DRIPPING SPRINGS, TX 78620                                915     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
FORISH, ANNE M
202 LARIAT LN
DRIPPING SPRINGS, TX 78620                                916     1/27/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
FORISH, ANNE M
202 LARIAT LN
DRIPPING SPRINGS, TX 78620                                936     1/27/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
FORISH, ANNE M
202 LARIAT LN
DRIPPING SPRINGS, TX 78620                                942     1/27/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
FORISH, ANNE M
202 LARIAT LN
DRIPPING SPRINGS, TX 78620                                946     1/27/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
FORNALE, EVELYN J
145 FAIRVIEW AVE
SOUTH ORANGE, NJ 07079-2524                               2429     3/9/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Fort Elliott Consolidated Independent School District
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                                    63     9/23/2016        Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00


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                                                                                                                                      Amount                                                                                     Amount                                                Claim Amount
Fort Elliott Consolidated Independent School District
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                          2539    3/30/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
FORT, FRANK THOMAS
33222 BOARDWALK DRIVE
SPANISH FORT, AL 36527-7032                                      1469     2/4/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
FORT, FRANK THOMAS
33222 BOARDWALK DRIVE
SPANISH FORT, AL 36527-7032                                      1476     2/4/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
FORT, FRANK THOMAS
33222 BOARDWALK DRIVE
SPANISH FORT, AL 36527-7032                                      2068    2/13/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
FORT, FRANK THOMAS
33222 BOARDWALK DRIVE
SPANISH FORT, AL 36527-7032                                      2112    2/13/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
FORT, FRANK THOMAS
33222 BOARDWALK DRIVE
SPANISH FORT, AL 36527-7032                                      2150    2/13/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
FORT, FRANK THOMAS
33222 BOARDWALK DRIVE
SPANISH FORT, AL 36527-7032                                      2152    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
FOSTER, WILLIAM R
2490 ALLYSON PL
CASPER, WY 82604-5059                                            1028    1/30/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
FOX, HELEN J
1533 LOCKNEY ST
AMARILLO, TX 79106-2405                                          1551     2/7/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Franchise Tax Board
PO Box 2952
Sacramento , CA 95812-2952                                        9      7/22/2016    Maxus International Energy Company                         $3,228.90                        $0.00                                                                                                     $3,228.90
Francis, Robert J
26916 Eastwood Ln
Olmsted TWP, OH 44138                                            430     11/8/2016        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
FRANCO, J
310 PICKETTS MILL RUN RU
ACWORTH, GA 30101-7737                                           1227    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Franklin-Burlington Plasics, Inc.
Robert K. James, Vice President, Enviromental and Secretary
33587 Walker Road
Avon Lake, OH 44012-1145                                         190     10/28/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00

Franklin-Burlington Plastics, Inc.
Robert K. James, Vice President, Environmental and Secretary
33587 Walker Road
Avon Lake, OH 44012-1145                                         280     10/28/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
FRANTZ, STEVEN D
RR 2 BOX 36
BEAVER, OK 73932                                                 693     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
FRAY, DARLENE A
442 COLLIS ST
BRENTWOOD, CA 94513-6371                                         1255     2/2/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
Frederick, John M
440 Private Road 5980
Yantis, TX 75497                                                 540     1/19/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
Frederick, John M
440 Private Road 5980
Yantis, TX 75497                                                 583     1/21/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Freeman, Theophilus
2149 Falcon Ridge Drive
Carrollton, TX 75010-4106                                        2456    3/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Friend, Kenneth D
1567 Crellin Mine Rd
Terra Alta, WV 26764-7507                                        1531     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Friend, Kenneth D
1567 Crellin Mine Rd
Terra Alta, WV 26764-7507                                        1700     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00




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                                                                                                       Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
FRITZ, DARLENE A
11560 AUBURN RD
CHARDON, OH 44024-9310                       1602     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
FRUHLING, DAVID H
9410 WORTHINGTON CT
COLLEGE STATION, TX 77845-4996               2315    2/17/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
FRUHLING, DAVID H
9410 WORTHINGTON CT
COLLEGE STATION, TX 77845-4996               2321    2/17/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
FRUHLING, DAVID H
9410 WORTHINGTON CT
COLLEGE STATION, TX 77845-4996               2322    2/17/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
FRUHLING, DAVID H
9410 WORTHINGTON CT
COLLEGE STATION, TX 77845-4996               2323    2/17/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
FRUHLING, DAVID H
9410 WORTHINGTON CT
COLLEGE STATION, TX 77845-4996               2330    2/17/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
Fudala, Edith S
309 Penn Craft Rd
East Millsboro, PA 15433                      50     9/22/2016          Gateway Coal Company                                      $0.00                       $0.00                                                                                                        $0.00
Fudala, Edward J
309 Penn Craft Rd
East Millsboro, PA 15433                      51     9/22/2016          Gateway Coal Company                                      $0.00                       $0.00                                                                                                        $0.00
FULCE, RODNEY W
8213 PROSPER DR
AMARILLO, TX 79119-7204                      1708     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
GADZINSKI, RONALD
240 WESTVIEW DR
AURORA, OH 44202-9265                        1414     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GALLOWAY, BRENDA K. BOMAR
1272 CROCKETT DRIVE
FRISCO, TX 75033                             2762    8/24/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Galloway, Robert Dean
1272 Crockett Dr.
Frisco, TX 75003                             2761    8/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Garbesi, Robert E. and Jean K.
Michelle E. Shriro
Singer & Levick, P.C.
16200 Addison Road, Suite 140
Addison, TX 75001                            159     10/27/2016       Maxus Energy Corporation                           $1,166,157.35                                                                                                                              $1,166,157.35
Garbesi, Robert E. and Jean K.
Michelle E. Shriro
Singer & Levick, P.C.
16200 Addison Road, Suite 140
Addison, TX 75001                            167     10/27/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GARCIA, ABEL M.
10106 SAGE ROYAL LN.
HOUSTON, TX 77089-4334                       1828     2/9/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
GARCIA, ABEL M.
10106 SAGE ROYAL LN.
HOUSTON, TX 77089-4334                       1833     2/9/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
GARCIA, ABEL M.
10106 SAGE ROYAL LN.
HOUSTON, TX 77089-4334                       1836    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GARCIA, RAUL A
14634 LEACREST DR.
HOUSTON, TX 77049-4218                       1293     2/2/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GARCIA, ROULEN
3602 HEDGE ROW ST
GRANBURY, TX 76048-3930                      1562     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GARDNER, NATHAN K
57355 CAMINO PACIFICA
LA QUINTA, CA 92253-7978                     1010    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Garey, David Albert
4206 Stoney View Dr.
Pasadena, TX 77505                           984     1/29/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00




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                                                                                                                             Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
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                                                                                                                                        Amount                                                                                     Amount                                                Claim Amount
Garey, David Albert
4206 Stoney View Dr.
Pasadena, TX 77505                                                 986     1/29/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Garey, David Albert
4206 Stoney View Dr.
Pasadena, TX 77505                                                 987     1/29/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Garey, David Albert
4206 Stoney View Dr.
Pasadena, TX 77505                                                 988     1/29/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Garey, David Albert
4206 Stoney View Dr.
Pasadena, TX 77505                                                 992     1/29/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Garfield Molding Company, Inc.
Stephen W. Miller, Esq.
Patrick J. McStravick, Esq.
Ricci Tyrrell Johnson & Grey
1515 Market Street, Suite 700
Philadelphia, PA 19102                                             141     10/27/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
Garfield Molding Company, Inc.
Stephen W. Miller, Esq.
Patrick J. McStravick, Esq.
Ricci Tyrrell Johnson & Grey
1515 Market Street, Suite 700
Philadelphia, PA 19102                                             147     10/27/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
Garmon, Jeanette K
5425 Timber Creek Circle
Pace, FL 32571                                                     1938    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Gary Kimbley, Individually and as Representative of the Estate
of Rollie Kimbley
SGPB
3232 McKinney Avenue, Suite 610
Dallas , TX 75204                                                  435     10/18/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GASS, RICHARD B
19 ARABIAN WAY
SOUTHAMPTON, PA 18966-5301                                         1859    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GATES, KENNETH W
3318 SILVERBROOK LN
PEARLAND, TX 77584-1812                                            1192    1/31/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
GATES, RENEE O
3318 SILVERBROOK LN
PEARLAND, TX 77584-1812                                            1145    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GATLIN, JANIS N
1917 REW AVE
DUNCANVILLE, TX 75137-4539                                         1539     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Gatlin-Stern, Janis Nikki
1917 Rew Ave
Duncanville, TX 75137                                              2756    8/15/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
GEASON, ROBERT
8422 KINGVIEW ST
SAINT JAMES, LA 70086-7526                                         1052    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Gedaly, Ray H
155 Towering Pines Dr.
The Woodlands, TX 77381-2598                                       1483     2/5/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
General Dynamics Corporation
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                                   220     10/31/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
General Dynamics Corporation
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                                   221     10/31/2016          Tierra Solutions, Inc.                                   $0.00                                                      $0.00                                                                         $0.00




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                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
General Dynamics Corporation
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                               305     10/31/2016 Maxus International Energy Company                                $0.00                                                                                                                                    $0.00
General Dynamics Corporation
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                               417     11/4/2016        Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
General Dynamics Corporation
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                               418     11/4/2016    Maxus International Energy Company                                                                                         $0.00                                                                         $0.00
General Dynamics Corporation
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                               419     11/4/2016           Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
Geosyntec Consultants, Inc.
Attn: Christopher Bennett, Esq.
1111 Broadway, Floor 6
Oakland, CA 94607                               18      9/1/2016           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Giancaspero, Waldemar Nedo
15 Indian Clover Dr.
The Woodlands, TX 77381                        2261    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GIBSON, CLYDE W
113 PIERCE STREET
KINGWOOD, WV 26537-1219                        1247     2/2/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GIBSON, MARION A
1831 MAYFIELD DR
CRESTWOOD, KY 40014                            1927    2/12/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Gibson-Lopez, Kyle
508 Chitalpa Street
Leander, TX 78641                              480     12/21/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GILBERT, JOHN
125 WANDA WAY 105
HURST, TX 76053-6942                           1889     2/9/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
GILES, FRANCIS
314 TIDE WATER LANE
MIDDLE RIVER, MD 21220                         1595     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GILES, FRANCIS
314 TIDE WATER LANE
MIDDLE RIVER, MD 21220                         2759    7/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
GILLENWATER, CHARLES
520 COLLINGS AVE APT B515
OAKLYN, NJ 08107-1632                          1046    1/30/2017        Maxus Energy Corporation                                    $0.00                       $0.00                          $0.00                                                                         $0.00
GILLENWATER, JERRY R
3729 WHITWORTH WAY
COLUMBUS, OH 43228-7003                        896     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GILLIS, GRETCHEN M
1119 BANKS ST
HOUSTON, TX 77006-6133                         955     1/30/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Gillis, Gretchen M
1119 Banks Street
Houston, TX 77006                              952     1/30/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
Gillis, Gretchen M
1119 Banks Street
Houston, TX 77006                              953     1/30/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Gillis, Gretchen M
1119 Banks Street
Houston, TX 77006                              954     1/30/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00




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                Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                   Amount                                                                                     Amount                                                Claim Amount
Gillis, Gretchen M.
1119 Banks Street
Houston, TX 77006                             963     1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Gillis, Gretchen M.
1119 Banks Street
Houston, TX 77006                             1680     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Gilsdorf, Thomas
555 Freeman Road Unit 268
Central Point, OR 97502                       755     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GINN, THOMAS T
213 YORKSHIRE CT
DEER PARK, TX 77536-8117                      2241    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GIRGIS, JOHN J
7427 NATIVE OAK LN
IRVING, TX 75063                              2220    2/14/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
GIRGIS, JOHN J
7427 NATIVE OAK LN
IRVING, TX 75063                              2223    2/14/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
GIRGIS, JOHN J
7427 NATIVE OAK LN
IRVING, TX 75063                              2245    2/14/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
GIRGIS, JOHN J
7427 NATIVE OAK LN
IRVING, TX 75063                              2257    2/14/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
GIRGIS, JOHN J
7427 NATIVE OAK LN
IRVING, TX 75063                              2262    2/14/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Givaudan Fragrances Corporation
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
1400
Newark, NJ 07102                              397     10/31/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Givaudan Fragrances Corporation
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
1400
Newark, NJ 07102                              2644     5/9/2017        Maxus Energy Corporation                           $1,243,777.24                                                                                                                     $0.00    $1,243,777.24
Givaudan Fragrances Corporation
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
1400
Newark, NJ 07102                              2653     5/9/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                    $0.00           $0.00
Givaudan Fragrances Corporation
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                              406     10/31/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GIVEN JR., RONDEL LINGER
PO BOX 14122
MYRTLE BEACH, SC 29587-4122                   1659     2/8/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
GIVEN JR., RONDEL LINGER
PO BOX 14122
MYRTLE BEACH, SC 29587-4122                   1670     2/8/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
GIVEN JR., RONDEL LINGER
PO BOX 14122
MYRTLE BEACH, SC 29587-4122                   1720     2/8/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
GIVEN JR., RONDEL LINGER
PO BOX 14122
MYRTLE BEACH, SC 29587-4122                   1721     2/8/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
GIVEN, RONDEL
PO BOX 14122
MYRTLE BEACH, SC 29587-4122                   1791     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Given, Rondel
PO Box 14122
Surfside Beach, SC 29587-4122                 1219     2/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00


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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
GODSHALL, WILLIAM H
14120 JESSE JAMES FARM RD
KEARNEY, MO 64060                            885     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Golden Marina Causeway LLC
Jeffrey K. Paulsen
FactorLaw
105 W. Madison
Suite 1500
Chicago, IL 60602                            281     10/28/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GOLDEN, JIMMIE L
702 DUVALL BLVD HI
LEWISVILLE, TX 75077-6950                    2108    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Gonzales, Eduardo
P.O. Box 112843
Carrollton, TX 75011-2843                    827     1/26/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
GONZALES, JUDY L.
1417 BAYOU RD
GRAPEVINE, TX 76051                          2676    7/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
GONZALES, KRISTINE K
5930 OAKMOSS TRL
SPRING, TX 77379-2503                        1409     2/6/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
GONZALES, KRISTINE K
5930 OAKMOSS TRL
SPRING, TX 77379-2503                        1412     2/6/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
GONZALES, KRISTINE K
5930 OAKMOSS TRL
SPRING, TX 77379-2503                        1484     2/6/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
Gonzales, Kristine K
5930 Oakmoss Trl
Spring, TX 77379-2503                        1586     2/6/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
GONZALES, KRISTINE K
5930 OAKMOSS TRL
SPRING, TX 77379-2503                        1622     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Good, Douglas S
2140 Nob Hill
Carrollton, TX 75006                         496     1/18/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Goodrich Corporation
Brian Freeman, Esq.
Robinson + Cole LLP
280 Trumbull Street
Hartford, CT 06103-3597                      271     10/28/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
Goodrich Corporation
Brian Freeman, Esq.
Robinson + Cole LLP
280 Trumbull Street
Hartford, CT 06103-3597                      272     10/28/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
GOODSON, JERRY L
68 COUNTY RD 2322
DAYTON, TX 77535-3656                        1909    2/10/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
GOODSON, JERRY L
68 COUNTY RD 2322
DAYTON, TX 77535-3656                        2000    2/10/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
GOODSON, JERRY L
68 COUNTY RD 2322
DAYTON, TX 77535-3656                        2002    2/10/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
GOODSON, JERRY L
68 COUNTY RD 2322
DAYTON, TX 77535-3656                        2004    2/10/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
GOODSON, JERRY L
68 COUNTY RD 2322
DAYTON, TX 77535-3656                        2011    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GOODSON, JERRY L
68 COUNTY RD 2322
DAYTON, TX 77535-3656                        2014    2/10/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Goodson, Jerry L
68 County Road 2322
Dayton, TX 77535-3656                        1982    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00




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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
GOOLSBY, GARY G
708 WYND
PASADENA, TX 77503                           2621     4/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GOOLSBY, GARY G
708 WYND
PASADENA, TX 77503                           2711     8/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Goolsby, Melinda G
408 Chisolm Trail
Hurst, TX 76054                              459     11/30/2016       Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
GOOLSBY, PAMALA F.
P.O. BOX 472
RIVERSIDE, TX 77367                          2166    2/13/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
GOOLSBY, PAMALA F.
P.O. BOX 472
RIVERSIDE, TX 77367                          2167    2/13/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
GOOLSBY, PAMALA F.
P.O. BOX 472
RIVERSIDE, TX 77367                          2175    2/13/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
GOOLSBY, PAMALA F.
P.O. BOX 472
RIVERSIDE, TX 77367                          2201    2/13/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
GOOLSBY, PAMALA F.
P.O. BOX 472
RIVERSIDE, TX 77367                          2203    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GOOLSBY, PAMALA F.
P.O. BOX 472
RIVERSIDE, TX 77367                          2707     8/4/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
GORDON, MARK B.
14218 AUTUMN MIST
CYPRESS, TX 77429-6372                       558     1/20/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
GORDON, PAULA M.
2741 WEST 37TH AVENUE
DENVER, CO 80211                             1724     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Gordon, Van Rudy
3211 Eastex Frwy
Houston, TX 77026                            1864     2/9/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
GOSTIN, HOWARD IRVING
330 SALTWINDS DRIVE
EASTHAM, MA 02642-1777                       1726     2/8/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
GRADEN, HAROLD R
3240 GULF OF MEXICO DR APT 507 B
LONGBOAT KEY, FL 34228-2849                  599     1/23/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
GRAHAM, LINDA T
1708 SACRAMENTO TERRACE
PLANO, TX 75075-6724                         1765     2/8/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
GRAMPA, JOHN DOMENICO
8205 EAGLE RIDGE DR
PAINESVILLE, OH 44077-9797                   1060    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
GRAY, DARLA
524 JENNIFER TR
GRAND PRAIRIE, TX 75052                      2634    4/24/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
GRAY, DAVID A
4615 AUGUSTA DR
PASADENA, TX 77505-5527                      2155    2/13/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
GRAY, DAVID A
4615 AUGUSTA DR
PASADENA, TX 77505-5527                      2160    2/13/2017        Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
GRAY, DAVID A
4615 AUGUSTA DR
PASADENA, TX 77505-5527                      2184    2/13/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
GRAY, DAVID A
4615 AUGUSTA DR
PASADENA, TX 77505-5527                      2192    2/13/2017           Tierra Solutions, Inc.                                   $0.00                                                      $0.00                                                                         $0.00
GRAY, DAVID A
4615 AUGUSTA DR
PASADENA, TX 77505-5527                      2205    2/13/2017    Maxus International Energy Company                              $0.00                                                      $0.00                                                                         $0.00
GRAYS, OSCAR C
PO BOX 534
DAYTON, TX 77535                             2140    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

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              Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
GREEN, JACKIE L
3023 ROB LN
NACOGDOCHES, TX 75961                       1642     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
GRIESMER, ROBERT A
7830 MOUNTAIN ASH DR
MENTOR, OH 44060-8102                       1860    2/10/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
GRIESMER, ROBERT A
7830 MOUNTAIN ASH DR
MENTOR, OH 44060-8102                       1987    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
GRIESMER, ROBERT A
7830 MOUNTAIN ASH DR
MENTOR, OH 44060-8102                       1990    2/10/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
GRIESMER, ROBERT A
7830 MOUNTAIN ASH DR
MENTOR, OH 44060-8102                       1993    2/10/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
GRIESMER, ROBERT A
7830 MOUNTAIN ASH DR
MENTOR, OH 44060-8102                       2001    2/10/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Griffith, Patricia C
7109 Shipp Road
Rowlett, TX 75088                           537     1/19/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GRIFFITHS, RICHARD R
PO BOX 153
ROOTSTOWN, OH 44272-0153                    1316     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GRIGGS, JAN M
7043 BENTLEY PL
PAINESVILLE, OH 44077-2212                  926     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GRIGSBY, LINDA L
2412 BUTTERCUP DR
RICHARDSON, TX 75082-2342                   2233    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Gritte, Raymond L
7702 Nocona Cir
Corpus Christi, TX 78413                    1472     2/4/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GROMADSKI, RAYMOND P
2188 TROUT AVE SW
SUPPLY, NC 28462-3993                       2161    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GROS, RICHARD O
25415 HIGHWAY 77
PLAQUEMINE, LA 70764-5432                   901     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GRZYBOWSKI, GAIL MARIE
8801 LAKESIDE DR
ROWLETT, TX 75088-5590                      1910    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
GUCKER, DORIS
167 COUNTY ROAD 199
GARY, TX 75643-3759                         2071    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Guenther, Gayla
4117 S Bonham
Amarillo, TX 79110                          741     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
GUNN, ROBERT WILKERSON
109 PLEASANT DR
BLACK MOUNTAIN, NC 28711-2622               1140    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Hach Excavating & Demolition
Forbes Law LLC
166 Main Street
Painesville, OH 44077                       317     10/31/2016       Maxus Energy Corporation                              $29,632.00                                                                                                                                $29,632.00
Hahn, Thomas Theodore
209 N 6th St.
Weatherford, OK 73096                       437     11/14/2016       Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Hahn, Thomas Theodore
PO Box 2
Camargo, OK 73835                           2770    9/18/2018        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
HAKANSON, CYNTHIA ANN
313 LOTUS ST
LAKE JACKSON, TX 77566-5613                 870     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HALLETT, CLIFFORD R
113 REYBOLD DR BOX 4114
DELAWARE CITY, DE 19706-8721                1655     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00




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                                                                                                                          Amount                                                                                     Amount                                                Claim Amount
Hamilton, Randall Joe
P.O. Box 44
Ratliff City, OK 73481                               2722     8/8/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                    $0.00           $0.00
HAMILTON, RANDY
PO BOX 44
RATLIFF CITY, OK 73481-0044                          1320     2/3/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
HAMILTON, RICHARD E
9535 PENWOOD WAY
GRANITE BAY, CA 95746                                663     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HAMPTON, LARRY W
P O BOX 1991
DUMAS, TX 79029-1991                                 848     1/26/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Hancock, John L
P.O. Box 410
Batson, TX 77519-0410                                796     1/25/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HANCOCK, JOHN L
PO BOX 410
BATSON, TX 77519-0410                                2387     3/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Hancock, John L.
PO Box 410
Batson, TX 77519                                     2531    3/29/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Handley, Debbie
7819 lLegend Ave.
Amarillo, TX 79121                                   450     11/29/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Hanna, Russell B
7104 Fulham
Amarillo, TX 79109                                   792     1/26/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Hansford County
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                               55     9/23/2016        Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
Hansford County
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                              2548    3/30/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
HANSON, ANNIE M
27380 COOK RD APT 110
OLMSTED TWP, OH 44138-3900                           1049    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
HARDAGE, GINGER C
4502 WILDWOOD RD
DALLAS, TX 75209-1926                                1926    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HARLEY, EMILY J
4061 STATE ROUTE 84
KINGSVILLE, OH 44048-9748                            1126    1/31/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
HARLEY, EMILY J
4061 STATE ROUTE 84
KINGSVILLE, OH 44048-9748                            1127    1/31/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
HARLEY, EMILY J
4061 STATE ROUTE 84
KINGSVILLE, OH 44048-9748                            1128    1/31/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
HARLEY, EMILY J
4061 STATE ROUTE 84
KINGSVILLE, OH 44048-9748                            1129    1/31/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
HARLEY, EMILY J
4061 STATE ROUTE 84
KINGSVILLE, OH 44048-9748                            1240    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Harlow, Dan R
The Resort at Paws Up
40060 Paws Up Road
Greenough, MT 59823                                  2013    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Harlow, Dan R
The Resort at Paws Up
40060 Paws Up Road
Greenough, MT 59823                                  2031    2/13/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Harlow, Dan R
The Resort at Paws Up
40060 Paws Up Road
Greenough, MT 59823                                  2057    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00



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                                                                                                        Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                   Amount                                                                                     Amount                                                Claim Amount
Harlow, Dan R
The Resort at Paws Up
40060 Paws Up Road
Greenough, MT 59823                           2079    2/13/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
Harlow, Dan R
The Resort at Paws Up
40060 Paws Up Road
Greenough, MT 59823                           2130    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
Harris Corporation
Natasha M. Songonuga, Esq.
Gibbons P.C.
300 Delaware Avenue, Suite 1015
Wilmington, DE 19801-1671                     233     10/31/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Harris Corporation
Natasha M. Songonuga, Esq.
Gibbons P.C.
300 Delaware Avenue, Suite 1015
Wilmington, DE 19801-1671                     307     10/31/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Harris Corporation
Natasha M. Songonuga, Esq.
Gibbons P.C.
300 Delaware Avenue, Suite 1015
Wilmington, DE 19801-1671                     2642    5/12/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Harris Corporation
Natasha M. Songonuga, Esq.
Gibbons P.C.
300 Delaware Avenue, Suite 1015
Wilmington, DE 19801-1671                     2643    5/12/2017        Maxus Energy Corporation                             $641,195.50                                                                                                                               $641,195.50
Harris County, ET AL
Linebarger Goggan Blair & Sampson, LLP
John P. Dillman
PO Box 3064
Houston, TX 77253-3064                         5       7/5/2016        Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
HARRIS, CHARLIE
29419 HIGHWAY 6
HEMPSTEAD, TX 77445-9023                      1142    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
HARRIS, RONALD W
9722 TANGLEWOOD DR
BAYTOWN, TX 77523-2577                        1565     2/7/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
HARRIS, RONALD W
9722 TANGLEWOOD DR
BAYTOWN, TX 77523-2577                        1568     2/7/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
HARRIS, RONALD W
9722 TANGLEWOOD DR
BAYTOWN, TX 77523-2577                        1692     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Harris, Ronald W
9722 Tanglewood Dr
Baytown, TX 77523-2577                        1699     2/7/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Harris, Ronald W.
9722 Tanglewood Dr
Baytown, TX 77523-2577                        1694     2/7/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
HARRIS, SHERMAN L
3702 BOSTIC ST
HOUSTON, TX 77093-8318                        2659    5/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HARRIS, TANYA Y
6617 STEWART BLVD
THE COLONY, TX 75056-4651                     1703     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HARSHMAN, RAYMOND BRENT
5743 Llano Ave
Dallas, TX 75206                              847     1/26/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
HARSHMAN, RAYMOND BRENT
5743 Llano Ave
Dallas, TX 75206                              850     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HARSHMAN, RAYMOND BRENT
5743 Llano Ave
Dallas, TX 75206                              852     1/26/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
HARSHMAN, RAYMOND BRENT
5743 Llano Ave
Dallas, TX 75206                              854     1/26/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00

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                                                                                                        Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                   Amount                                                                                     Amount                                                Claim Amount
HARSHMAN, RAYMOND BRENT
5743 Llano Ave
Dallas, TX 75206                              855     1/26/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
HART, STEVEN W
265 ALMA ST
TUSCUMBIA, AL 35674-9235                      2212    2/14/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
HASELEY, KENNETH ALAN
31019 WALDEN DR
WESTLAKE, OH 44145-6818                       1174    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HASKINS, CHARLES H
PO BOX 1342
DOUGLAS, WY 82633-1342                        1449     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Haskins, John N
361 Winslow Dr
Souderton, PA 18964-2193                      1638     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
HAVARD, LARRY PHILIP
4960 ANTHONY LN
PASADENA, TX 77505-5303                       680     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HAWKINS, LONNIE L
16407 QUAIL BRIAR DR
MISSOURI CITY, TX 77489-5709                  1398     2/6/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
HAWKINS, LONNIE L
16407 QUAIL BRIAR DR
MISSOURI CITY, TX 77489-5709                  1425     2/6/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
HAWKINS, LONNIE L
16407 QUAIL BRIAR DR
MISSOURI CITY, TX 77489-5709                  1432     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HAWKINS, LONNIE L
16407 QUAIL BRIAR DR
MISSOURI CITY, TX 77489-5709                  1468     2/6/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Hawkins, Lonnie L
16407 Quail Briar Dr
Missouri City, TX 77489-5709                  1515     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
HAYES, DANA K
5409 ELAINE DR
CHARLESTON, WV 25306                          1198    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HAYES, DANA K
5409 ELAINE DR
CHARLESTON, WV 25306                          2690    7/28/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
HAYES, RODNEY W
PO BOX 327
GLASGOW, WV 25086                             1451     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HAYES, RODNEY W
PO BOX 327
GLASGOW, WV 25086                             2698    7/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Haynes and Boone, LLP
Attn: Ian T. Peck, Partner
2323 Victory Avenue, Suite 700
Dallas, TX 75219                              109     10/21/2016       Maxus Energy Corporation                               $1,957.89                                                                                                                                  $1,957.89
HAZEN SR, WILLIAM D
37 CAWDOR LN
NEW CASTLE, DE 19720-2330                     1002    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HAZEN, JAMES L
256 LAPIDARY LN
YOUNG HARRIS, GA 30582-2072                   1069    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
HEINTSCHEL, BELINDA R
7322 COTTONWOOD
BAYTOWN, TX 77521                             2206    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HEINTSCHEL, BELINDA R
7322 COTTONWOOD
BAYTOWN, TX 77521                             2719     8/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
HEMPEN, VIRGINIA A
8012 NW 76TH TERRACE
KANSAS CITY, MO 64152-4425                    1015    1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Hemphill County
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                        56     9/23/2016        Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00


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                                                                                                               Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                  Creditor Name and Address        Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                          Amount                                                                                     Amount                                                Claim Amount
Hemphill County
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                              2550    3/30/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
HENDERSON, LARRY JACK
2412 PRIMROSE DR 2116
PASADENA, TX 77502-5744                              1329     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HENDRICKSON, JEAN M
630 E MAIN ST
MADISON, OH 44057-3208                               1597     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HENNESSEY, JANET S
5930 KEITH DR
MADISON, OH 44057-1864                               739     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HENSLEY, DENNIS R
PO BOX 368
BENNINGTON, KS 67422                                 694     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HERBERT, DIANE
8 BATEMAN WAY
HILLSBOROUGH, NJ 08844-8104                          2139    2/13/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
HERBERT, DIANE
8 BATEMAN WAY
HILLSBOROUGH, NJ 08844-8104                          2143    2/13/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
HERBERT, DIANE
8 BATEMAN WAY
HILLSBOROUGH, NJ 08844-8104                          2159    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Hercules LLC (f/k/a Hercules Incorporated)
William C. Heck, Esq.
Kelley Drye & Warren LLP
101 Park Avenue
New York, NY 10178                                   365     10/31/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Hercules LLC (f/k/a Hercules Incorporated)
William C. Heck, Esq.
Kelley Drye & Warren LLP
101 Park Avenue
New York, NY 10178                                   369     10/31/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Hercules LLC (f/k/a Hercules Incorporated)
William C. Heck, Esq.
Kelley Drye & Warren LLP
101 Park Avenue
New York, NY 10178                                   384     10/31/2016 Maxus International Energy Company                                $0.00                                                                                                                                    $0.00
HERNANDEZ, MANUEL J
2223 OUACHITA ROAD 2
STEPHENS, AR 71764-9298                              2085    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HEROLD, JOSEPH VINCENT
121 3RD PLACE
MANHATTAN BEACH, CA 90266                            607     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Herzog, Larry Wayne
1001 Piney Creek Rd
LaGrange, TX 78945                                   1643     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Hess Corporation
Joshua B. Frank
Baker Botts L.L.P.
1299 Pennsylvania Avenue, N.W.
Washington, DC 20004-2400                            154     10/27/2016          Tierra Solutions, Inc.                                   $0.00                                                      $0.00                                                                         $0.00
Hess Corporation
Joshua B. Frank
Baker Botts L.L.P.
1299 Pennsylvania Avenue, N.W.
Washington, DC 20004-2400                            156     10/27/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
Hexcel Corporation
Joshua Frank, Esq.
Baker Botts LLP
1299 Pennsylvania Ave., N.W.
Washington, DC 20004-2400                            274     10/28/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
Hexcel Corporation
Joshua Frank, Esq.
Baker Botts LLP
1299 Pennsylvania Ave., N.W.
Washington, DC 20004-2400                            284     10/28/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00

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                                                                                                      Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
              Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
HIEBERT, DAVID W.
3902 MOORES LANE
TEXARKANA, TX 75503                         2771    1/28/2019        Maxus Energy Corporation                                                                                                                                                        $70,000.00      $70,000.00
HILEMAN, MILTON
255 LAUREL RUN PISGAH RD
BRUCETON MILLS, WV 26525-5555               2144    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
HILL, DAVID B
158 RIVER OAKS DR
CEDAR CREEK, TX 78612                       1214     2/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Hill, Prince M.
7515 Long Canyon Trail
Dallas, TX 75249-1254                        52     9/27/2016        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HILTON, QUEEN S
1112 RIVERSIDE AVE APT 6G
TRENTON, NJ 08618                           2309    2/17/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HILTON, QUEEN S
1112 RIVERSIDE AVE APT 6G
TRENTON, NJ 08618                           2320    2/17/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
HIMES, DONALD A
PO BOX 415
SAINT JAMES, LA 70086-0415                  1857    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Hoffmann-La Roche Inc.
John H. Klock
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                            114     10/21/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
Hoffmann-La Roche Inc.
John H. Klock, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                            113     10/21/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
HOGENSON, BILL E
6432 WESTCHESTER AVE
HOUSTON, TX 77005                           1413     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HOGENSON, KATHLEEN ANN
6432 WESTCHESTER AVE
HOUSTON, TX 77005-3762                      1383     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HOLIAN, ROBERT R
18264 BRIGHTON GREEN
DALLAS, TX 75252                            895     1/27/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
HOLLAND, RUBY D
PO BOX 606083
CLEVELAND, OH 44106-0583                    1745     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HOLLIS, MARK P
PO BOX 477
WESTCLIFFE, CO 81252-0477                   2075    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HOLODNAK, J LARRY
2419 JEFFERSON EAGLEVILLE RD
JEFFERSON, OH 44047-9609                    2007    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
HOLT, SUSAN D
PO BOX 13 14000 CO RD G
BOOKER, TX 79005                            619     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Honeywell International Inc.
Tom Byrne
15 Tabor Road
Morris Plains, NJ 07950                     203     10/28/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
Honeywell International Inc.
Tom Byrne
15 Tabor Road
Morris Plains, NJ 07950                     287     10/28/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
HORN, LEROY
128 LEDET DR R5
THIBODAUX, LA 70301-6123                    2077    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Hornsby, Helen R
7013 Birkshire Dr
Amarillo, TX 79109-6495                     498     1/18/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00




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                                                                                                               Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                  Creditor Name and Address        Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                          Amount                                                                                     Amount                                                Claim Amount
Hotes, William J
5450 Whitley Park Terrace
Apt. 904
Bethesda, MD 20814                                    71     9/29/2016        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HOUGH, DANNY
60785 E 192 RD
FAIRLAND, OK 74343-3135                              440     11/17/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HOWARD, RAYMOND B
625 HOLLY RIDGE RD
HOLLY RIDGE, NC 28445-7579                           967     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Hudson, Billy C
3003 SW 28th Ave
Apt A
Amarillo, TX 79109                                    43     9/16/2016        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
Huff, Sharell
24799 Lake Shore Blvd
Apt 505
Euclid, OH 44123-1274                                1003    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Huff, Sharell A
24799 Lake Shore Blvd Apt 505
Euclid, OH 44123-1245                                2372    2/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HUGHES, BRENT TOD
1100 SIERRA DR
PAMPA, TX 79065-2630                                 891     1/27/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
HUGHES, JAMES F
8035 SHOSHONE TRL
TINLEY PARK, IL 60477-7838                           2098    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Hull, Robert A
10417 Coppedge Lane
Dallas, TX 75229                                     1493     2/6/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Hull, Robert A
10417 Coppedge Lane
Dallas, TX 75229                                     1522     2/6/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
HULL, ROBERT A
10417 COPPEDGE LANE
DALLAS, TX 75229                                     1588     2/6/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
Hull, Robert A
10417 Coppedge Lane
Dallas, TX 75229-5208                                1503     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Hull, Robert A
10417 Coppedge Lane
Dallas, TX 75229-5208                                1530     2/6/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
HUNTER, DICKIE
5905 GIVERNY
FLOWER MOUND, TX 75022-5593                          438     11/15/2016    Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
HURST, JIMMY DAVID
9018 E STATE HIGHWAY 75 S
HUNTSVILLE, TX 77340-2520                            716     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Hutchinson County
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                               57     9/23/2016        Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
Hutchinson County
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                              2547    3/30/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
HUTSENPILLER, CHARLES W
1207 BARRON RD
WALESKA, GA 30183-2371                               1389     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
HUXFORD, TERRY
PO BOX 885
ROOSEVELT, UT 84066-0885                             453     11/30/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Hyde, John Paul
7230 Wyoming Springs Dr. Room 222
Round Rock, TX 78681                                 119     10/25/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HYDRO ENVIRONMENTAL TECHNOLOGY
PO Box 60295
LAFAYETTE, LA 70596                                   92     10/17/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00



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                                                                                                       Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
               Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
Imthurn, Daniel A
2061 Saint Pierre Drive
Carrollton, TX 75006-4342                    595     1/23/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
IMTHURN, DANIEL A
2061 SAINT PIERRE DRIVE
CARROLLTON, TX 75006-4342                    596     1/23/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Imthurn, Daniel A
2061 Saint Pierre Drive
Carrollton, TX 75006-4342                    597     1/23/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
IMTHURN, DANIEL A
2061 SAINT PIERRE DRIVE
CARROLLTON, TX 75006-4342                    604     1/23/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
IMTHURN, DANIEL A
2061 SAINT PIERRE DRIVE
CARROLLTON, TX 75006-4342                    612     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
INGLE, ROBIN M
409 DANIEL LN
CEDAR HILL, TX 75104-1903                    1772     2/8/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
ISP Chemicals LLC
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                             398     10/31/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ISP Chemicals LLC
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                             403     10/31/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
ISP Chemicals LLC
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                             2646     5/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ISP Chemicals LLC
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                             2649     5/9/2017           Tierra Solutions, Inc.                            $242,988.87                                                                                                                               $242,988.87
JACK, DAVID L
1421 WATSON DR
DEER PARK, TX 77536                          1753     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Jackson, C W
302 Antelope Dr.
Crosby, TX 77532                             2635    4/26/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Jackson, C W
302 Antelope Dr.
Crosby, TX 77532                             2728    8/11/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Jackson, Elvenia
9919 Bayou Woods
Baytown, TX 77521                            1364     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Jackson, Elvenia
9919 Bayou Woods
Baytown, TX 77521                            1369     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Jackson, Elvenia
9919 Bayou Woods
Baytown, TX 77521                            1371     2/6/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Jackson, Elvenia
9919 Bayou Woods
Baytown, TX 77521                            1505     2/6/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Jackson, Elvenia
9919 Bayou Woods
Baytown, TX 77521                            1506     2/6/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Jackson, Elvenia
9919 Bayou Woods
Baytown, TX 77521                            1526     2/6/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Jackson, Elvenia
9919 Bayou Woods
Baytown, TX 77521                            1529     2/6/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00



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                Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                   Amount                                                                                     Amount                                                Claim Amount
Jackson, John Leslie ("J.L.")
MIchelle E. Shriro
Singer & Levick, P.C.
16200 Addison Road
Suite 140
Addison, TX 75001                             172     10/27/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Jackson, John Leslie ("J.L.")
Michelle E. Shriro
Singer & Levrick, P.C.
16200 Addison Road, Suite 140
Addison, TX 75001                             157     10/27/2016       Maxus Energy Corporation                           $2,128,144.48                                                                                                                              $2,128,144.48
JACKSON, LYNDA
5021 PINE STREET
SEABROOK, TX 77586                            1361     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
JACKSON, LYNDA
5021 PINE STREET
SEABROOK, TX 77586                            1362     2/6/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Jackson, Lynda
5021 Pine Street
Seabrook, TX 77586                            1374     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Jackson, Lynda
5021 Pine Street
Seabrook, TX 77586                            1388     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JACKSON, LYNDA
5021 PINE STREET
SEABROOK, TX 77586                            1391     2/6/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Jackson, Lynda
5021 Pine Street
Seabrook, TX 77586                            1395     2/6/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
JACKSON, PAMELA K
1601 DEER CREEK DR
DESOTO, TX 75115-3699                         950     1/29/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JACOBS, KEENAN L
5525 STONE CREEK DR
LA PORTE, TX 77571-2716                       2710     8/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JAFFERIES, JAMES T
752 ENRIGHT AVE
SANTA CLARA, CA 95050-5104                    1121    1/31/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
JAFFERIES, JAMES T
752 ENRIGHT AVE
SANTA CLARA, CA 95050-5104                    1162    1/31/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
JAFFERIES, JAMES T
752 ENRIGHT AVE
SANTA CLARA, CA 95050-5104                    1196    1/31/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
JAFFERIES, JAMES T
752 ENRIGHT AVE
SANTA CLARA, CA 95050-5104                    1197    1/31/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
JAFFERIES, JAMES T
752 ENRIGHT AVE
SANTA CLARA, CA 95050-5104                    1263    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JAMES, ROBERT E
2863 LONG SHADOW LN
ROCK HILL, SC 29732-9480                      985     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JAMISON, ANDREW J
PO BOX 23361
HOUSTON, TX 77228-3361                        2072    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JANNISE JR, JOSEPH M
301 CR 121
PO BOX 88
RAYWOOD, TX 77582-0088                        629     1/23/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Jarman, William C.
1007 Ridge Ave
Tuscumbia, AL 35674                           2706     8/4/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
JARMON, WILLIAM CURTIS
1007 RIDGE AVENUE
TUSCUMBIA, AL 35674-4534                      485     1/17/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JARUFE, CREUSA D
1424 ARAPAHO DR
CARROLLTON, TX 75010-3304                     1392     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00

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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
Jay, David
16215 SW 319th Place
Hillsboro, OR 97123                           64     10/4/2016           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Jay, David
Oceanographic Consultant
16215 SW 319th Place
Hillsboro, OR 97123                           65     10/4/2016           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Jay, David
Oceanographic Consultant
16215 SW 319th Place
Hillsboro, OR 97123                           90     10/16/2016       Maxus Energy Corporation                               $2,687.50                                                                                                                                  $2,687.50
Jay, David
Oceanographic Consultant
16215 SW 319th Place
Hillsboro, OR 97123                           91     10/17/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
JENKINS, CLINTON LEON
4426 WESCOTT DR
GRAND PRAIRIE, TX 75052                      2204    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JEW, JEAN H.
1300 GOLDFINCH CV.
CEDAR PARK, TX 78613                         2704     8/2/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
JOHNSON JR, TYREE
2001 Eastwood Drive
Unit 74
Vacaville, CA 95687                          2325    2/17/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
JOHNSON JR, TYREE
2001 Eastwood Drive
Unit 74
Vacaville, CA 95687                          2327    2/17/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
JOHNSON JR, TYREE
2001 Eastwood Drive
Unit 74
Vacaville, CA 95687                          2329    2/17/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JOHNSON JR, TYREE
2001 Eastwood Drive
Unit 74
Vacaville, CA 95687                          2331    2/17/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
JOHNSON, ARTIS
4294 RIVER OAKS DR
FLORISSANT, MO 63034-3009                    1541     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
JOHNSON, CARL DOUGLAS
Linda Johnson
9920 FM 524 RD 524
SWEENY, TX 77480-8230                        1063    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
JOHNSON, DALE KURT
1221 ARBOR DR
BARTLESVILLE, OK 74006-7821                  1042    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JOHNSON, JOAN M
9999 SPENCER HWY APT 1905
LA PORTE, TX 77571-4067                      1648     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Johnson, Jr., Tyree
2001 Eastwood Drive
Unit 74
Vacaville, CA 95687                          2332    2/17/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
JOHNSON, WILLIAM A
3304 CAMDEN DRIVE
FLOWER MOUND, TX 75028                       1942    2/10/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Johnson, William A
3304 Camden Drive
Flower Mound, TX 75028-2922                  1930    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
JOHNSTON, ROY D
510 JONES RD
HIGHLANDS, TX 77562-4218                     688     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Jones, Esther J
PO BOX 150144
Arlington, TX 76015                          2119    2/13/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
JONES, ESTHER J
PO BOX 150144
ARLINGTON, TX 76015                          2180    2/13/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00

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              Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
JONES, ESTHER J
PO BOX 150144
ARLINGTON, TX 76015                         2182    2/13/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Jones, Esther J
PO Box 150144
Arlington, TX 76015-6144                    1962    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JONES, JANICE L
113 SENTER VALLEY RD
IRVING, TX 75060-5366                       1319     2/3/2017        Maxus Energy Corporation                                    $0.00                       $0.00                          $0.00                                                                         $0.00
JONES, KIM P
601 SHERWOOD OAKS DR
HALLSVILLE, TX 75650                        1831     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JONES, MACK C.
7207 WILLIAMS RD
COVE, TX 77523                              2637     5/1/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                        1030    1/30/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                        1032    1/30/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                        1062    1/30/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                        1066    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                        1071    1/30/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                        2685    7/28/2017    Maxus International Energy Company                              $0.00                                                                                                                    $0.00           $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                        2686    7/28/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                    $0.00           $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                        2687    7/28/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                    $0.00           $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                        2688    7/28/2017          Gateway Coal Company                                      $0.00                                                                                                                    $0.00           $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                        2692    7/28/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Jones, Melissa Kondo
2504 Nighthawk Dr.
Plano, TX 75025                             1535     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JONES, RUDOLPH T
315 GOLF COURSE RD 6
MORGANTON, NC 28655-5206                    2633    4/21/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Jones, William Gary
913 W Main St
Houston, TX 77006-4920                      2443    3/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JOYCE, GREGORY
1523 CHERTSEY CIR
CHANNELVIEW, TX 77530-2030                  1486     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
JOYCE, MARILYN A
2923 IZABELLA CT
FRISCO, TX 75033-8031                       2045    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JOYCE, MARILYN A
2923 IZABELLA CT
FRISCO, TX 75033-8031                       2086    2/13/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
JOYCE, TIMOTHY J
1857 WINDY HILL DR
FRISCO, TX 75034-8097                       708     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Julstrom, Peter E
5656 Chickering Court
Bartlesville, OK 74006                      534     1/19/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

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               Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
JUNKINS, JANET A
29 RIDGEFIELD DR SE
SILVER CREEK, GA 30173                       902     1/26/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
JURCZYKOWSKI, DONNA M
36 DENNISON DR
GLENDALE HEIGHTS, IL 60139-1875              897     1/27/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
JURCZYKOWSKI, DONNA M
36 DENNISON DR
GLENDALE HEIGHTS, IL 60139-1875              1606     2/8/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
JURCZYKOWSKI, DONNA M
36 DENNISON DR
GLENDALE HEIGHTS, IL 60139-1875              1615     2/8/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
JURCZYKOWSKI, DONNA M
36 DENNISON DR
GLENDALE HEIGHTS, IL 60139-1875              1701     2/8/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
JURCZYKOWSKI, DONNA M
36 DENNISON DR
GLENDALE HEIGHTS, IL 60139-1875              1788     2/8/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Justus, George
217 Weeks Dr.
Camden, DE 19934                              25      9/9/2016        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Kabat Jr., Thaddeus L.
15 Main Street
Hatfield, MA 01038                           2678    7/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
KABAT, THADDEUS L
15 MAIN ST 472
HATFIELD, MA 01038-9702                      685     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KALBACH, MARTIN
166 BEECHWOOD AVE
LANGHORNE, PA 19047-7402                     829     1/26/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
KALBACH, MARTIN
166 BEECHWOOD AVE
LANGHORNE, PA 19047-7402                     830     1/26/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
KALBACH, MARTIN
166 BEECHWOOD AVE
LANGHORNE, PA 19047-7402                     837     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KALBACH, MARTIN
166 BEECHWOOD AVE
LANGHORNE, PA 19047-7402                     838     1/26/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
KALBACH, MARTIN
166 BEECHWOOD AVE
LANGHORNE, PA 19047-7402                     862     1/26/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Kalterman, Stewart
5005 Hidalgo St., Unit 209
Houston, TX 77056                            2265    2/15/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
KAMMERER, RICHARD J
1100 SOMERVILLE DR
OXFORD, MI 48371-5944                        2048    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KANE, ROBERT J
3957 STONE POINT DR NE
ROCHESTER, MN 55906-5461                     1796     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Kao USA Inc.
Graydon Head & Ritchey LLP
Richard T. La Jeunesse, Esq.
312 Walnut Street, Suite 1800
Cincinnati, OH 45202                         124     10/25/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
Kao USA Inc.
Graydon Head & Ritchey LLP
Richard T. La Jeunesse, Esq.
312 Walnut Street. Suite 1800
Cincinnati, OH 45202                         125     10/25/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
KAPPA, DANIEL E
1820 32ND AVE
VERO BEACH, FL 32960-2572                    631     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KAPPA, DANIEL E
1820 32ND AVE
VERO BEACH, FL 32960-2572                    636     1/23/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00




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                 Creditor Name and Address               Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                Amount                                                                                     Amount                                                Claim Amount
KAPPA, DANIEL E
1820 32ND AVE
VERO BEACH, FL 32960-2572                                  637     1/23/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
KAPPA, DANIEL E
1820 32ND AVE
VERO BEACH, FL 32960-2572                                  639     1/23/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
KAPPA, DANIEL E
1820 32ND AVE
VERO BEACH, FL 32960-2572                                  640     1/23/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
KARRENBROCK, ANTHONY H
18219 NE 79TH STREET
LIBERTY, MO 64068-7200                                     888     1/27/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
KATONA, ROBERT R.
65 MENTOR AVE.
PAINESVILLE, OH 44077                                      1920    2/11/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Kauk, Monty R
PO BOX 352
LEEDEY, OK 73654                                           808     1/26/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
KEAN, ALLAN E
9315 SHADY LANE CIR
HOUSTON, TX 77063                                          2248    2/14/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
Kearny Peninsula Sites Environmental Remediation Trust
c/o de maximis, inc.
450 Montbrook Lane
Knoxville, TN 37919                                        332     10/31/2016       Maxus Energy Corporation                             $243,622.71                        $0.00                                                                                                  $243,622.71
Kearny Peninsula Sites Environmental Remediation Trust
c/o de maximis, inc.
450 Montbrook Lane
Knoxville, TN 37919                                        227     10/31/2016       Maxus Energy Corporation                                                                                               $0.00                                                         $0.00           $0.00
Kearny Peninsula Sites Environmental Remediation Trust
c/o de maximis, inc.
450 Montbrook Lane
Knoxville, TN 37919                                        247     10/31/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                         $0.00           $0.00
Kearny Peninsula Sites Environmental Remediation Trust
c/o De Maximis, Inc.
450 Montbrook Lane
Knoxville, TN 37919                                        331     10/31/2016 Maxus International Energy Company                                                                                           $0.00                                                         $0.00           $0.00
Keeling, Irene
3921 Ashburton Way
Flower Mound, TX 75022-5174                                2354    2/22/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KEENER, MICHAEL W
11610 SAGEWILLOW LANE
HOUSTON, TX 77089                                          976     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Keener, Thelma
97 Narrows Road
Painesville, OH 44077-4910                                 1974     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KEGLEY, DAVID B
126 WOOLENS RD
ELKTON, MD 21921-1821                                      1542     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Kehl, Monty
1692 Ridge Road
Iowa City, IA 52245                                        1804     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KELM, DONALD L
PO BOX 2009
PORT ANGELES, WA 98362-0270                                2054    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KENNEDY, JOHN WALKER
3430 W T BENCH BAR WAY
MARANA, AZ 85658-4799                                      731     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KENNEDY, STEVEN F
1816 LAKESIDE LANE
FRIENDSWOOD, TX 77546                                      1629     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
KENSELL, DEBORAH S
7710 WILLIAMS AVE
FRISCO, TX 75033-3531                                      1746     2/9/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
KENSELL, DEBORAH S
7710 WILLIAMS AVE
FRISCO, TX 75033-3531                                      1748     2/9/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00




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                                                                                                        Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                Creditor Name and Address   Claim No. Claim Date                Debtor                                                  Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                   Amount                                                                                     Amount                                                Claim Amount
KENSELL, DEBORAH S
7710 WILLIAMS AVE
FRISCO, TX 75033-3531                         1749     2/9/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
KENSELL, DEBORAH S
7710 WILLIAMS AVE
FRISCO, TX 75033-3531                         1773     2/9/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
KENSELL, DEBORAH S
7710 WILLIAMS AVE
FRISCO, TX 75033-3531                         1903     2/9/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Kentucky Energy and Environment Cabinet
Daniel Cleveland, Esq.
Office of General Counsel
300 Sower Blvd, 3rd Floor
Frankfort, KY 40601                           478     12/15/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KENYON, ROBERT G
66 ELIZABETH RD
GENEVA, OH 44041-9144                         1344     2/5/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KERNS, JOHN L
897 STATION CAMP RD
LE ROY, WV 25252-7129                         2186    2/13/2017        Maxus Energy Corporation                                    $0.00                       $0.00                          $0.00                                                                         $0.00
KESSLER, JOAN L
518 SEVENTH STREET
FAIRPORT HARBOR, OH 44077                     2260    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KILGORE, RICHARD
5311 WHISPERING OAKS DR
DALLAS, TX 75236-1743                         566     1/21/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KILLEEN, JAMES C
4170 BATES RD
MADISON, OH 44057-9548                        753     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KILLION, ROBERT N
3 S. BUCK RIDGE
WOODLANDS, TX 77381                           1805     2/9/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Killion, Robert N.
3 S. Buck Ridge
Woodlands, TX 77381                           1803     2/9/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Killion, Robert N.
3 S. Buck Ridge
Woodlands, TX 77381                           1814     2/9/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
KING, HAROLD
4950 WINDING TIMBERS CIRCLE
HUMBLE, TX 77346                              1689     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
King, Harold
4950 Winding Timbers Circle
Humble, TX 77346                              2498    3/22/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
KING, HAROLD
4950 WINDING TIMBERS CIRCLE
HUMBLE, TX 77346                              2744    8/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
KING, JOSEPH B
7332 SHADOWBROOK DR
WILLOUGHBY, OH 44094-9738                     2106    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
KING, KRISTINA
7332 SHADOWBROOK DR
WILLOUGHBY, OH 44094-9738                     2104    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
KIRBY, WILLIAM R
2206 MCCLELLANDTOWN RD
MASONTOWN, PA 15461                           1035    1/30/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
KIRK, MARSHA KAY
2714 COMANCHE ST
AMARILLO, TX 79109-4716                       1209    1/31/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
KIRKPATRICK, KENT C
2217 CHIPPEWA HLS
GUNTER, TX 75058-4221                         1816     2/9/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
KIRKPATRICK, KENT C
2217 CHIPPEWA HLS
GUNTER, TX 75058-4221                         1825     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KLIMKOWICZ, DONALD G
2817 TOWNLINE RD
MADISON, OH 44057-2348                        1327     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00


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                                                                                                                   Amount                                                                                     Amount                                                Claim Amount
KLIMKOWICZ, DONALD G
2817 TOWNLINE RD
MADISON, OH 44057-2348                        1341     2/3/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
KLIMKOWICZ, DONALD G
2817 TOWNLINE RD
MADISON, OH 44057-2348                        1349     2/3/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
KLIMKOWICZ, DONALD G
2817 TOWNLINE RD
MADISON, OH 44057-2348                        1358     2/3/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
KLIMKOWICZ, DONALD G
2817 TOWNLINE RD
MADISON, OH 44057-2348                        1427     2/3/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Kline Jr, Donald L
386 Sandy Creek Dr
Sunnyvale, TX 75182-3255                      1907    2/11/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KLINE JR, DONALD L
386 SANDY CREEK DR
SUNNYVALE, TX 75182-3255                      1914    2/11/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
KLINE JR, DONALD L
386 SANDY CREEK DR
SUNNYVALE, TX 75182-3255                      1924    2/11/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
KLINGERMAN, LINDA R
20229 COUNTRY CLUB DR
ESTERO, FL 33928                              2368    2/28/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
KLONSKY, ETHEL
821 RED ROAD APT 1B
TEANECK, NJ 07666-4456                        869     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KNEBUSCH, WILLIAM ELLIOT
1732 STERLING TRACE DR
KELLER, TX 76248-8746                         2216    2/14/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
KNEBUSCH, WILLIAM ELLIOT
1732 STERLING TRACE DR
KELLER, TX 76248-8746                         2236    2/14/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
KNEBUSCH, WILLIAM ELLIOT
1732 STERLING TRACE DR
KELLER, TX 76248-8746                         2263    2/14/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
KNOX, JOSEPH M
1640 W 8TH ST
ASHTABULA, OH 44004-2848                      2173    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Knox, Michael
PO 135
Roma York, TX 77368                           1608     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KNOX, MICHAEL
PO BOX 135
ROMAYOR, TX 77368-0135                        1574     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Koczan, David A
1004 W 97th Terrace
Kansas City, MO 64114-3800                    517     1/18/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Koczan, David A
1004 W 97th Terrace
Kansas City, MO 64114-3800                    518     1/18/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Koczan, David A
1004 W 97th Terrace
Kansas City, MO 64114-3800                    519     1/18/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Koczan, David A
1004 W 97th Terrace
Kansas City, MO 64114-3800                    520     1/18/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Koczan, David A
1004 W 97th Terrace
Kansas City, MO 64114-3800                    521     1/18/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
KOGOY, JOAN E
7247 FOX MILL RD UNIT D
MENTOR, OH 44060-6355                         1880    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
KOHLER, TERRY JAY
116 COUNTY ROAD 1230 F
FAIRFIELD, TX 75840-5262                      661     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Kong, Fanchen
186 E Lansdowne Cir
Spring, TX 77382-2727                         811     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

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                                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
KOPPELMAN, JOHN C
26521 N 115TH ST
SCOTTSDALE, AZ 85255                                        576     1/21/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Kortlang, Jr., William F
1168 Hill Myna Ln
Spring Branch, TX 78070                                     647     1/21/2017        Maxus Energy Corporation                              $46,969.37                                                                                                                                $46,969.37
Kos, Joseph
551 Ridge Road
Brownsville, PA 15417                                       441     11/18/2016         Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
KOTLINSKI, GREGORY W
24768 WILDWOOD DRIVE
WESTLAKE, OH 44145                                          515     1/19/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KOWENSKI, IRWIN
8826 PRICHETT DR
HOUSTON, TX 77096                                           1345     2/4/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KOZLOSKY, NANCY
1900 CHERRY ST
PANAMA CITY, FL 32401-4022                                  1394     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KRAUTH, GREGORY A
274 TRENTON LAKEWOOD RD
CREAM RIDGE, NJ 08514-2115                                  1802     2/8/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00

KRIVACEK, KATHRYN JO AS SURVIVOR TO CHARLES J. KRIVACEK
1120 REDDINGTON DR.
AURORA, IL 60502-9474                                       1905    2/10/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00

KRIVACEK, KATHRYN JO AS SURVIVOR TO CHARLES J. KRIVACEK
1120 REDDINGTON DR.
AURORA, IL 60502-9474                                       1944    2/10/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00

KRIVACEK, KATHRYN JO AS SURVIVOR TO CHARLES J. KRIVACEK
1120 REDDINGTON DR.
AURORA, IL 60502-9474                                       1955    2/10/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00

KRIVACEK, KATHRYN JO AS SURVIVOR TO CHARLES J. KRIVACEK
1120 REDDINGTON DR.
AURORA, IL 60502-9474                                       1983    2/10/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00

KRIVACEK, KATHRYN JO AS SURVIVOR TO CHARLES J. KRIVACEK
1120 REDDINGTON DR.
AURORA, IL 60502-9474                                       1985    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
KRUTYHOLOWA, KATHY A
11560 AUBURN RD
CHARDON, OH 44024                                           1600     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KUCHES, THOMAS J
27490 BELMONT BLVD
MILLSBORO, DE 19966                                         2431    3/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
KUHN, BILLY C
3440 CLARK RD
PERRY, OH 44081-9537                                        1928    2/12/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KUMIN, JANE S
2873 GREEN ST
SAN FRANCISCO, CA 94123                                     845     1/26/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
KUNZE, DALE R
8132 TREE LAKE BLVD
POWELL, OH 43065-6920                                       864     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LABOVITZ, MARK
4850 N BONITA RIDGE AVE
TUCSON, AZ 85750-6255                                       711     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LABRY, LUCILLE
5930 LAKE RD W UNIT 703
ASHTABULA, OH 44004-8523                                    1381     2/2/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
LaFortune, Robert (deceased) and Deborah (beneficiary)
6580 S. Ridge Rd. West
Geneva, OH 44041                                            462     12/2/2016        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LAKE, CADY LORI
3412 ELGENWOOD TRL
ARLINGTON, TX 76015-3221                                    923     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00



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                                                                                                       Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
               Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
Lakeview Bluffs, LLC
Todd S. Davis, Esq.
3 Hemisphere Way
Bedford, OH 44146                            104     10/20/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
LAMBERT, MARK T
3391 S ANGELLE ST
PAULINA, LA 70763-2229                       1596     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Lambrecht, Glenn M
203 Caldwell St
Baytown, TX 77520-1211                       1480     2/5/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
LAMPE, N SCOTT
212 109TH AVE SE
BELLEVUE, WA 98004                           553     1/20/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
LAMPERT, ANDREW ALEXANDER
1484 MOUNTAIN RESERVE DR NW
KENNESAW, GA 30152-4844                      683     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LANDRY, GEORGE D
1485 GRAYSTONE DR
AURORA, IL 60502-1329                        679     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
LANDRY, GEORGE D
1485 GRAYSTONE DR
AURORA, IL 60502-1329                        1613     2/8/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
LANDRY, GEORGE D
1485 GRAYSTONE DR
AURORA, IL 60502-1329                        1616     2/8/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
LANDRY, GEORGE D
1485 GRAYSTONE DR
AURORA, IL 60502-1329                        1651     2/8/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
LANDRY, GEORGE D
1485 GRAYSTONE DR
AURORA, IL 60502-1329                        1673     2/8/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
LANDRY, LARRY P
65087 E ROCKY MESA DR
TUCSON, AZ 85739-1694                        584     1/21/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LANDRY, MICHAEL PAUL
14196 ADAM ARCENEAUX DR
GONZALES, LA 70737-6992                      1591     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LANDRY, MICHAEL PAUL
14196 ADAM ARCENEAUX DR
GONZALES, LA 70737-6992                      1874    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Lapkowicz, Joseph M.
189 Johnson Hill Rd
Carmichaels, PA 15320                        557     1/20/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Lapkowicz, Joseph M.
189 Johnson Hill Rd
Carmichaels, PA 15320                        573     1/20/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Larry Jr., John
c/o Addie Wiseman
2251 S. Springfield
Chicago, IL 60623                            2716     8/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Larry, John
c/o Latonya McIntyre
2251 S. Springfield
Chicago, IL 60623                            1739     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LARSON, JANET A
286 MARINERS WAY
SHEFFIELD LAKE, OH 44054-1069                1012    1/30/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
LARSON, JANET A
286 MARINERS WAY
SHEFFIELD LAKE, OH 44054-1069                1039    1/30/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
LARSON, JANET A
286 MARINERS WAY
SHEFFIELD LAKE, OH 44054-1069                1040    1/30/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
LARSON, JANET A
286 MARINERS WAY
SHEFFIELD LAKE, OH 44054-1069                1065    1/30/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
LARSON, JANET A
286 MARINERS WAY
SHEFFIELD LAKE, OH 44054-1069                1072    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00

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                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
Larson, Katherine D'Ann
6305 Hinsdale Drive
Amarillo, TX 79109                          451     11/29/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LAUBACHER, DAVID L
2803 SPENCER CT
HOUSTON, TX 77089-7066                      673     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LAURIE, LANCE L
PO BOX 191
BOOKER, TX 79005-0191                       516     1/19/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Laurie, Lance L
PO Box 191
Booker, TX 79005-0191                       536     1/19/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LAYCOCK, CAROL A.
2658 EQUESTRIAN AVE.
SPRINGDALE, AR 72762                        1862    2/10/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
LAYCOCK, CAROL A.
2658 EQUESTRIAN AVE.
SPRINGDALE, AR 72762                        1865    2/10/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
LAYCOCK, CAROL A.
2658 EQUESTRIAN AVE.
SPRINGDALE, AR 72762                        1891    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LAYCOCK, CAROL A.
2658 EQUESTRIAN AVE.
SPRINGDALE, AR 72762                        1956    2/10/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Laycock, Carol A.
2658 Equestrian Ave.
Springdale, AR 72762                        1991    2/10/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
LEAIR, WILLIAM
5308 REDFORD DR
BRUNSWICK, OH 44212-6469                    914     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Leathem, Theodore M
132 Ashford Road
Cherry Hill, NJ 08003                       1873    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Leathem, Theodore M
132 Ashford Road
Cherry Hill, NJ 08003                       1896    2/10/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Leathem, Theodore M
132 Ashford Road
Cherry Hill, NJ 08003                       2019    2/11/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Leathem, Theodore M.
132 Ashford Road
Cherry Hill, NJ 08003                       1884    2/10/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Leathem, Theodore M.
132 Ashford Road
Cherry Hill, NJ 08003                       1923    2/11/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Leavins, Jake
1083 FM 834 W
Liberty, TX 77575                           2533    3/29/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Leavins, Jake E.
1083 FM 834 West
Liberty, TX 77575                           1359     2/4/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LEDGEWOOD, ALAN
185 PATSY DRIVE
FLORENCE, AL 35633-1429                     1218     2/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LEDYARD, DEBORAH
1524 E 221ST STREET
EUCLID, OH 44117                            675     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Lee, Jean E
1671 Stone Pine Lane
Menlo Park, CA 94027                        2401     3/6/2017        Maxus Energy Corporation                             $524,000.00                                                                                                                     $0.00     $524,000.00
LEE, TERRY W
1002 AVE P
SUNRAY, TX 79086                            1151    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LEE, TERRY W
PO BOX 581
SUNRAY, TX 79086-0581                       1147    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00




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                                                                                                              Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address                  Claim No. Claim Date            Debtor                                            Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                         Amount                                                                                     Amount                                                Claim Amount
Leemilt's Petroleum, Inc. (Successor to Power Test of New
Jersey, Inc.)
c/o Nicole R. Moshang, Esq.
Manko, Gold, Katcher & Fox, LLP
401 City Ave., Suite 901
Bala Cywnyd, PA 19004                                         313     10/31/2016   Maxus Energy Corporation                              $0.00                                                      $0.00                                                                         $0.00
Leemilt's Petroleum, Inc. (Successor to Power Test of New
Jersey, Inc.)
Leemilt's Petroleum, Inc.
c/o Nicole R. Moshang, Esquire
Manko, Gold, Katcher & Fox, LLP
401 City Avenue, Suite 901
Bala Cynwyd, PA 19004                                         348     10/31/2016     Tierra Solutions, Inc.                                                                                         $0.00                                                                         $0.00
LEFEBVRE, DIANE L
3035 MARSH CROSSING DR
LAUREL, MD 20724-2952                                         766     1/24/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
Legacy Vulcan Corp.
Tracey Taylor
1200 Urban Center Drive
Birmingham, AL 35242                                          290     10/31/2016     Tierra Solutions, Inc.                                                                                         $0.00                                                                         $0.00
Legacy Vulcan Corp.
Tracey Taylor
1200 Urban Center Drive
Birmingham, AL 35242                                          366     10/31/2016   Maxus Energy Corporation                              $0.00                                                      $0.00                                                                         $0.00
Legal Cost Control, Inc.
255 Kings Highway East
Haddonfield, NJ 08033                                         308     10/31/2016   Maxus Energy Corporation                        $51,173.44                                                                                                                                $51,173.44
Legal Cost Control, Inc.
255 Kings Highway East
Haddonfield, NJ 08033                                         325     10/31/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
LELONG, ALEXANDER
2208 LOPEZ DR
ANTIOCH, CA 94509-4512                                        797     1/25/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
LEONE, BARRY A
2955 EPPINGTON SOUTH DR
FORT MILL, SC 29708-6949                                      1323     2/3/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Lester, Marshall V
76 Welsh Tract Rd.
Unit 305
Newark, DE 19713                                               70     9/23/2016    Maxus Energy Corporation                              $0.00                       $0.00                                                                                                        $0.00
LEVET, KENNETH J
2191 N BANK LANE
VACHERIE, LA 70090                                            2170    2/13/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
Lewczyk, Daniel Stanley
1924 Denver Dr.
Baton Rouge, LA 70810                                         783     1/25/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
Lewis, David
1859 County Road 1350
Chickasha, OK 73018-8023                                      452     11/30/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Lewis, David
1859 County Road 1350
Chickasha, OK 73018-8023                                      456     11/30/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
LEWIS, DAVID D
1859 COUNTY ROAD 1350
CHICKASHA, OK 73018-8023                                      1555     2/7/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
LEWIS, JAMES ALAN
5119 NC HIGHWAY 210 E 210
HARRELLS, NC 28444-7886                                       978     1/30/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
LEWIS, KATHY R
2006 TEXAS
PERRYTON, TX 79070                                            2207    2/14/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
Lewis, Mary Lynn
59 West Shore Rd
Belvedere, CA 94920                                            98     10/19/2016   Maxus Energy Corporation                        $24,799.48                        $0.00                                                                                                   $24,799.48
Lewis, Timothy W
454 Governors Rd SE
Winnabow, NC 28479                                            1471     2/4/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00




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                  Creditor Name and Address        Claim No. Claim Date            Debtor                                            Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                Amount                                                                                     Amount                                                Claim Amount
LIBBY, MARY
361 PHILLIPS DR.
COPPELL, TX 75019                                    2726     8/9/2017    Maxus Energy Corporation                              $0.00                                                                                                                    $0.00           $0.00
Liberty Insurance Underwriters, Inc.
55 Water Street, 23rd Floor
New York, NY 10041                                    83     10/12/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Licata, John A
6200 Brook Shadow Drive
Greensboro, NC 27410                                 513     1/19/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
LIGHTSEY, DARRELL G
28703 S FIRETHORNE RD
KATY, TX 77494-5919                                  1321     2/3/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
LIMMER, JOHNNY RAY
710 WYND AVE 73869
PASADENA, TX 77503-2028                              2044    2/13/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
LINCOSKI, DANIEL
184 WOODLAND RD
DAISYTOWN, PA 15427                                  1767     2/8/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
LINCOSKI, DANIEL
184 WOODLAND RD
DAISYTOWN, PA 15427                                  1768     2/8/2017     Gateway Coal Company                                 $0.00                                                                                                                                    $0.00
Linde, North America, Inc.
James Stewart, Esq.
Lowenstein Sandler LLP
65 Livingston Avenue
Roseland, NJ 07068                                   250     10/28/2016     Tierra Solutions, Inc.                                                                                         $0.00                                                                         $0.00
Linde, North America, Inc.
James Stewart, Esq.
Lowenstein Sandler LLP
65 Livingston Avenue
Roseland, NJ 07068                                   259     10/28/2016   Maxus Energy Corporation                              $0.00                                                      $0.00                                                                         $0.00
LINEHAN, THOMAS M
18 STRAWBERRY CANYON PL
SPRING, TX 77382-2025                                650     1/23/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
LINKINS, SUE ELLEN
18702 SCENTED CANDLE WAY
SPRING, TX 77388-5543                                593     1/23/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
Lipscomb County
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                               58     9/23/2016    Maxus Energy Corporation                                                          $0.00                          $0.00                                                                         $0.00
Lipscomb County
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                              2544    3/30/2017    Maxus Energy Corporation                                                                                                                                                       $0.00           $0.00
Liquidating Reichhold, Inc.
Attn: Mark Indelicato & Joseph Orbach
Hahn & Hessen LLP
488 Madison Avenue
New York, NY 10022                                   204     10/28/2016     Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
Liquidating Reichold, Inc.
Hahn & Hessen, LLP
Attn: Mark Indelicato & Joseph Orbach
488 Madison Avenue
New York, NY 10022                                   160     10/28/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
LITTLE, GARY W
983 COUNTY ROAD 650
DAYTON, TX 77535-7619                                2118    2/13/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
LOCKWOOD, CAROL A
4301 RIDGE POLE LN
SPICEWOOD, TX 78669-6544                             1130    1/31/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
LOCKWOOD, HENRY C.
1555 W. DEBERRY AVE.
ARANSAS PASS, TX 78336                               1754     2/8/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
LOCKWOOD, HENRY C.
1555 W. DEBERRY AVE.
ARANSAS PASS, TX 78336                               2713     8/7/2017    Maxus Energy Corporation                              $0.00                                                                                                                    $0.00           $0.00




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                 Creditor Name and Address                 Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
Loftin, Michael W.
3815 Fordham Park Ct.
Houston, TX 77058-1209                                       1377     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Loftis, Herbert Ray
915 Radnor Rd.
Wilmington, NC 28409                                         2758    8/15/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
LOHR, SHIRLEY A
867 SKINNER AVE
PAINESVILLE, OH 44077-4252                                   2346    2/21/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LONTZ, CARL
492 SORRENTO RD
KISSIMMEE, FL 34759-4063                                     1356     2/3/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
LONTZ, CARL
492 SORRENTO RD
KISSIMMEE, FL 34759-4063                                     1360     2/3/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
LONTZ, CARL
492 SORRENTO RD
KISSIMMEE, FL 34759-4063                                     1365     2/3/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
LONTZ, CARL
492 SORRENTO RD
KISSIMMEE, FL 34759-4063                                     1367     2/3/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
LONTZ, CARL
492 SORRENTO RD
KISSIMMEE, FL 34759-4063                                     1368     2/3/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
LOUGHRY, ELEANOR
1114 PHYLLIS ST
DEER PARK, TX 77536-3624                                     1578     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
LOUQUE, JODY P
3255 LA 642
PAULINA, LA 70763-2406                                       1815     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LOUQUE, STEPHEN G
3405 S ANGELIE STREET
PAULINA, LA 70703                                            2185    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LOVETT, WAYNE T
3301 LA FAYETTE LN
AMARILLO, TX 79118                                           2149    2/13/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
LOVETT, WAYNE T
3301 LA FAYETTE LN
AMARILLO, TX 79118                                           2193    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Lower Passaic River Study Area Cooperating Parties Group
c/o William H. Hyatt Jr., Esq.
K&L Gates LLP
One Newark Center
10th Floor
Newark, NJ 07102                                             2617    4/17/2017        Maxus Energy Corporation                          $14,365,320.14                                                       $0.00                                                                 $14,365,320.14
Lower Passaic River Study Area Cooperating Parties Group
c/o William H. Hyatt, Jr., Esq.
K&L Gates LLP
One Newark Center
10th Floor
Newark, NJ 07102                                             2629    4/17/2017           Tierra Solutions, Inc.                                   $0.00                                                      $0.00                                                                         $0.00
Lower Passaic River Study Area Cooperating Parties Group
LPRSA Cooperating Parties Group
c/o William H. Hyatt, Jr., Esq.
K&L Gates LLP
One Newark Center 10th Floor
Newark, NJ 07102                                             134     10/26/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
Lower Passaic River Study Area Cooperating Parties Group
LPRSA Cooperating Parties Group
c/o William H. Hyatt, Jr., Esq.
K&L Gates LLP
One Newark Center 10th Floor
Newark, NJ 07102                                             135     10/26/2016          Tierra Solutions, Inc.                                   $0.00                                                      $0.00                                                                         $0.00
Lozier, John G
5603 Lobello Dr.
Dallas, TX 75229                                             1507     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Ludwig, Douglass E
489 Bauer RD
Bath, PA 18014                                               1363     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

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                  Creditor Name and Address   Claim No. Claim Date                Debtor                                                Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                   Amount                                                                                     Amount                                                Claim Amount
Lundin, Francis Walter
13080 Bayou Terrace Dr
Saint Amant, LA 70774                           1997    2/10/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
LUTHER, GARY HANSEL
17550 BOBBYE LN
CANYON, TX 79015-8033                           1428     2/6/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
LYLE, PAUL G
305 OLD STATE RD
TOWNSEND, DE 19734-9027                         1332     2/3/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
LYLES, JAMES N
18000 PRINE ROAD
CITRONELLE, AL 36522                            1633     2/7/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
LYLES, JAMES N
18000 PRINE ROAD
CITRONELLE, AL 36522                            2693    7/31/2017       Maxus Energy Corporation                                   $0.00                                                                                                                    $0.00           $0.00
MacAfee, Douglas R.
4308 Roseland St
Houston, TX 77006                               1252     2/2/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
MADDOX, JOSEPH A
32839 FOXRUN DR
WALKER, LA 70785-5749                           2117    2/13/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Magna Legal Services
Attn: Barbara Previ, Esq.
1635 Market St.
8th Floor
Philadelphia, PA 19103                           19     8/17/2016       Maxus Energy Corporation                             $17,107.89                                                                                                                                $17,107.89
Malek, David R
1901 Willowbend Drive
Deer Park, TX 77536-8902                        1532     2/6/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Malkin, Charlotte Z
5860 Kings Hwy
Parma Heights, OH 44130-1747                    121     10/25/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Malkin, Irving
27200 Cedar Rd
Apt 431
Beachwood, OH 44122                             120     10/25/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
MALKOWSKI, SUSAN E
321 S WESTHAVEN DR APT 104
OSHKOSH, WI 54904-7981                          1761     2/9/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
Mallinckrodt LLC (f/k/a Mallinckrodt Inc.)
William S. hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                324     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
Mallinckrodt LLC (f/k/a Mallinckrodt Inc.)
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                395     10/31/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Mallinckrodt LLC f/k/a Mallinckrodt Inc.
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                2645    5/10/2017       Maxus Energy Corporation                            $829,379.13                                                                                                                     $0.00     $829,379.13
Mallinckrodt LLC f/k/a Mallinckrodt Inc.
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                2651    5/10/2017          Tierra Solutions, Inc.                                  $0.00                                                                                                                    $0.00           $0.00
MALLOY, BRENDA
NF44 LAKE CHEROKEE
LONGVIEW, TX 75603-9512                         1441     2/6/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
MALONE, PAULA
10855 MEADOWGLEN LN APT 1123
HOUSTON, TX 77042-4039                          1149    1/31/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
MALONE, PAULA
10855 MEADOWGLEN LN APT 1123
HOUSTON, TX 77042-4039                          1166    1/31/2017    Maxus (U.S.) Exploration Company                                                          $0.00                                                                                                        $0.00



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                                                                                                                            Amount                                                                                     Amount                                                Claim Amount
MALONE, PAULA
10855 MEADOWGLEN LN APT 1123
HOUSTON, TX 77042-4039                                 1187    1/31/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
MALONE, PAULA
10855 MEADOWGLEN LN APT 1123
HOUSTON, TX 77042-4039                                 1195    1/31/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
MALONE, PAULA
10855 MEADOWGLEN LN APT 1123
HOUSTON, TX 77042-4039                                 1203    1/31/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
MANLEY, CHRIS LAMAR
153 CHIPPENDALE SQ
KINGSPORT, TN 37660                                    2020    2/12/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                                       1016    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                                       1018    1/30/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                                       1022    1/30/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                                       1024    1/30/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                                       1048    1/30/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                                       2732    8/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                                       2733    8/14/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                                       2734    8/14/2017          Gateway Coal Company                                      $0.00                                                                                                                    $0.00           $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                                       2735    8/14/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                    $0.00           $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                                       2738    8/14/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                    $0.00           $0.00
Mannion, Sue
8102 Lake Bend Drive
Rowlett, TX 75088-8911                                 1177    1/30/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Mannion, Sue
8102 Lake Bend Drive
Rowlett, TX 75088-8911                                 1207    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Mannion, Sue
8102 Lake Bend Drive
Rowlett, TX 75088-8911                                 1208    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Mannion, Sue
8102 Lake Bend Drive
Rowlett, TX 75088-8911                                 1210    1/30/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
MANNION, SUE
8102 LAKE BEND DRIVE
ROWLETT, TX 75088-8911                                 1212    1/30/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
MANNION, SUE
8102 LAKE BEND DRIVE
ROWLETT, TX 75088-8911                                 1223    1/30/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Mansanarez, Eric L.
Steven W. Soulé
Dustin Perry
Hall, Estill, Hardwick, Gable, Golden & Nelson, PC
320 South Boston Avenue, Suite 200
Tulsa, OK 74103-3706                                   2094    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00




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                                                                                                                          Amount                                                                                     Amount                                                Claim Amount
Mansanarez, Eric L.
Steven W. Soulé
Dustin Perry
Hall, Estill, Hardwick, Gable, Golden & Nelson, PC
320 South Boston Avenue, Suite 200
Tulsa, OK 74103-3706                                   2097    2/13/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
Mansanarez, Eric L.
Steven W. Soulé
Dustin Perry
Hall, Estill, Hardwick, Gable, Golden & Nelson, PC
320 South Boston Avenue, Suite 200
Tulsa, OK 74103-3706                                   2100    2/13/2017    Maxus (U.S.) Exploration Company                                                          $0.00                                                                                                        $0.00
Manta Ray Offshore Gathering Company, L.L.C.
Eversheds Sutherland (US) LLP
Attn: Mark Sherrill
1001 Fannin Street, Suite 3700
Houston, TX 77002                                      110     10/21/2016   Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00
Manta Ray Offshore Gathering Company, L.L.C.
Eversheds Sutherland (US) LLP
Attn: Mark Sherrill
1001 Fannin Street, Suite 3700
Houston, TX 77002                                      2757    8/14/2017    Maxus (U.S.) Exploration Company                                                                                                                                                       $0.00           $0.00
Manta Ray Offshore Gathering Company, L.L.C.
Eversheds Sutherland (US) LLP
Mark Sherrill
1001 Fannin St., Ste. 3700
Houston, TX 77002                                      2741    8/14/2017    Maxus (U.S.) Exploration Company                                                                                                                                                       $0.00           $0.00
Marie, Juan L
1507 Homespun Road
Austin, TX 78745-2946                                  1051    1/30/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
MARKS, PEGGY M
9033 TERRACE PARK DRIVE
MENTOR, OH 44060-6435                                  1326     2/3/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
MARONE, JOSEPH T
2202 BINDON DR
CEDAR PARK, TX 76613-1576                              2536    3/29/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
MARQUEZ, ROBERTO C
14223 ROUNDSTONE LN
HOUSTON, TX 77015-2451                                 2359    2/21/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
MARSH, JOAN M
PO BOX 93123
PHOENIX, AZ 85070-3123                                 1661     2/7/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
MARTIN, JAMES LARRY
1622 MAIN ST
CANADIAN, TX 79014-3511                                1445     2/6/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
MARTIN, RON H
7231 BLACK WALNUT CIRCLE
LOUISVILLE, KY 40229                                   1353     2/6/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Massey, Janice
2006 Seagoville Road
Seagoville, TX 75159                                   700     1/23/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Massey, Janice
2006 Seagoville Road
Seagoville, TX 75159                                   2701    7/31/2017       Maxus Energy Corporation                                   $0.00                                                                                                                    $0.00           $0.00
Mastovich, Stephen
12 Camino Dimitrio
Santa Fe, NM 87508-9123                                455     11/30/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Mastovich, Stephen
12 Camino Dimitrio
Santa Fe, NM 87508-9123                                454     11/30/2016   Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00
MATHERNE, GARY M
PO BOX 2721
RESERVE, LA 70084-2721                                 1817     2/9/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Mathis, Chris L
3605 Field Stone Dr.
Carrollton, TX 75007                                   495     1/18/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
MATHUR, VINOD R
8705 BALTUSROL DR
FLOWER MOUND, TX 75022                                 1148    1/31/2017    Maxus (U.S.) Exploration Company                                                          $0.00                                                                                                        $0.00

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                                                                                                     Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
               Creditor Name and Address   Claim No. Claim Date                Debtor                                                Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                Amount                                                                                     Amount                                                Claim Amount
MATITS, JUDITH N
605 DAREN LN O605
MINE HILL, NJ 07803-3053                     1759     2/9/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
MATRANGA, JOSEPH D
308 NORTHCLIFF RIDGE LN
FRIENDSWOOD, TX 77546-1726                   2074    2/13/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
MATRANGA, PAULA E
308 NORTHCLIFF RIDGE LN
FRIENDSWOOD, TX 77546-1726                   2051    2/13/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
May, Don Earl
331 Lakeview Dr.
Victoria, TX 77905-4017                      1830     2/9/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
MAYEAUX, LARRY DALE
1842 SIMMONS RD
DERIDDER, LA 70634-8331                      1431     2/6/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
MAYHEW, S J
1407 TRAILWOOD VILLAGE DR
KINGWOOD, TX 77339-3328                      1396     2/6/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
MAYHEW, SHELIA J
1409 TRAILWOOD VLG DR
KINGWOOD, TX 77339                           1379     2/6/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
MAYON, TIMOTHY A.
402 TOURNAMENT BLVD.
BERWICK, LA 70342                            2680    7/27/2017       Maxus Energy Corporation                                   $0.00                                                                                                                    $0.00           $0.00
MCAFEE, NANCY K
1900 CHERRY ST
PANAMA CITY, FL 32401                        1397     2/6/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
MCAFEE, NINA R
31426 IMPERIAL BLUFF COURT
SPRING, TX 77386-1590                        714     1/24/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
MCBRIDE, DAVID L
1710 JANELL RENE CIR
DEER PARK, TX 77536-2843                     1337     2/3/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
McCain, G. Howard
250 Orton Rd
Painesville, OH 44077                         29      9/9/2016       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
McCain, George H
250 Orton Rd.
Painesville, OH 44077                         23      9/9/2016       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
MCCARTHY, ROBERT J
102 DARTER LN
NORTH WALES, PA 19454-1155                   638     1/23/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
MCCLURE, VICTOR L.
288 N STATE RD 129
MILAN, IN 47031-9189                         2729    8/11/2017       Maxus Energy Corporation                                   $0.00                                                                                                                    $0.00           $0.00
MCCOY, MARTHA V
6426 ST ALBAN CT
ARLINGTON, TX 76001-7895                     1490     2/6/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
MCCOY, THOMAS P
PO BOX 485
ROGERSVILLE, AL 35652-0485                   1310     2/3/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
McCullough, John R
20 Bayon Dr Apt 216
South Hadley, MA 01075-3335                  363     10/31/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Mcdowell, Stephen
545 Carma Dr
Shippensburg, PA 17257-8418                  1020    1/30/2017         Gateway Coal Company                                     $0.00                                                                                                                                    $0.00
MCENTIRE, CURTIS LYNN
19801 HUNTERS RUN
CANYON, TX 79015-6322                        1841     2/9/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
MCENTIRE, CURTIS LYNN
19801 HUNTERS RUN
CANYON, TX 79015-6322                        1850     2/9/2017         Gateway Coal Company                                     $0.00                                                                                                                                    $0.00
MCENTIRE, CURTIS LYNN
19801 HUNTERS RUN
CANYON, TX 79015-6322                        1851     2/9/2017          Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
MCENTIRE, CURTIS LYNN
19801 HUNTERS RUN
CANYON, TX 79015-6322                        1861     2/9/2017    Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00

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                                                                                                                 Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                  Creditor Name and Address          Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                            Amount                                                                                     Amount                                                Claim Amount
MCENTIRE, CURTIS LYNN
19801 HUNTERS RUN
CANYON, TX 79015-6322                                  1863     2/9/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
MCFADDEN JR, LEROY
3005 CABOT COURT
WILMINGTON, NC 28405                                   2058    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MCFATHER, JANICE S
1301 Garrison DR
ST Augustine, FL 32092-1072                            560     1/20/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MCGOVNEY, MCGOVNEY A
14812 AVERY RANCH BLVD APT 69
AUSTIN, TX 78717-3939                                  2189    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MCGREW, WILLIAM S
4919 PLEASANT PLAINS DR
FRIENDSWOOD, TX 77546-2952                             918     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MCINTOSH, FRANCES R.
2411 ANTHONY LN
PEARLAND, TX 77581-3712                                1421     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
MCINTOSH, FRANCES R.
2411 ANTHONY LN
PEARLAND, TX 77581-3712                                2282    2/15/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MCINTOSH, FRANCES R.
2411 ANTHONY LN
PEARLAND, TX 77581-3712                                2285    2/15/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
MCINTOSH, FRANCES R.
2411 ANTHONY LN
PEARLAND, TX 77581-3712                                2286    2/15/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
MCINTOSH, FRANCES R.
2411 ANTHONY LN
PEARLAND, TX 77581-3712                                2289    2/15/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MCINTOSH, FRANCES R.
2411 ANTHONY LN
PEARLAND, TX 77581-3712                                2290    2/15/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
MCINTOSH, FRANCES R.
2411 ANTHONY LN
PEARLAND, TX 77581-3712                                2291    2/15/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
MCINTOSH, FRANCES R.
2411 ANTHONY LN
PEARLAND, TX 77581-3712                                2299    2/15/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
McIntosh, Frances R.
2411 Anthony
Pearland, TX 77581                                     2283    2/15/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
McIntosh, Frances R.
2411 Anthony
Pearland, TX 77581-3712                                2295    2/15/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
MCINTOSH, JOHN K
3324 ZION RD
VAN BUREN, AR 72956-8782                               1034    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MCINTOSH, RAYE S
2411 ANTHONY LN
PEARLAND, TX 77581-3712                                1418     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
McIntyre, John F.
Hall Estill c/o Steven W. Soule
320 S. Boston Ave.
Suite 200
Tulsa, OK 74103                                        2056    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
McIntyre, John F.
Hall Estill c/o Steven W. Soule
320 S. Boston Ave.
Suite 200
Tulsa, OK 74103                                        2060    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
McIntyre, John F.
Hall, Estill, Hardwick, Gable, Golden & Nelson, PC
c/o Steven W. Soulé
Dustin Perry
320 S. Boston Ave., Suite 200
Tulsa, OK 74103-3706                                   2153    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00




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                                                                                                      Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
              Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
MCKAUGHAN, FANNIE B
PO BOX 127
Soper, OK 74759                             2113    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
McKean, Marcia R
3402 Forestway Ct
Arlington, TX 76001                         2647     5/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MCKINNEY, BOYCENE B
5001 WESLEY RD.
AMARILLO, TX 79119                          1473     2/4/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MCKINNEY, BOYCENE B
5001 WESLEY RD.
AMARILLO, TX 79119                          1474     2/4/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MCKINNEY, ROGER
18215 STOCKTON SPRINGS DR
SPRING, TX 77379                            1854    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MCKINNEY, ROGER
18215 STOCKTON SPRINGS DR
SPRING, TX 77379                            1858    2/10/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
MCKINNEY, ROGER
18215 STOCKTON SPRINGS DR
SPRING, TX 77379                            2725     8/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
McKool Smith PC
Michael John Miguel
300 South Grand Ave.
Suite 2900
Los Angeles, CA 90071                       168     10/28/2016       Maxus Energy Corporation                              $71,909.61                                                                                                                                $71,909.61
McLain Clark, Valorie K
5312 Dunster Dr
McKinney, TX 75070-8886                     1832     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MCMILLAN, RANDALL S
26 FAIRVIEW RD
KIRKWOOD, PA 17536-9300                     1402     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MCMILLEN, KAYETTE E
3959 SOUTHERN BEND
MISSOURI CITY, TX 77459                     873     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MCMURRY, WILLIAM GREGORY
7209 QUEENS PLACE
AMARILLO, TX 79109-6489                     1234     2/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
McPherson, Kenneth W.
PO BOX 1200
Canadian, TX 79014-1200                     2109    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
MCPHERSON, VENITA H
11010 COUNTY ROAD 10
CANADIAN, TX 79014-4928                     939     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MCWILLIAMS, DOUGLAS L
1806 MACLIN DR
TUSCUMBIA, AL 35674-6102                    2062    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Megel Inc
4809 Westway Park Blvd
Houston, TX 77041                            48     9/19/2016        Maxus Energy Corporation                              $58,325.38                                                                                                                                $58,325.38
Menear, Stanley E
PO Box 33
Kingwood, WV 26537                          2636    4/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Menear, Stanley E
PO Box 33
Kingwood, WV 26537                          2739    8/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
MESH, MARY M
5837 VICTOR ST 5839
DALLAS, TX 75214-4739                       876     1/27/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
MESH, MARY M
5837 VICTOR ST 5839
DALLAS, TX 75214-4739                       877     1/27/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
MESH, MARY M
5837 VICTOR ST 5839
DALLAS, TX 75214-4739                       878     1/27/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
MESH, MARY M
5837 VICTOR ST 5839
DALLAS, TX 75214-4739                       907     1/27/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00


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                                                                                                      Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
              Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
MESH, MARY M
5837 VICTOR ST 5839
DALLAS, TX 75214-4739                       908     1/27/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MEUSEL, ARTHUR L
2344 BRENTFIELD RD W
JACKSONVILLE, FL 32225                      559     1/20/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MEYERHOFF, JAMES C
5610 TUPPER LAKE DR.
HOUSTON, TX 77056                           1958    2/12/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
MEYERHOFF, JAMES C
5610 TUPPER LAKE DR.
HOUSTON, TX 77056                           2016    2/11/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MEYERHOFF, JAMES C
5610 TUPPER LAKE DR.
HOUSTON, TX 77056                           2021    2/12/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
MEYERHOFF, JAMES C
5610 TUPPER LAKE DR.
HOUSTON, TX 77056                           2022    2/12/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
MEYERHOFF, JAMES C
5610 TUPPER LAKE DR.
HOUSTON, TX 77056                           2023    2/12/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
MICHAEL, DANNY J
212 W QUEENSBURY LN
FLORENCE, AL 35630-6662                     974     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MICHELOTTI, ROBERT J
7721 TRIPP AVE
AMARILLO, TX 79121-1769                     780     1/25/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MIDKIFF JR, ARLIE E
704 CHRISTIAN DR
CHARLESTON, WV 25303                        785     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MIDKIFF, ARLIE E
704 CHRISTIAN DR
SOUTH CHARLESTON, WV 25303-2824             730     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MIER, THOMAS L.
PO BOX 575
WELSH, LA 70591-0575                        1940    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MIER, THOMAS L.
PO BOX 575
WELSH, LA 70591-0575                        2030    2/12/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MILES, KENNETH D
11230 SAGEWOOD DR
HOUSTON, TX 77089-4751                      2240    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MILES, NICK P
1630 RIDING CLUB ROAD
KEENE, VA 22946                             1829     2/9/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MILLER, ELTON L
4743 BELLE MEADOW RD
MENTOR, OH 44060-1116                       943     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Miller, Frank Richard
1135 North Lincoln
Casper, WY 82601                            1980    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MILLER, JON MARSHALL
4031 COBBLERS LN
DALLAS, TX 75287-6724                       2361    2/22/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MILLER, JOYCELYN M
6294 LYONS RD
LAKE ARTHUR, LA 70549-5012                  842     1/26/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
MILLER, JOYCELYN M
6294 LYONS RD
LAKE ARTHUR, LA 70549-5012                  846     1/26/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
MILLER, JOYCELYN M
6294 LYONS RD
LAKE ARTHUR, LA 70549-5012                  863     1/26/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
MILLER, JOYCELYN M
6294 LYONS RD
LAKE ARTHUR, LA 70549-5012                  884     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MILLER, JOYCELYN M
6294 LYONS RD
LAKE ARTHUR, LA 70549-5012                  890     1/26/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00

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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
MILLER, LANDIS E
702 RIVER ST
GRAND RIVER, OH 44045-0452                   2049    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Miller, Larry D
10650 Crosby Lynchburg Rd
Crosby, TX 77532-3930                        507     1/19/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Miller, Larry D
10650 Crosby Lynchburg Rd
Crosby, TX 77532-693                         527     1/19/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Miller, Larry D
10650 Crosby Lynchburg Rd
Crosby, TX 77532-6930                        508     1/19/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Miller, Linda C
6701 Eastridge Rd. Apt #117
Odessa, TX 79762                             2363    2/22/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MILLER, MICHAEL J.
PO BOX 51105
AMARILLO, TX 79159-1105                      436     11/11/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MILLER, THOMAS WILLIAM
2933 FAWN DR
BURLINGTON, KY 41005-9738                    1961    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MILLER, W MARK
4225 STANTON BLVD
PLANO, TX 75093-6918                         2314    2/17/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Millet, Mark A.
3674 Angelle Lane
Paulina, LA 70763                            1771     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MILNER, SAM
206 LONG CANYON CT
RICHARDSON, TX 75080-2668                    1566     2/7/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
MILNER, SAM
206 LONG CANYON CT
RICHARDSON, TX 75080-2668                    1576     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MILNER, SAM
206 LONG CANYON CT
RICHARDSON, TX 75080-2668                    1579     2/7/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
MILNER, SAM
206 LONG CANYON CT
RICHARDSON, TX 75080-2668                    1641     2/7/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
MILNER, SAM
206 LONG CANYON CT
RICHARDSON, TX 75080-2668                    1695     2/7/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
MIMS, DARRELL W
10565 WREN RIDGE RD
ALPHARETTA, GA 30022-6646                    592     1/21/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MIZNER, DAVID R
3359 MCCONNELL RD
HERMITAGE, PA 16148-3215                     979     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MOELLER, TIMOTHY C
14103 DEER RUN ST
MAGNOLIA, TX 77355-3887                      1462     2/3/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MOFFETT, ROBERT L
PO BOX 29
39 WEST COMMERCE
KENTON, DE 19955-0029                        630     1/23/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MOGEL, RAY L
20037 ROCKWELL RD
CORONA, CA 92881-4893                        1688     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MOLLMANN, NORBERT A
2765 ROSEANN LN
CINCINNATI, OH 45239-7249                    684     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MONAHAN, GRACE M.
7806 LAUREL LANE
WYNDMOOR, PA 19038                           970     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MONAHAN, GRACE M.
7806 LAUREL LANE
WYNDMOOR, PA 19038                           2679    7/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00




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                                                                                                                  Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                Creditor Name and Address             Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                             Amount                                                                                     Amount                                                Claim Amount
Monastyrski, Swetlana
104 Lake Road B-2
Valley Cottage, NY 10989                                211     10/27/2016       Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
MONTFORD, CLIFTON A
5005 BIRDS VIEW CT
CASTLE HAYNE, NC 28429                                  1340     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MONTFORD, CLIFTON A
5005 BIRDS VIEW CT
CASTLE HAYNE, NC 28429                                  1348     2/6/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
MONTFORD, CLIFTON A
5005 BIRDS VIEW CT
CASTLE HAYNE, NC 28429                                  1352     2/6/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
MONTFORD, CLIFTON A
5005 BIRDS VIEW CT
CASTLE HAYNE, NC 28429                                  1354     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
MONTFORD, CLIFTON A
5005 BIRDS VIEW CT
CASTLE HAYNE, NC 28429                                  1488     2/6/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Montgomery County
Linebarger Goggan Blair & Sampson, LLP
PO Box 3064
Houston, TX 77253-3064                                   6       7/5/2016        Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
MONTGOMERY, DONALD R
191 PARK AVE
KILLEN, AL 35645-9240                                   919     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MONTGOMERY, MARY C
205 NORTH ST
CHARDON, OH 44024-1031                                  1577     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Moore County and Entities Collected by Moore County
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                                  59     9/23/2016        Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
Moore County and Entities Collected by Moore County
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                 2541    3/30/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
MOORE, GWEN J
902 MOORE DR NE
LELAND, NC 28451-8393                                   1440     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MOORE, JAMES W
14100 ASHTON RD
ROCKY POINT, NC 28457                                   541     1/19/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MOORE, JAMES W
14100 ASHTON RD
ROCKY POINT, NC 28457                                   1036    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MORAN, MICHAEL C
32 KENTUCKY DR
LITTLE EGG HARBOR TWP, NJ 08087-1035                    641     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Morgan, Penny
207 Park Meadows Drive
Euless, TX 76039                                        448     11/23/2016       Maxus Energy Corporation                               $7,498.68                        $0.00                                                                                                     $7,498.68
MORGAN, PENNY RHAE
207 PARK MEADOWS DR
EULESS, TX 76039-4342                                   2292    2/15/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MORGAN, PENNY RHAE
207 PARK MEADOWS DR
EULESS, TX 76039-4342                                   2294    2/15/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
MORGAN, PENNY RHAE
207 PARK MEADOWS DR
EULESS, TX 76039-4342                                   2296    2/15/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
MORGAN, PENNY RHAE
207 PARK MEADOWS DR
EULESS, TX 76039-4342                                   2297    2/15/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
MORGAN, PENNY RHAE
207 PARK MEADOWS DR
EULESS, TX 76039-4342                                   2298    2/15/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Morris, Faye Z
8359 HWY 405
Donaldsonville, LA 70346-8313                           1995    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00

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                Creditor Name and Address       Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                       Amount                                                                                     Amount                                                Claim Amount
MORRISON, BRADLEY S
1945 VALLEY OAKS CT
IRVING, TX 75061-2164                             1343     2/3/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
MORRISON, BRADLEY S
1945 VALLEY OAKS CT
IRVING, TX 75061-2164                             1453     2/3/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MORRISON, BRADLEY S
1945 VALLEY OAKS CT
IRVING, TX 75061-2164                             1457     2/3/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
MORRISON, BRADLEY S
1945 VALLEY OAKS CT
IRVING, TX 75061-2164                             1460     2/3/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
MORRISON, BRADLEY S
1945 VALLEY OAKS CT
IRVING, TX 75061-2164                             1467     2/3/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Mosher, Scott L
225 Highland St
Woodland Park, CO 80863-1503                      1272     2/1/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MOSHER, SCOTT L
225 HIGHLAND ST
WOODLAND PARK, CO 80863-1503                      2493    3/20/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Mosher, Scott L.
225 Highland St
Woodland Park, CO 80863                           501     1/18/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MOSS, CLIFTON O
30 LYRIC DR
NEWARK, DE 19702-4521                             843     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Moss, Matthew Scott
7906 Success Place
Amarillo, TX 79119                                1525     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
MURALT, IONE
1462 15TH ST N
WAHPETON, ND 58075-3519                           1656     2/8/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
MURO, HENRY
738 CHOCTAW DR
SAN JOSE, CA 95123                                1818     2/9/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
MURO, HENRY
738 CHOCTAW DR
SAN JOSE, CA 95123                                1820     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MURO, HENRY
738 CHOCTAW DR
SAN JOSE, CA 95123                                1823     2/9/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Murphy Exploration & Production Company - USA
J. Eric Lockridge
Kean, Miller
400 Convention Street, Suite 700
Baton Rouge, LA 70802                             140     10/27/2016       Maxus Energy Corporation                             $180,000.00                                                                                                                               $180,000.00
MURPHY, THOMAS R
4910 GLENPARK DR
LA PORTE, TX 77571-7811                           2120    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MURPHY, THOMAS R
4910 GLENPARK DR
LA PORTE, TX 77571-7811                           2151    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
MURPHY, THOMAS R
4910 GLENPARK DR
LA PORTE, TX 77571-7811                           2154    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
MURPHY, THOMAS R
4910 GLENPARK DR
LA PORTE, TX 77571-7811                           2169    2/13/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
MURPHY, THOMAS R
4910 GLENPARK DR
LA PORTE, TX 77571-7811                           2187    2/13/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Murr, Austin
Hall Estill c/o Steven W. Soule
320 S. Boston Ave., Suite 200
Tulsa, OK 74103                                   2033    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00




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                                                                                                       Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
               Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
Murr, Austin
Hall Estill c/o Steven W. Soule
320 S. Boston Ave., Suite 200
Tulsa, OK 74103                              2073    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Murr, Austin
Hall Estill c/o Steven W. Soule
320 S. Boston Ave., Suite 200
Tulsa, OK 74103                              2076    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
Murray, Curtis W
27410 Winebrook Creek Ln
Katy, TX 77494-2768                          491     1/18/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MURRAY, JAMES E
2511 25TH STREET NE
SALMON ARM, BC V1E 2Z7
Canada                                       676     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MURRAY, MILLARD C
1280 WHITESTOCKING RD
BURGAW, NC 28425-3322                        756     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Myers, Lonnie L.
206 Wellesley Drive
Spartanburg, SC 29307-2967                   505     1/18/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MYERS, PAUL D
7908 OAK KNOLL DR
NORTH RICHLAND HILLS, TX 76182-8701          966     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
NACHFOLGER, SOLOMON J.
46 CARLTON RD.
MONSEY, NY 10952                             882     1/27/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Nachfolger, Solomon J.
46 Carlton Rd.
Monsey, NY 10952                             840     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Nachfolger, Solomon J.
46 Carlton Rd.
Monsey, NY 10952                             872     1/27/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Nachfolger, Solomon J.
46 Carlton Rd.
Monsey, NY 10952                             874     1/27/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
NACHFOLGER, SOLOMON J.
46 CARLTON RD.
MONSEY, NY 10952                             875     1/27/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
NACHFOLGER, SOLOMON J.
46 CARLTON RD.
MONSEY, NY 10952                             906     1/27/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
NAPOLES, JULIO L
4440 HIGHLANDER DR
DALLAS, TX 75287-6843                        1119    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
NASSAR, NAHEEM G
5390 CANATELLA ST
CONVENT, LA 70723-2100                       732     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Nastick Sr, Henry P
619 Hoppers Lane
Havre De Grace, MD 21078-2735                1120     2/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
National-Standard LLC
Natasha M. Songonuga, Esq.
Gibbons P.C.
300 Delaware Avenue
Suite 1015
Wilmington, DE 19801-1671                    339     10/31/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
National-Standard LLC
Natasha M. Songonuga, Esq.
Gibbons P.C.
300 Delaware Avenue, Suite 1015
Wilmington, DE 19801-1671                    252     10/31/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
National-Standard LLC
Natasha M. Songonuga, Esq.
Gibbons P.C.
300 Delaware Avenue, Suite 1015
Wilmington, DE 19801-1671                    2641     5/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00




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                 Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
National-Standard LLC
Natasha M. Songonuga, Esq.
Gibbons P.C.
300 Delaware Avenue, Suite 1015
Wilmington, DE 19801-1671                      2652     5/9/2017           Tierra Solutions, Inc.                          $1,027,806.46                                                                                                                              $1,027,806.46
Nautilus Pipeline Company, L.L.C.
Eversheds Sutherland (US) LLP
Mark Sherrill
1001 Fannin St., Suite 3700
Houston, TX 77002                              111     10/21/2016    Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Nautilus Pipeline Company, LLC
200 North Dairy Ashford Street
Houston, TX 77079-1101                         2740    8/14/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
Nautilus Pipeline Company, LLC
200 North Dairy Ashford Street
Houston, TX 77079-1101                         2753    8/14/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                    $0.00           $0.00
NEAL, JOHN R
9810 CREEKWOOD RD
LOUISVILLE, KY 40223-1174                      2313    2/17/2017        Maxus Energy Corporation                                                                $0.00                          $0.00                                                                         $0.00
NEEF, TERRI J
2945 FM 876
WAXAHACHIE, TX 75167-8349                      1262    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
NEICE, JAMES A
1260 NW NAITO PARKWAY
APT 1005
PORTLAND, OR 97209-3149                        591     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
NEICE, JAMES A
1260 NW NAITO PARKWAY
APT 1005
PORTLAND, OR 97209-3149                        1141    1/31/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
NEICE, JAMES A
1260 NW NAITO PARKWAY
APT 1005
PORTLAND, OR 97209-3149                        1243    1/31/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
NEICE, JAMES A
1260 NW NAITO PARKWAY
APT 1005
PORTLAND, OR 97209-3149                        1244    1/31/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
NEICE, JAMES A
1260 NW NAITO PARKWAY
APT 1005
PORTLAND, OR 97209-3149                        1245    1/31/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
NEICE, JAMES A
1260 NW NAITO PARKWAY
APT 1005
PORTLAND, OR 97209-3149                        1264    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
NELSON, FRANCES
184 LARCHWOOD DR
PAINESVILLE, OH 44077-1939                     1584     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Nelson, Ronald J
924 Creek Xing
Coppell, TX 75019-3186                         492     1/18/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Nelson, Ronald J
924 Creek Xing
Coppell, TX 75019-3186                         493     1/18/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Nelson, Ronald J
924 Creek Xing
Coppell, TX 75019-3186                         499     1/18/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
NEMETH, GERALD F
103 S CASTLEGREEN CIR
SPRING, TX 77381-6339                          1406     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
NESBITT, LINWOOD
612 BRACKEN FERN DR
WILMINGTON, NC 28405                           1465     2/3/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Nethercutt, Melvin M
4196 FM 1011
Liberty, TX 77575                              579     1/23/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00




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                                                                                                                             Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address                       Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                        Amount                                                                                     Amount                                                Claim Amount
NEUMEISTER, BETTY D
530 STONEHENGE DR
CROSSVILLE, TN 38558-2728                                          836     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
NEUSSE, CINDY L
2304 FALL RIVER DR
ARLINGTON, TX 76006                                                1458     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Newark Morning Ledger Co.
Michael J. Anderson, Esq.
Sabin, Bermant & Gould LLP
One World Trade Center
New York, NY 10007-2915                                            206     10/27/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Newark Morning Ledger Co.
Michael J. Anderson, Esq.
Sabin, Bermant & Gould LLP
One World Trade Center
New York, NY 10007-2915                                            212     10/27/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Newark Morning Ledger Co.
Michael J. Anderson, Esq.
Sabin, Bermant & Gould LLP
One World Trade Center
New York, NY 10007-2915                                            223     10/27/2016 Maxus International Energy Company                                $0.00                                                                                                                                    $0.00
Newell Brands Inc. (f/k/a Newell Rubbermaid Inc.) on behalf of
itself and its wholly-owned subsidiar
Kristin Holloway Jones
6655 Peachtree Dunwoody Road
Atlanta, GA 30328                                                  391     10/31/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
Newell Brands Inc. (f/k/a Newell Rubbermaid Inc.) on behalf of
itself and its wholly-owned subsidiar
Kristin Holloway Jones
Newell Brands Inc.
6655 Peachtree Dunwoody Road
Atlanta, GA 30328                                                  372     10/31/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
NICELY, GALE P
10044 SIESTA BAY DRIVE UNIT 9413
NAPLES, FL 34120                                                   598     1/23/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
NICELY, GALE P
10044 SIESTA BAY DRIVE UNIT 9413
NAPLES, FL 34120                                                   603     1/23/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
NICELY, GALE P
10044 SIESTA BAY DRIVE UNIT 9413
NAPLES, FL 34120                                                   616     1/23/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
NICHOLS, KEITH HAMLIN
16313 JERSEY HOLLOW DR
JERSEY VILLAGE, TX 77040-1131                                      1429     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
NICKELL, RICKY J
617 RED DEER ST
PAMPA, TX 79065                                                    712     1/24/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
NICKELL, RICKY J
617 RED DEER ST
PAMPA, TX 79065-5049                                               696     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Nickell, Ricky J.
617 Red Deer St
Pampa, TX 79065-5049                                               655     1/24/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
NIERWIENSKI, KENNETH J
1145 INGATE RD
HALETHORPE, MD 21227-3850                                          892     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Nikolis, Theodore P.
515 East 89th Street
Apt 3H
New York, NY 10128                                                 117     10/24/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Norderhaug, Kathleen J
5950 Lindenshire Lane # 408
Dallas, TX 75230-2744                                              841     1/26/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
NORDERHAUG, KATHLEEN J
5950 LINDENSHIRE LN APT 408
DALLAS, TX 75230-2744                                              806     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00




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                  Creditor Name and Address          Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                            Amount                                                                                     Amount                                                 Claim Amount
Norton Rose Fulbright US LLP
c/o Michael Parker
300 Convent Street, Suite 2100
San Antonio, TX 78205                                  171     10/28/2016       Maxus Energy Corporation                               $1,366.20                                                                                                                                   $1,366.20
Norton Rose Fulbright US LLP
c/o Michael Parker
300 Convent Street, Suite 2100
San Antonio, TX 78205                                  303     10/28/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                      $0.00
OAKTON, INC.
P.O. Box 144
Painesville, OH 44077                                  310     10/31/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                                      $0.00
Occidental Chemical Corporation
Attn: Melissa Hunt
Occidental Petroleum
5005 Lyndon B. Johnson Freeway
Dallas, TX 75244                                       2587     4/3/2017    Maxus International Energy Company                                                                                                                                                       $0.00             $0.00
Occidental Chemical Corporation
Melissa Hunt
5005 Lyndon B. Johnson Fwy
Dallas, TX 75244                                       2597     4/3/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00             $0.00
Occidental Chemical Corporation
Melissa Hunt
Associate General Counsel
Occidental Petroleum
5005 Lyndon B. Johnson Fwy
Dallas, TX 75244                                       320     10/31/2016       Maxus Energy Corporation                        $510,626,872.18                                                                                                                              $510,626,872.18
Occidental Chemical Corporation
Melissa Hunt
Occidental Petroleum
5005 Lyndon B. Johnson Freeway
Dallas, TX 75244                                       2582     4/3/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00             $0.00
Occidental Chemical Corporation
Occidental Petroleum
Attn: Melissa Hunt
5005 Lyndon B. Johnson Fwy
Dallas, TX 75244                                       316     10/31/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                                      $0.00
Occidental Chemical Corporation
Occidental Petroleum
Attn: Melissa Hunt
5005 Lyndon B. Johnson Fwy
Dallas, TX 75244                                       408     10/31/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                                      $0.00
Occidental Chemical Corporation
Occidental Petroleum
Attn: Melissa Hunt
5005 Lyndon B. Johnson Fwy
Dallas, TX 75244                                       413     10/31/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                      $0.00
Occidental Chemical Corporation
Occidental Petroleum
Attn: Melissa Hunt
5005 Lyndon B. Johnson Fwy
Dallas, TX 75244                                       2574     4/3/2017        Maxus Energy Corporation                                                                                                                                                             $0.00             $0.00
Occidental Chemical Corporation
Occidental Petroleum
Attn: Melissa Hunt
5005 Lyndon B. Johnson Fwy
Dallas, TX 75244                                       2599     4/3/2017          Gateway Coal Company                                                                                                                                                               $0.00             $0.00
Ochiltree County Appraisal District
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                                 66     9/23/2016        Maxus Energy Corporation                                                                $0.00                          $0.00                                                                           $0.00
Ochiltree County Appraisal District
Perdue, Brandon, Fielder, Collins and Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                2538    3/30/2017        Maxus Energy Corporation                                                                                                                                                             $0.00             $0.00
ODLE, WILLIAM C
3405 MARSALIS LANE
PLANO, TX 75074-8795                                   1430     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                      $0.00




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                                                                                                         Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
ODOM, RICHARD D
4163 LITTLE KELLY RD
ROCKY POINT, NC 28457-8665                     1770     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
OJEDA, ROLANDO
706 N ELM ST
COMANCHE, TX 76442-1548                        1843    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
OJEDA, ROLANDO
706 N ELM ST
COMANCHE, TX 76442-1548                        1848    2/10/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
OJEDA, ROLANDO
706 N ELM ST
COMANCHE, TX 76442-1548                        1849    2/10/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
OJEDA, ROLANDO
706 N ELM ST
COMANCHE, TX 76442-1548                        1977    2/10/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
OJEDA, ROLANDO
706 N ELM ST
COMANCHE, TX 76442-1548                        1986    2/10/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Old Republic General Insurance Corporation
c/o Fox Swibel
Attn: Margaret M. Anderson
200 West Madison Street, Suite 3000
Chicago, IL 60606                              304     10/31/2016         Gateway Coal Company                                      $0.00                                                      $0.00                                                                         $0.00
Old Republic General Insurance Corporation
c/o Fox Swibel
Attn: Margaret M. Anderson
200 West Madison Street, Suite 3000
Chicago, IL 60606                              396     10/31/2016       Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
OLDS, CLIFTON W.
49 AUGUSTINA DR.
ELKTON, MD 21921                               2224    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
OLDS, CLIFTON W.
49 AUGUSTINA DR.
ELKTON, MD 21921                               2684    7/28/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
OLSCHESKY, ROBERT F
3515 S COLLEGE RD 397/8
WILMINGTON, NC 28412-0913                      2345    2/21/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Ondercin, Gregory S.
16225 Lake Forest Dr.
Strongville, OH 44136-2521                     1561     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Orr, John Steve
PO Box 19
Stinnett, TX 79083                             930     1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
ORR, MICHAEL D
150 ROCKROSE DRIVE
LONGVIEW, TX 75605                             605     1/23/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Otis Elevator Company
Attn: Brian Freeman, Esquire
Robinson + Cole LLP
280 Trumbull Street
Hartford, CT 06103                             264     10/28/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
Otis Elevator Company
Robinson + Cole
Attn: Brian Freeman Esq.
280 Trumball Street
Hartford, CT 06103                             267     10/28/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
OTTATO, MADELYNE A
5 COVENTRY LANE
LEWES, DE 19958-4107                           1256     2/2/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
OTY, JOHN W
685 S LA POSADA CIR UNIT 2802
GREEN VALLEY, AZ 85614                         1075    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
OZUNA, LIONEL C.
813 HOLDEN CT
GARLAND, TX 75044                              1274     2/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PACHULSKI, JAMES M.
16311 TURTLE DOVE LANE
CANYON, TX 79015                               587     1/21/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00



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                                                                                                       Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
Padgett, Dianne B
10803 Burgoyne Road
Houston, TX 77042                            1434     2/3/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Padgett, Dianne B
10803 Burgoyne Road
Houston, TX 77042                            1459     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Padilla, Gabriel
105 Bayrock Circle
Amarillo, TX 79118                           2017    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PADLEY, PATRICK D
7414 DEARBORN ST
HOUSTON, TX 77055-3714                       977     1/29/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
PADLEY, PATRICK D
7414 DEARBORN ST
HOUSTON, TX 77055-3714                       981     1/29/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
PADLEY, PATRICK D
7414 DEARBORN ST
HOUSTON, TX 77055-3714                       982     1/29/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
PADLEY, PATRICK D
7414 DEARBORN ST
HOUSTON, TX 77055-3714                       983     1/29/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
PADLEY, PATRICK D
7414 DEARBORN ST
HOUSTON, TX 77055-3714                       991     1/29/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Padley, Patrick D
7414 Dearborn
Houston, TX 77055                            1031    1/29/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Pakebusch, Mary Ann
P.O. Box 9945
Spring, TX 77387-6945                        805     1/26/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PAKEBUSCH, MARY ANN
PO BOX 9945
SPRING, TX 77387-6945                        1089    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Palinsky, Shirley M
103 Nantucket Circle
Painesville, OH 44077                        1278     2/1/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Palinsky, Shirley M
103 Nantucket Circle
Painesville, OH 44077                        1279     2/1/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Palinsky, Shirley M
103 Nantucket Circle
Painesville, OH 44077                        1281     2/1/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Palinsky, Shirley M
103 Nantucket Circle
Painesville, OH 44077                        1282     2/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Palinsky, Shirley M
103 Nantucket Circle
Painesville, OH 44077                        1286     2/1/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
PALUGYAY, GRACE M
49830 SHELBY ROAD
SHELBY TOWNSHIP, MI 48317-1565               1131    1/30/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
PALUGYAY, GRACE M
49830 SHELBY ROAD
SHELBY TOWNSHIP, MI 48317-1565               945     1/30/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Palugyay, Grace M
49830 Shelby Road
Shelby Township, MI 48317-1565               1054    1/30/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
PALUGYAY, GRACE M
49830 SHELBY ROAD
SHELBY TOWNSHIP, MI 48317-1565               1056    1/30/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
PALUGYAY, GRACE M
49830 SHELBY ROAD
SHELBY TOWNSHIP, MI 48317-1565               1067    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Parish, Shirley
1112 Kiowa Dr West
Lake Kiowa, TX 76240                         1674     2/9/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Parish, Shirley
1112 Kiowa Dr West
Lake Kiowa, TX 76240                         1677     2/9/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00

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              Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
Parish, Shirley
1112 Kiowa Dr West
Lake Kiowa, TX 76240                        1822     2/9/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Parish, Shirley
1112 Kiowa Dr West
Lake Kiowa, TX 76240                        1824     2/9/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
Parish, Shirley
1112 Kiowa Dr West
Lake Kiowa, TX 76240                        1826     2/9/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
PARK, DOUGLAS A
11215 BUSHIRE DRIVE
DALLAS, TX 75229                            2714     8/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                 1125    1/31/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                 1175    1/31/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                 1181    1/31/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                 1186    1/31/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                 1189    1/31/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                 2606     4/5/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                 2607     4/5/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                 2608     4/5/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                 2609     4/5/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                 2614     4/5/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                 2715     8/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
PARKS, JACK A
PO BOX 634
CLAYMONT, DE 19703-0634                     1334     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PARRISH, JAMES E
121 MOUNTAIN BROOK DR
KILLEN, AL 35645-8831                       2176    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PARSONS, DAVID A.
106 WHITE ST. APT D
CHARLESTON, WV 25302                        1589     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PARSONS, MARY ANN
PO BOX 765
CENTER, TX 75935-0765                       973     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00



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                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
PASCHALL, LINDA M
11142 SUNSET RIDGE ST
LA PORTE, TX 77571-9374                        686     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Passaic Valley Sewerage Commission
c/o Wilentz, Goldman & Spitzer, P.A.
Attn: David H. Stein, Esq.
90 Woodbridge Center Drive
Suite 900, Box 10
Woodbridge, NJ 07095                           151     10/27/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Passaic Valley Sewerage Commission
c/o Wilentz, Goldman & Spitzer, P.A.
Attn: David H. Stein, Esq.
90 Woodbridge Center Drive
Suite 900, Box 10
Woodbridge, NJ 07095                           188     10/28/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Passaic Valley Sewerage Commission
c/o Wilentz, Goldman & Spitzer, P.A.
Attn: David H. Stein, Esq.
90 Woodbridge Center Drive
Suite 900, Box 10
Woodbridge, NJ 07095                           401     10/31/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Passaic Valley Sewerage Commission
c/o Wilentz, Goldman & Spitzer, P.A.
Attn: David H. Stein, Esq.
90 Woodbridge Center Drive
Suite 900, Box 10
Woodbridge, NJ 07095                           405     10/31/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
PATT, CHRISTINE JOANN
911 SAGE TREE CT
LAS VEGAS, NV 89101-5555                       2179    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PATTERSON, CARL L.
2699 ALICIA LANE
MELBOURNE, FL 32935-3669                       554     1/20/2017    Maxus International Energy Company                              $0.00                       $0.00                                                                                                        $0.00
PATTERSON, CARL L.
2699 ALICIA LANE
MELBOURNE, FL 32935-3669                       555     1/20/2017           Tierra Solutions, Inc.                                   $0.00                       $0.00                                                                                                        $0.00
PATTERSON, CARL L.
2699 ALICIA LANE
MELBOURNE, FL 32935-3669                       556     1/20/2017     Maxus (U.S.) Exploration Company                               $0.00                       $0.00                                                                                                        $0.00
PATTERSON, CARL L.
2699 ALICIA LANE
MELBOURNE, FL 32935-3669                       572     1/20/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
PATTERSON, CARL L.
2699 ALICIA LANE
MELBOURNE, FL 32935-3669                       574     1/20/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Pattillo, Kathy June
107 Camaron Dr
Shawnee, OK 74804-9711                         1482     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Paul, McKinley
5702 Tautenhahn Rd
Houston, TX 77016                              1390     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PAULEY, LARRY W
535 21ST STREET
DUNBAR, WV 25064                               1545     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PAVLICH, MICHAEL E
26 FORGE HILL PL
SPRING, TX 77381-4308                          996     1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PAWLOWSKI, PAUL D
1488 PARKVIEW DR
CANYON LAKE, TX 78133-3322                     1009    1/30/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
PAWLOWSKI, PAUL D
1488 PARKVIEW DR
CANYON LAKE, TX 78133-3322                     1019    1/30/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
PAWLOWSKI, PAUL D
1488 PARKVIEW DR
CANYON LAKE, TX 78133-3322                     1023    1/30/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
PAWLOWSKI, PAUL D
1488 PARKVIEW DR
CANYON LAKE, TX 78133-3322                     1025    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

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                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
PAWLOWSKI, PAUL D
1488 PARKVIEW DR
CANYON LAKE, TX 78133-3322                     1029    1/30/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
PAYNE, STANLEY M.
412 GEORGIANA DR
MIDDLETOWN, DE 19709                           1081    1/31/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PAYNE, STANLEY M.
412 GEORGIANA DR
MIDDLETOWN, DE 19709                           2702    7/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
PAZUR, ANDREW S
WEST 7119 COUNTY RD N
PLYMOUTH, WI 53073                             1037    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Pearson-Alexander, Dalia
21351 Village Crossing Lane
Porter, TX 77365                               2121    2/13/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
PEARSON-ALEXANDER, DALIA
21351 VILLAGE CROSSING LANE
PORTER, TX 77365-5187                          1918    2/12/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
PEIL, WILLIAM D
PO BOX 275
DARROUZETT, TX 79024-0275                      2300    2/15/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
PEIL, WILLIAM D
PO BOX 275
DARROUZETT, TX 79024-0275                      2301    2/15/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
PEIL, WILLIAM D
PO BOX 275
DARROUZETT, TX 79024-0275                      2302    2/15/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
PEIL, WILLIAM D
PO BOX 275
DARROUZETT, TX 79024-0275                      2303    2/15/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PEIL, WILLIAM D
PO BOX 275
DARROUZETT, TX 79024-0275                      2305    2/15/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
PENA, JERRY
2305 THOMAS AVE
PASADENA, TX 77506-3053                        1554     2/7/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
PENA, JERRY
2305 THOMAS AVE
PASADENA, TX 77506-3053                        1693     2/7/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
Pena, Jerry
2305 Thomas Ave
Pasadena, TX 77506-3053                        1696     2/7/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
PENA, JERRY
2305 THOMAS AVE
PASADENA, TX 77506-3053                        1713     2/7/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
PENA, JERRY
2305 THOMAS AVE
PASADENA, TX 77506-3053                        1714     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Pen-Cal Administrators, Inc
6210 Stoneridge Mall Rd. Ste 300
Pleasanton, CA 95683                           360     10/31/2016       Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Pendleton, John Asbury
3805 Navasota
Amarillo, TX 79109                             467     12/5/2016        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Penner, Don L
40205 Alise Ave
Prairieville, LA 70769                         825     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Pennington, James M
29731 East Irvin Rd
Huffman, TX 77336                              2064    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Pension Benefit Guaranty Corporation
Attn: Michael Baird
Office of the Chief Counsel
1200 K St., NW, Suite 340
Washington, DC 20005-4026                      228     10/28/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00




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                                                                                                               Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
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                                                                                                                          Amount                                                                                     Amount                                                Claim Amount
Pension Benefit Guaranty Corporation
Attn: Michael Baird
Office of the Chief Counsel
1200 K St., NW, Suite 340
Washington, DC 20005-4026                            2304    2/16/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Pension Benefit Guaranty Corporation
Office of the Chief Counsel
Attn: Michael Baird
1200 K St., N.W.
Suite 340
, Washington DC 20005-4026                           242     10/28/2016       Maxus Energy Corporation                                                                $0.00                                                                                        $0.00           $0.00
Pension Benefit Guaranty Corporation
Office Of The Chief Counsel
Attn: Michael Baird
1200 K Street
Suite 340
Washington, DC 20005-4026                            236     10/28/2016       Maxus Energy Corporation                                                                $0.00                                                                                        $0.00           $0.00
Pension Benefit Guaranty Corporation
Office of the Chief Counsel
Attn: Michael Baird
1200 K Street, N.W.
Suite 340
Washington, DC 20005-4026                            187     10/28/2016       Maxus Energy Corporation                                                                $0.00                                                                                        $0.00           $0.00
Pension Benefit Guaranty Corporation
Office of the Chief Counsel, Attn: Michael Baird
1200 K St., NW, Suite 340
Washington, DC 20005-4026                            2284    2/15/2017        Maxus Energy Corporation                           $4,662,443.42                                                                                                                              $4,662,443.42
Pension Benefit Guaranty Corporation
Office of the Chief Counsel, Attn: Michael Baird
1200 K Street, N.W., Suite 340
Washington, DC 20005-4026                            237     10/28/2016       Maxus Energy Corporation                                                                $0.00                                                                                        $0.00           $0.00
Pension Benefit Guaranty Corporation
Office of the Chief Counsel, Attn: Michael Baird
1200 K Street, NW, Suite 340
Washington, DC 20005-4026                            225     10/28/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Pension Benefit Guaranty Corporation
Office of the Chief Counsel, Attn: Michael Baird
1200 K Street, NW, Suite 340
Washington, DC 20005-4026                            226     10/28/2016       Maxus Energy Corporation                                                                $0.00                                                                                        $0.00           $0.00
Pension Benefit Guaranty Corporation
Office of the Chief Counsel, Attn: Michael Baird
1200 K Street, NW, Suite 340
Washington, DC 20005-4026                            229     10/28/2016       Maxus Energy Corporation                                                                $0.00                                                                                        $0.00           $0.00
Peplowski, Michael A.
5501 W. Loveland Rd.
Madison, OH 44057-9007                               1835    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PEREZ, CARLOS
750 COUNTY ROAD 316
FLORENCE, AL 35634-6006                              1618     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PERKOSKI, DAVID B
22 DANIELS AVE
CONNEAUT, OH 44030-2315                              777     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PERQUE, PERRY P
22745 INNESS LN
VACHERIE, LA 70090                                   1410     2/6/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
PERQUE, PERRY P
22745 INNESS LN
VACHERIE, LA 70090                                   1433     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
PERQUE, PERRY P
22745 INNESS LN
VACHERIE, LA 70090                                   1437     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PERQUE, PERRY P
22745 INNESS LN
VACHERIE, LA 70090                                   1611     2/6/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
PERQUE, PERRY P
22745 INNESS LN
VACHERIE, LA 70090                                   1623     2/6/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00




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                                                                                                                            Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address                      Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                       Amount                                                                                     Amount                                                Claim Amount
PERRETTA, PAUL F
7471 HUNTING LAKE DR.
PAINESVILLE, OH 44077                                             905     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PERRY, JOHNNY RAY
12835 EASTBROOK DR
HOUSTON, TX 77013                                                 807     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PERRY, JOHNNY RAY
12835 EASTBROOK DR
HOUSTON, TX 77013                                                 2677    7/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
PERTL, DAVID J
6206 JAMESON RD
AMARILLO, TX 79106                                                1194    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PESHO, BETTY
6071 DOUGLAS DRIVE
MADISON, OH 44057-1819                                            678     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PETERS, BARBARA
5010 GROVE WEST BLVD UNIT 807
STAFFORD, TX 77477-2620                                           2356    2/22/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PETERSON, NOLA J
312 N BELMONT
MOUNT PULASKI, IL 62548-1206                                      1265    1/31/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
PETERSON, NOLA J
312 N BELMONT
MOUNT PULASKI, IL 62548-1206                                      1266    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PETERSON, NOLA J
312 N BELMONT
MOUNT PULASKI, IL 62548-1206                                      1287     2/1/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
PETERSON, NOLA J
312 N BELMONT
MOUNT PULASKI, IL 62548-1206                                      1294     2/1/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
PETERSON, NOLA J
312 N BELMONT
MOUNT PULASKI, IL 62548-1206                                      1299     2/1/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
PETRICK, JOHN T.
333 LAKEVIEW DR.
WASHINGTON, PA 15301                                              645     1/23/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
PETRICK, JOHN T.
333 LAKEVIEW DR.
WASHINGTON, PA 15301                                              660     1/23/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PETRICK, JOHN T.
333 LAKEVIEW DR.
WASHINGTON, PA 15301                                              2717     8/8/2017          Gateway Coal Company                                      $0.00                                                                                                                    $0.00           $0.00
PETRO, LAWRENCE G
2938 CLYSTON RD
NORRISTOWN, PA 19403-4723                                         2227    2/14/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
PETRO, LAWRENCE G
2938 CLYSTON RD
NORRISTOWN, PA 19403-4723                                         2228    2/14/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
PETRO, LAWRENCE G
2938 CLYSTON RD
NORRISTOWN, PA 19403-4723                                         2229    2/14/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
PETRO, LAWRENCE G
2938 CLYSTON RD
NORRISTOWN, PA 19403-4723                                         2230    2/14/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
PETRO, LAWRENCE G
2938 CLYSTON RD
NORRISTOWN, PA 19403-4723                                         2232    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PETRUCCY JR, PAUL J
7975 CRAIN HWY S UNIT 123
GLEN BURNIE, MD 21061-4969                                        1159    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

Peyton C. Cochrane, Tax Collector, Tuscaloosa County, Alabama
714 Greensboro Ave, Room 124
Tuscaloosa, AL 35401                                               22      9/8/2016           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00

Peyton C. Cochrane, Tax Collector, Tuscaloosa County, Alabama
714 Greensboro Ave, Room 124
Tuscaloosa, AL 35401                                               24      9/8/2016        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00


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                                                                                                         Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
PFEIFER, CHERYL
2121 BALLYCASTLE DRIVE
ARLINGTON, TX 76017-4512                       736     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Pfizer Inc.
Stephanie M. Haggerty
Senior Corporate Counsel
235 East 42nd Street (235/25/21)
New York, NY 10017                             145     10/27/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
Pfizer Inc.
Stephanie M. Haggerty
Senior Corporate Counsel
235 East 42nd Street (235/25/21)
New York, NY 10017                             153     10/27/2016          Tierra Solutions, Inc.                                   $0.00                                                      $0.00                                                                         $0.00
Pharmacia LLC
John F. Gullace, Esquire
Manko, Gold, Katcher & Fox, LLP
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                          371     10/31/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
Pharmacia LLC
John F. Gullace, Esquire
Manko, Gold, Katcher & Fox, LLP
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                          404     10/31/2016          Tierra Solutions, Inc.                                   $0.00                                                      $0.00                                                                         $0.00
Pharmacia LLC
Seyfarth Shaw LLP
Attn: William L. Prickett
2 Seaport Lane #300
Boston, MA 02210                               195     10/28/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
Pharmacia LLC
Seyfarth Shaw LLP
Attn: William L. Prickett
2 Seaport Lane #300
Boston, MA 02210                               288     10/28/2016       Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
Pharmacia LLC
Seyfarth Shaw LLP
Attn: William L. Prickett
2 Seaport Lane #300
Boston, MA 02210                               289     10/28/2016 Maxus International Energy Company                                                                                           $0.00                                                                         $0.00
Phillips, Charles N
114 Myrtle Lane
Onalaska, TX 77360                             484     1/17/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PHIPPS, GARY L
312 ASTILBE COURT
BEAR, DE 19701                                 652     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Pickel, Peggy D
23431 Banks Mill Drive
New Caney, TX 77357-1578                       1085    1/31/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
PIERCE, PEGGY J
RR 2 BOX 111
BALKO, OK 73931-9802                           1988    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PIERCE, THEODORE
139 LAKESIDE DR
MONTGOMERY, TX 77356-9031                      900     1/27/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Pietrantonio, Ralph
51 Zephyr Rd
Trumbull, CT 06611-2207                        1378     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Pinkney, Albert L
8030 Gladstone Street
Houston, TX 77051-1560                         609     1/24/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Pinkney, Albert L
8030 Gladstone Street
Houston, TX 77051-1560                         610     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Pinkney, Albert L
8030 Gladstone Street
Houston, TX 77051-1560                         611     1/24/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Pinkney, Albert L
8030 Gladstone Street
Houston, TX 77051-1560                         613     1/24/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00



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                Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                   Amount                                                                                     Amount                                                Claim Amount
Pinkney, Albert L
8030 Gladstone Street
Houston, TX 77051-1560                        617     1/24/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Pinkney, Albert L
8030 Gladstone Street
Houston, TX 77051-1560                        618     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PISANI, VICTOR F
P O BOX 8952
MANDEVILLE, LA 70470                          1271     2/2/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
PISANI, VICTOR F
P O BOX 8952
MANDEVILLE, LA 70470                          1273     2/2/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PISANI, VICTOR F
P O BOX 8952
MANDEVILLE, LA 70470                          1308     2/2/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Pisani, Victor F
PO BOX 8952
Mandeville, LA 70470                          1304     2/2/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Pisani, Victor F
PO Box 8952
Mandeville, LA 70470                          1305     2/2/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Pitman, Ellis R
13823 Lantern Lane
Houston, TX 77015                              76     9/20/2016        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Pittenger, Richard T
4720 Yorkshire Lane
Suwanee, GA 30024                             2181    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PLETCHER, BYRON
19549 E 1115 RD
ELK CITY, OK 73644-9504                       1314     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
POCHE, TERRY L
PO BOX 101
HESTER, LA 70743-0101                         1660     2/7/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
POCHE, TERRY L
PO BOX 101
HESTER, LA 70743-0101                         1716     2/7/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
POCHE, TERRY L
PO BOX 101
HESTER, LA 70743-0101                         1717     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
POCHE, TERRY L
PO BOX 101
HESTER, LA 70743-0101                         1733     2/7/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
POCHE, TERRY L
PO BOX 101
HESTER, LA 70743-0101                         1736     2/7/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Pokladnik, Gary R
945 Meadowlark Rd
Ozark, MO 65721-8159                          737     1/25/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Pokladnik, Gary R
945 Meadowlark Rd
Ozark, MO 65721-8159                          738     1/25/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Pokladnik, Gary R
945 Meadowlark Rd
Ozark, MO 65721-8159                          744     1/25/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
POKLADNIK, GARY R
945 MEADOWLARK RD
OZARK, MO 65721-8159                          745     1/25/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
POKLADNIK, GARY R
945 MEADOWLARK RD
OZARK, MO 65721-8159                          749     1/25/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Pokorny, Christine A.
7039 Anthony Lane
Parma Hts., OH 44130                          443     11/18/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
POND, KATHY S
1005 IVY AVE
DEER PARK, TX 77536-3223                      1236     2/2/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
POOLE, KENNETH
29 CLAREMONT AVE
JERSEY CITY, NJ 07305-4414                    1298     2/2/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

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                Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                   Amount                                                                                     Amount                                                Claim Amount
Portland State University
c/o Miller Nash Graham & Dunn LLP
Attn: Jeanne Sinnott
111 SW Fifth Ave #3400
Portland, OR 97204                            402     10/31/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Portland State University
c/o Miller Nash Graham & Dunn LLP
Attn: Jeanne Sinnott
111 SW Fifth Ave #3400
Portland, OR 97204                            2768    7/30/2018           Tierra Solutions, Inc.                            $244,379.14                                                                                                                               $244,379.14
POTTS, CARROLL C
4614 OAKMONT CIRCLE
PASADENA, TX 77505-4320                       551     1/20/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
POWELL, CLIFTON EARL
5338 ESPUELA LN
BAYTOWN, TX 77521-2647                        1548     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
POWELL, DONNA F
1121 E PURDUE LANE
DEER PARK, TX 77536-6531                      1564     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
POWELL, DONNA F
1121 E PURDUE LANE
DEER PARK, TX 77536-6531                      2703     8/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
POWELL, H JOSEPH
95 JL POWELL RD 5
WILLARD, NC 28478-9301                        971     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
POWELL, JOHN D
14703 CARSEN BND
CYPRESS, TX 77429                             1590     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PPG Industries, Inc.
c/o Gary Gengel, Esq.
Latham & Watkins LLP
885 Third Avenue
New York, NY 10022                            306     10/31/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
PPG Industries, Inc.
c/o Gary Gengel, Esq.
Latham & Watkins LLP
885 Third Avenue
New York, NY 10022                            336     10/31/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
PPG Industries, Inc.
c/o Gary Gengel, Esq.
Latham & Watkins LLP
885 Third Avenue
New York, NY 10022                            373     10/31/2016       Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
PPG Industries, Inc.
c/o Gary Gengel, Esq.
Latham & Watkins LLP
885 Third Avenue
New York, NY 10022                            381     10/31/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
PRAMIK, KENNETH R
201 COMMONS PARK SOUTH
APT 1502
STAMFORD, CT 06902                            2705     8/2/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
PREBUL, THOMAS
4084 PERIVALE ROAD
MISSISSAUGA, ON L5C 3Z8
CANADA                                        1557     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Prebul, Thomas
4084 Perivale Road
Mississauga, ON L5C 3Z8
Canada                                        1572     2/7/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
PREBUL, THOMAS
4084 PERIVALE ROAD
MISSISSAUGA, ON L5C 3Z8
CANADA                                        1580     2/7/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
PREBUL, THOMAS
4084 PERIVALE ROAD
MISSISSAUGA, ON L5C 3Z8
CANADA                                        1640     2/7/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00



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                  Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                     Amount                                                                                     Amount                                                Claim Amount
Prebul, Thomas
4084 Perivale Road
Mississauga, ON L5C 3Z8
Canada                                          1743     2/7/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
PRESSLY, KIMBERLY ANN
3638 DESERT RUN DR
LA PORTE, TX 77571-7909                         1372     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Pride Energy Company
4641 E. 91st St.
Tulsa , OK 74137                                 68     9/30/2016        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Prince, Joseph W
3106 Hays
Pasadena, TX 77503                              101     10/18/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Prince, Pamela M.
6680 Ross Road
Madison, OH 44057                               1839    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PROCTOR, CARLTON ROYCE
P.O. BOX 1433
DAYTON, TX 77535                                2050    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PROCTOR, CARLTON ROYCE
P.O. BOX 1433
DAYTON, TX 77535                                2745    8/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
PROCTOR, JOHN D
PO BOX 58614
LOUISVILLE, KY 40268-0614                       1315     2/2/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                           2334    2/18/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                           2335    2/18/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                           2336    2/18/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                           2337    2/18/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                           2338    2/18/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                           2339    2/18/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                           2340    2/18/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                           2341    2/18/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                           2342    2/18/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                           2343    2/18/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
PSEG Fossil, LLC
Attn: Philip W. Allogramento III, Esq.
Connell Foley, LLP
56 Livingston Avenue
Roseland, NJ 07068                              399     10/31/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
PSEG Fossil, LLC
Attn: Phillp W. Allogramento III
Connell Foley, LLP
56 Livingston Avenue
Roseland, NJ 07068                              386     10/31/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00




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                 Creditor Name and Address   Claim No. Claim Date            Debtor                                            Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                          Amount                                                                                     Amount                                                Claim Amount
Public Service Electric and Gas Company
Attn: Philip W. Allogramento III
Connell Foley, LLP
56 Livingston Avenue
Roseland, NJ 07068                             390     10/31/2016     Tierra Solutions, Inc.                                                                                         $0.00                                                                         $0.00
Public Service Electric and Gas Company
Attn: Phillip W. Allogremento III, Esq.
Connell Foley, LLP
56 Livingston Avenue
Roseland, NJ 07068                             385     10/31/2016   Maxus Energy Corporation                              $0.00                                                      $0.00                                                                         $0.00
Purdue Pharma Technologies Inc.
James Stewart, Esq.
Lowenstein Sandler LLP
65 Livingston Avenue
Roseland, NJ 07068                             411     11/2/2016      Tierra Solutions, Inc.                                                                                         $0.00                                                                         $0.00
Purdue Pharma Technologies Inc.
James Stewart, Esq.
Lowenstein Sandler LLP
65 Livingston Avenue
Roseland, NJ 07068                             412     11/2/2016    Maxus Energy Corporation                              $0.00                                                      $0.00                                                                         $0.00
Quality Distribution, Inc.
Bonni F. Kaufman
Holland & Knight
800 17th Street, NW
Suite 100
Washington, DC 20006                           232     10/28/2016   Maxus Energy Corporation                              $0.00                                                      $0.00                                                                         $0.00
Quality Distribution, Inc.
Bonni F. Kaufman
Holland & Knight
800 17th Street, NW
Suite 100
Washington, DC 20006                           234     10/28/2016     Tierra Solutions, Inc.                              $0.00                                                      $0.00                                                                         $0.00
QUINONES, DONALD L
143 SCHOLAR RD
GUYTON, GA 31312-6249                          697     1/24/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Quirk, Randy J.
7914 Barstow Drive
Amarillo, TX 79118-8107                        468     12/13/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Rabbe, David
98 Scott Rd
Warick, MD 21912-1241                          142     10/27/2016     Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
Rabbe, David
98 Scott Rd
Warrick, MD 21912-1241                         139     10/27/2016     Tierra Solutions, Inc.                              $0.00                       $0.00                                                                                                        $0.00
RABBE, DAVID E
98 Scott Rd
Warick, MD 21912-1241                          861     1/26/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Rabe, Robert K
P.O. Box 558
Lone Grove, OK 73443                            97     10/19/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
RABORN, CLEHON B
206 FLAGSTONE COURT
LAFAYETTE, LA 70503-5966                       568     1/21/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
RABURN, LISA L
2803 TROON RD
ENNIS, TX 75119-7266                           772     1/24/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
RACKLEY, CARL H
18091 US HIGHWAY 421
WATHA, NC 28478-8488                           1317     2/3/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Rainosek, Beverly
1513 Narcille St
Baytown, TX 77520                              2459    3/16/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
Ramboll Environ
Ramboll Environ US Corporation
4350 North Fairfax Drive
Suite 300
Arlington, VA 22203                             21     8/30/2016      Tierra Solutions, Inc.                        $76,089.35                                                                                                                                $76,089.35




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                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
Ramsey, Hal
104 Willis Dr. Lot 24
Saint Martinville, LA 70582-5101               497     1/18/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
RAMSEY, STEVEN P
1290 MORGAN RD
KELLY, NC 28448                                2709     8/4/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
RANDALL, ALBERT G
56 CIMARRON ESTATES GREEN
OKOTOKS, AB T1S 0A4
Canada                                         1882    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
RANGEL, RAMONA
521 S CLINTON AVE
DALLAS, TX 75208-5918                          2396     3/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Rankin, Betty
56 Castle View Drive
McKees Rocks, PA 15136                         133     10/26/2016         Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
RANKIN, JAMES E
10990 COUNTY ROAD 10
CANADIAN, TX 79014-4926                        1324     2/3/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
RANKIN, JAMES E
10990 COUNTY ROAD 10
CANADIAN, TX 79014-4926                        1328     2/3/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
RANKIN, JAMES E
10990 COUNTY ROAD 10
CANADIAN, TX 79014-4926                        1384     2/3/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
RANKIN, JAMES E
10990 COUNTY ROAD 10
CANADIAN, TX 79014-4926                        1435     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Rankin, Paul L
11020 Mesquite Road
Canadian, TX 79014                             127     10/26/2016       Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
Ray, Gary D
3405 Somerset Ln
Deer Park, TX 77536-5285                       614     1/23/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
RAY, GARY D
3405 SOMERSET LN
DEER PARK, TX 77536-5285                       704     1/23/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
RAY, GARY D
3405 SOMERSET LN
DEER PARK, TX 77536-5285                       709     1/23/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
RAY, GARY D
3405 SOMERSET LN.
DEER PARK, TX 77536-5285                       715     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Ray, Gary D
3405 Somerset Ln.
Deer Park, TX 77536-5285                       710     1/23/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
RAY, GREGORY L
320 COUNTY ROAD 6057
DAYTON, TX 77535-5328                          933     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
RAY, GREGORY L
320 COUNTY ROAD 6057
DAYTON, TX 77535-5328                          935     1/30/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Ray, Gregory L
320 County Road 6057
Dayton, TX 77535-5328                          957     1/30/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
RAY, GREGORY L
320 COUNTY ROAD 6057
DAYTON, TX 77535-5328                          958     1/30/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
RAY, GREGORY L
320 COUNTY ROAD 6057
DAYTON, TX 77535-5328                          959     1/30/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
RECKER, WILLIAM J
2208 WOODSTOCK DR
COLLEYVILLE, TX 76034-4438                     968     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
REDIG, BRUCE R
PO BOX 1154
GILLETTE, WY 82717-1154                        2027    2/13/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00




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REEVES, DOUGLAS LEE
PO BOX 948
PERRYTON, TX 79070-0948                       2362    2/22/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
REHO, STEVEN N
1725 W JACKSON ST
PAINESVILLE, OH 44077-1355                    1533     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
REMINGTON, ROY A
225 BACKLINE RD
JEFFERSON, PA 15344-4234                      1466     2/7/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Remondet, Paul E
39277 Carly Lane
Paulina , LA 70763-2137                       1415     2/6/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Remondet, Paul E
39277 Carly Lane
Paulina , LA 70763-2137                       1417     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Remondet, Paul E
39277 Carly Lane
Paulina , LA 70763-2137                       1419     2/6/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Remondet, Paul E
39277 Carly Lane
Paulina , LA 70763-2137                       1497     2/6/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Remondet, Paul E
39277 Carly Lane
Paulina , LA 70763-2137                       1610     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
RHODES, DAVID C
9318 WALNUT BROOK CT
HOUSTON, TX 77040-7649                        1587     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Rice (Deceased), Bobby
c/o Paula L. Rice
14618 Wadlington Dr.
Houston, TX 77044                             1625     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Rice (Deceased), Bobby
c/o Paula L. Rice
14618 Wadlington Dr.
Houston, TX 77044                             2731    8/11/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Rice, James B
2278 CR 499
Hico, TX 76457                                489     1/18/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
RICE, JOSEPH N
425 FRIENDSHIP RD
CEDARTOWN, GA 30125-4655                      662     1/23/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
RICE, JOSEPH N
425 FRIENDSHIP RD
CEDARTOWN, GA 30125-4655                      695     1/23/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
RICE, JOSEPH N
425 FRIENDSHIP RD
CEDARTOWN, GA 30125-4655                      698     1/23/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
RICE, JOSEPH N
425 FRIENDSHIP RD
CEDARTOWN, GA 30125-4655                      699     1/23/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
RICE, JOSEPH N
425 FRIENDSHIP RD
CEDARTOWN, GA 30125-4655                      702     1/23/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
Richard Mather and Beverly Sowle Ahlstrom
Michelle E. Shriro
Singer & Levick, P.C.
16200 Addison Road
Suite 140
Addison, TX 75001                             173     10/27/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Richard Mather and Beverly Sowle Ahlstrom
Michelle E. Shriro
Singer & Levick, P.C.
16200 Addison Road, Suite 140
Addison, TX 75001                             150     10/27/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
RICHARDS, STEPHEN MARSHALL
140 MAGNOLIA RESERVE LOOP
MAGNOLIA, TX 77354-3862                       2239    2/14/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00




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                                                                                                                            Amount                                                                                     Amount                                                Claim Amount
RICHARDS, STEPHEN MARSHALL
140 MAGNOLIA RESERVE LOOP
MAGNOLIA, TX 77354-3862                                2251    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
RICHARDS, STEPHEN MARSHALL
140 MAGNOLIA RESERVE LOOP
MAGNOLIA, TX 77354-3862                                2253    2/14/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
RICHARDS, STEPHEN MARSHALL
140 MAGNOLIA RESERVE LOOP
MAGNOLIA, TX 77354-3862                                2256    2/14/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
RICHARDS, STEPHEN MARSHALL
140 MAGNOLIA RESERVE LOOP
MAGNOLIA, TX 77354-3862                                2258    2/14/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
RICHEY, PAULA
2306 PARC PL
FLORENCE, AL 35630-1286                                1135    1/30/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
RICHEY, PAULA
2306 PARC PL
FLORENCE, AL 35630-1286                                1170    1/30/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
RICHEY, PAULA
2306 PARC PL
FLORENCE, AL 35630-1286                                1183    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Rigatti, Vincent G.
Hall, Estill, Hardwick, Gable, Golden & Nelson, PC
c/o Steven W. Soulé
Dustin Perry
320 S. Boston Ave., Suite 200
Tulsa, OK 74103                                        2168    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Rigatti, Vincent G.
Steven W. Soulé
Dustin Perry
Hall, Estill, Hardwick, Gable, Golden & Nelson, PC
320 South Boston Avenue, Suite 200
Tulsa, OK 74103-3706                                   2087    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Rigatti, Vincent G.
Steven W. Soulé
Dustin Perry
Hall, Estill, Hardwick, Gable, Golden & Nelson, PC
320 South Boston Avenue, Suite 200
Tulsa, OK 74103-3706                                   2089    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
RIGSBY, FRANK H
2413 S VENICE DR 111
PEARLAND, TX 77581-7510                                1184    1/31/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
RINEHART, GARY P
9313 SAWYER FAY LN
AUSTIN, TX 78748-3107                                  1082    1/31/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Ring, John R
7074 Regalview Cir
Dallas, TX 75248                                        84     10/12/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
RINI, FLORENCE E
2002 N BANCROFT PKWY
WILMINGTON, DE 19806-2204                              2039    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
RINYO, JOSEPH E.
2193 HAINES RD
MADISON, OH 44057                                      2681    7/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Risener, Charles R
4310 County Road 61
Florence, AL 35634-6419                                1687     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
RITONDARO, ROSEMARY
3086 VILLAGE GREEN DR D
WESTLAKE, OH 44145-4582                                2352    2/21/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Roberts County Appraisal District
Perdue, Brandon, Fielder, Collins & Moot, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                2545    3/30/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Roberts County Appraisal District
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                                 45     9/23/2016        Maxus Energy Corporation                                                                $0.00                          $0.00                                                                         $0.00


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                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
ROBERTSON, BARBARA L
2626 WILD GROVE LANE
LANCASTER, TX 75146                         1124    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ROBERTSON, WALTER D
4061 STATE ROUTE 84 EAST
KINGSVILLE, OH 44048-9748                   1158    1/31/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
ROBERTSON, WALTER D
4061 STATE ROUTE 84 EAST
KINGSVILLE, OH 44048-9748                   1160    1/31/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
ROBERTSON, WALTER D
4061 STATE ROUTE 84 EAST
KINGSVILLE, OH 44048-9748                   1178    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ROBERTSON, WALTER D
4061 STATE ROUTE 84 EAST
KINGSVILLE, OH 44048-9748                   1191    1/31/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
ROBERTSON, WALTER D
4061 STATE ROUTE 84 EAST
KINGSVILLE, OH 44048-9748                   1205    1/31/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
ROBINSON, ANNA M
304 SAGE DR
GALENA PARK, TX 77547                       1536     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ROBISON-WATSON, GERALDINE B
2110 MEADOWVIEW COURT
GARLAND, TX 75043-1002                      972     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ROBKER, DOUGLAS EARL
7004 N BELLEFONTAINE AVE
KANSAS CITY, MO 64119-5212                  1521     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
RODEN, ROCKY R
4927 COUNTY ROAD 2161
CENTERVILLE, TX 75833-3433                  1840    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
RODRICK, ROBERT A.
2609 CHAMBRAY LN
MANSFIELD, TX 76063-5841                    1647     2/7/2017        Maxus Energy Corporation                                    $0.00                       $0.00                          $0.00                                                                         $0.00
Rodrick, Robert A.
2609 Chambray Ln.
Mansfield, TX 76063                         1582     2/8/2017        Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
RODRIGUEZ, NICANOR
416 CEDAR MEADOW CIR
AMARILLO, TX 79124-1425                     1917    2/12/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Roebuck, Stanley M
202 Heistersburg Rd
East Millsboro, PA 15433                     47     9/20/2016          Gateway Coal Company                                      $0.00                       $0.00                                                                                                        $0.00
ROLLING, DENISE
18552 VISTA DEL SOL
DALLAS, TX 75287                            1705     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Romo, John A
PO Box 47
Bushland, TX 79012-0047                     533     1/19/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
ROPER, CORNELIUS M
39606 FERDINAND ST
PAULINA, LA 70763                           2307    2/16/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Rose, Ira M
4700 Lucerne Lakes Blvd. W
Apt. 208
Lake Worth, FL 33467                         33     9/12/2016        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
ROSS, DEBRA C
1061 SUNSET DR
KAUFMAN, TX 75142-7841                      1879    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ROSSI, DINO A
PO BOX 193
BENTLEYVILLE, PA 15314-0193                 2324    2/17/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ROTENBERG, HERMAN
571 CORDAY ST.
LAVAL, QC H7W 4T1
CANADA                                      1285     2/1/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
ROUSSEL, KENNETH D
PO BOX 67
HESTER, LA 70743-0067                       1675     2/8/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00


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                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
ROUSSEL, KENNETH D
PO BOX 67
HESTER, LA 70743-0067                          1732     2/8/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
ROUSSEL, KENNETH D
PO BOX 67
HESTER, LA 70743-0067                          1747     2/8/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
ROUSSEL, KENNETH D
PO BOX 67
HESTER, LA 70743-0067                          1780     2/8/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
ROUSSEL, KENNETH D
PO BOX 67
HESTER, LA 70743-0067                          1792     2/8/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
ROUSSEL, MARK A
3572 KENMORE DR
PAULINA, LA 70763-2312                         2006    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
ROWLAND, MELINDA JANE
9354 HIGHEDGE CIR
DALLAS, TX 75238-2585                          802     1/25/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
RSR Corporation
John A. DePaul, Senior VP, Administrative
2777 Stemmons Freeway - Ste. 1800
Dallas, TX 75207                               128     10/26/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
RSR Corporation
John A. DePaul, Senior VP, Administrative
2777 Stemmons Freeway - Ste. 1800
Dallas, TX 75207                               137     10/26/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
RUCK, NANCY E
506 N BRIER PATCH LN 4
MADISON, OH 44057-3161                         1061    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
RUGGIRELLO, JOHN R
62 OCEAN AVENUE
MONMOUTH BEACH, NJ 07750-1351                  1007    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Ruppert, Walter C
115 Sherwood Dr
Cedartown, GA 30125-7141                       928     1/28/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
RUSSELL, JAMES S
6406 HAMPTON DR
AMARILLO, TX 79109                             1053    1/30/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
Russell, James S
6406 Hampton Dr
Amarillo, TX 79109                             1074    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Rutledge, Johnnie
2211 Tonckawa Hills Lane
Brenham, TX 77833                              2630    4/18/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
S & A REALTY ASSOCIATES, INC.
FOX ROTHSCHILD LLP
ATTN: JEFFREY M. POLLOCK
PRINCETON PIKE CORP. CENTER
997 LENOX DRIVE, BUILDING 3
LAWRENCEVILLE, NJ 08648                        174     10/27/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
S & A REALTY ASSOCIATES, INC.
FOX ROTHSCHILD LLP
ATTN: JEFFREY M. POLLOCK
PRINCETON PIKE CORP. CENTER
997 LENOX DRIVE, BUILDING 3
LAWRENCEVILLE, NJ 08648                        301     10/31/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
S & A REALTY ASSOCIATES, INC.
FOX ROTHSCHILD LLP
ATTN: JEFFREY M. POLLOCK
PRINCETON PIKE CORP. CENTER
997 LENOX DRIVE, BUILDING 3
LAWRENCEVILLE, NJ 08648                        383     10/31/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
S & A REALTY ASSOCIATES, INC.
FOX ROTHSCHILD
ATTN: JEFFREY M. POLLOCK, ESQ.
PRINCETON PIKE CORP. CENTER
997 LENOX DRIVE, BUILDING 3
LAWRENCEVILLE, NJ 08648                        175     10/27/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00


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                                                                                                     Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
             Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                Amount                                                                                     Amount                                                Claim Amount
SABIN, HAROLD E
11628 N D ST D
LA PORTE, TX 77571-9120                    1134    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SACKETT, JAMES E
308 HIGHLAND AVE
CONNEAUT, OH 44030                         903     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SAIN, BOBBIE J
20025 CHAPEL POINT LN
CORNELIUS, NC 28031-7053                   1649     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SALAIS, THOMAS A
2408 CREEKS EDGE DR
PEARLAND, TX 77581-4486                    2084    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SALAZAR, RICARDO
1602 JACKSON DR
DEER PARK, TX 77536                        1448     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SALCEDO, ANA MARIA
3603 WAKEFOREST ST
HOUSTON, TX 77098-5509                     1931    2/12/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SALCEDO, ANA MARIA
3603 WAKEFOREST ST
HOUSTON, TX 77098-5509                     2308    2/17/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Salinas, Michele
1319 Highland Dr
Mansfield, TX 76063                        449     11/28/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SALLENG, WILLIAM E
297 FULKERSON RD
HORSE CAVE, KY 42749-8002                  1698     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SAMMONS, PHYLLIS R.
18606 PENINSULA COVE LN
CORNELIUS, NC 28031-7751                   2264    2/15/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
SAMMONS, PHYLLIS R.
18606 PENINSULA COVE LN
CORNELIUS, NC 28031-7751                   2266    2/15/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SAMMONS, PHYLLIS R.
18606 PENINSULA COVE LN
CORNELIUS, NC 28031-7751                   2267    2/15/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
SAMMONS, PHYLLIS R.
18606 PENINSULA COVE LN
CORNELIUS, NC 28031-7751                   2277    2/15/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
SAMMONS, PHYLLIS R.
18606 PENINSULA COVE LN
CORNELIUS, NC 28031-7751                   2288    2/15/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
SAMSON LONE STAR, LLC
CHACE DALEY
2 W. 2ND ST.
TULSA, OK 74103                            108     10/20/2016       Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
SAMSON RESOURCES COMPANY
CHACE DALEY
2 W. 2ND ST.
TULSA, OK 74103                            107     10/20/2016       Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
SANCHEZ, JACOBO S
11418 GNARLWOOD DR
HOUSTON, TX 77089-5328                     1855    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SATTERFIELD, DARALL W
10596 NATURAL GAS RD
STINNETT, TX 79083                         1309     2/3/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
SAUNDERS, ROSS E
6706 FALLING WATERS DR
SPRING, TX 77379-4852                      1883    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SAUNDERS, ROSS E
6706 FALLING WATERS DR
SPRING, TX 77379-4852                      1887    2/10/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
SAVAGE JR, WILLIAM R
1116 PLEASANTDALE RD
KINGWOOD, WV 26537-8469                    1351     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00




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                                                                                                        Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                   Amount                                                                                     Amount                                                Claim Amount
SCCC Site Performing Parties Group
c/o Manko, Gold, Katcher & Fox, LLP
Attn: Todd D. Kantorczyk
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                         2584     4/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
SCCC Site Performing Parties Group
c/o Manko, Gold, Katcher & Fox, LLP
Attn: Todd D. Kantorczyk
401 City Avenue, Suite 901
Bala Cynwyd, PA 19004                         340     10/31/2016          Tierra Solutions, Inc.                                   $0.00                                                      $0.00                                                         $0.00           $0.00
SCCC Site Performing Parties Group
c/o Manko, Gold, Katcher & Fox, LLP
Attn: Todd D. Kantorczyk
401 City Avenue, Suite 901
Bala Cynwyd, PA 19004                         2572     4/3/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
SCCC Site Performing Parties Group
c/o Manko, Gold, Katcher & Fox, LLP
Attn:Todd D. Kantorczyk
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                         2591     4/3/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
SCCC Site Performing Parties Group
Todd D. Kantorczyk, Esq.
Manko, Gold, Katcher & Fox, LLP
401 City Avenue
Suite 901
Bala Cynwyd, PA 19004                         338     10/31/2016 Maxus International Energy Company                                $0.00                                                      $0.00                                                         $0.00           $0.00
SCCC Site Performing Parties Group
Todd D. Kantorczyk, Esq.
Manko, Gold, Katcher & Fox, LLP
401 City Avenue
Suite 901
Bala Cynwyd, PA 19004                         361     10/31/2016       Maxus Energy Corporation                             $243,672.71                                                       $0.00                                                         $0.00     $243,672.71
SCELFO, BERNARD
206 WATER BIRCH LN
YOUNGSVILLE, LA 70592-5148                    1108    1/31/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Scepter Management Corporation, Inc.
Douglas G. Haynam
Shumaker, Loop & Kendrick,LLP
1000 Jackson Street
Toledo, OH 43604                              179     10/28/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Sceptr Management Corporation
Douglas G. Haynam
Shumaker, Loop & Kemdrick, LLP
1000 Jackson Street
Toledo, OH 43604                              180     10/28/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
SCHELLBERG, ALVARD A
14014 NITIDA ST
HOUSTON, TX 77045-5146                        2254    2/15/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Schexnailder, Sandy
934 SE 5th
Grand Prairie, TX 75051                       1787     2/8/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SCHEXNAYDER, JACQUELINE M
P.O. BOX 134
PAULINA, LA 70763                             1489     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SCHMIDT, LILA J
5107 GLADEHILL DR
KINGWOOD, TX 77345-2418                       1528     2/6/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
SCHNEIDER, MORRIS
5053 VALENTIA ST UNIT 105
DENVER, CO 80238-3728                         898     1/27/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SCHNEIDER, SHARON R
684 SORRELL CIR
SMYRNA, DE 19977-4307                         1307     2/2/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SCHOENDORFER, CAROLE D
3790 N RIVER HILLS DR
TUCSON, AZ 85750-2070                         1989    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SCHULTE, JAMES M
4502 CHESAPEAKE PL
AMARILLO, TX 79119-6445                       1339     2/5/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

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                                                                                                                            Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                  Creditor Name and Address                       Claim No. Claim Date                Debtor                                                Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                       Amount                                                                                     Amount                                                Claim Amount
Schulz, Robert A
3430 SW Islesworth Circle
Palm City, FL 34990                                                 620     1/22/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Schwartau, Kurt
7116 Timbers Dr
Evergreen, CO 80439                                                 1975    2/13/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
SCHWARTAU, KURT
7116 TIMBERS DRIVE
EVERGREEN, CO 80439                                                 2133    2/13/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
SCHWARZ, BRIAN
5606 SW 39TH AVE
AMARILLO, TX 79109-5210                                             1216     2/1/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
SCOTT, CATHERINE S
5911 COUNTY ROAD 63
P.O. BOX 572
KILLEN, AL 35645                                                    547     1/20/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
SCOTT, HORMILDA B
305 S BELLEVIEW ST
AMARILLO, TX 79106                                                  2211    2/14/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Scott, Howard O
7896 Dovegate Dr.
Mentor, OH 44060                                                     82     10/12/2016      Maxus Energy Corporation                                   $0.00                       $0.00                                                                                                        $0.00
Seago, Jerrell C.
603 Inwood Drive
Baytown, TX 77521                                                   1929     2/9/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Seago, Jerrell C.
603 Inwood Drive
Baytown, TX 77521                                                   2116    2/13/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Seaton, Joyce F.
402 Paradise Dr
Tiburon, CA 94920                                                    79     10/7/2016       Maxus Energy Corporation                                   $0.00                       $0.00                                                                                                        $0.00
SEBEK, CONSTANCE
15121 NE 27TH AVENUE
VANCOUVER, WA 98686                                                 1534     2/7/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
SEELING, ALAN F
29275 COUNTY ROAD 358A
BUENA VISTA, CO 81211-9632                                          1794     2/8/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Seitel Data, Ltd.
Duane J. Brescia, Strasburger & Price LLP
720 Brazos Street, Suite 700
Austin, TX 78701                                                    199     10/28/2016   Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00
Seitel Offshore Corp., as Venture Manager of Digitel Data Joint
Venture
Strasburger & Price LLP
Duane J. Brescia
720 Brazos Street, Suite 700
Austin, TX 78701                                                    269     10/28/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Seitel, Inc. and its subsidiary, Seitel Data, Ltd.
Duane J. Brescia, Strasburger & Price LLP
720 Brazos Street, Suite 700
Austin, TX 78701                                                    191     10/28/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
SEKKI, RUSSELL R
235 ORCHARD ST
FAIRPORT HARBOR, OH 44077-5534                                      1571     2/7/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
SELLITTO, MARY A
22 HANOVER AVE
WHIPPANY, NJ 07981-1843                                             1276     2/1/2017       Maxus Energy Corporation                                   $0.00                       $0.00                                                                                                        $0.00
SENTMAN, LARRY W
23 ERMINE LANE
NEW CASTLE, DE 19720                                                1399     2/3/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
Sequa Corporation
c/o Gary Gengel, Esq.
Latham & Watkins LLP
885 Third Avenue
New York, NY 10022                                                  253     10/28/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00




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                                                                                                               Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                  Creditor Name and Address        Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                          Amount                                                                                     Amount                                                Claim Amount
Sequa Corporation
Gary Gengel, Esq.
Latham & Watkins LLP
885 Third Avenue
New York, NY 10022                                   222     10/27/2016          Tierra Solutions, Inc.                                   $0.00                                                      $0.00                                                                         $0.00
Sequa Corporation
Gary P. Gengel, Esq.
c/o Latham & Watkins, LLP
885 Third Avenue
New York, NY 10022-4834                              213     10/27/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
Sequa Corporation
Gary P. Gengel, Esq.
c/o Latham & Watkins, LLP
885 Third Avenue
New York, NY 10022-4834                              263     10/28/2016       Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
Shaffer, Rita J
257 Thompson 1 Road
Adah, PA 15410                                        27     9/12/2016          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Shaw, William L.
630 Pecanwood Road
Charlotte, NC 28214                                  512     1/19/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SHEETS, S B
PO BOX 238
SPEARMAN, TX 79081                                   1766     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Sheridan, Robert A
830 Meadow Ave
Scranton, PA 18505-2534                              1514     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Sherman County
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                               69     9/23/2016        Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
Sherman County
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                              2546    3/30/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Sherman County Appraisal District
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                               67     9/23/2016        Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
Sherman County Appraisal District
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                              2543    3/30/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Sherrill, Sylvia
315 County Road 2261
Valley View, TX 76272-6389                           1592     2/7/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Sherrill, Sylvia
315 County Road 2261
Valley View, TX 76272-6389                           1657     2/7/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
SHERRILL, SYLVIA C
315 COUNTY ROAD 2261
VALLEY VIEW, TX 76272-6389                           1380     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SHERRILL, SYLVIA C
315 COUNTY ROAD 2261
VALLEY VIEW, TX 76272-6389                           1706     2/7/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
SHERRILL, SYLVIA C
315 COUNTY ROAD 2261
VALLEY VIEW, TX 76272-6389                           1727     2/7/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
SHETINA, ANTHONY
152 CHAUCER CT
WORTHINGTON, OH 43085-3905                           1912    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SHETINA, ANTHONY
152 CHAUCER CT
WORTHINGTON, OH 43085-3905                           1916    2/10/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
SHETINA, ANTHONY
152 CHAUCER CT
WORTHINGTON, OH 43085-3905                           2018    2/11/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00




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                                                                                                       Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
               Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
Shetina, Anthony E
678 Second Street #1
Fair Port Harbor, OH 44077                   2005    2/10/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Shetina, Anthony E.
678 Second Street #1
Fair Port Harbor, OH 44077                   2028    2/11/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Shields, Scott Morgan
27502 Meeks Bay CT
Katy, TX 77494                               582     1/23/2017        Maxus Energy Corporation                                                                $0.00                          $0.00                                                                         $0.00
SHIPMAN, CAROLYN CHAMBERS
1705 THROWBRIDGE LANE
PLANO, TX 75023-7429                         1704     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Shipp, James G.
1557 FM 449
Longview, TX 75605-7430                      1645     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SHIRLEY, BILLIE R
921 N UNION RD
STILLWATER, OK 74075-8720                    2357    2/22/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SHIVER, BEVERLY S
20 LOGAN RD
CASTLE HAYNE, NC 28429-5617                  2095    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SHOLAR, DELORIUS F
794 ANGOLA BAY RD
WALLACE, NC 28466-7126                       2129    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Shoulders, Cynthia
5779 Epworth Rd.
Newburgh, IN 47630                           457     11/30/2016       Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SIEGEL, ELISA
4601 N. PARK AVE., #1813
CHEVY CHASE, MD 20815-4546                   458     11/30/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SILLANPA, MARGARET I
43 MILL MORR DR
PAINESVILLE, OH 44077                        2210    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SIMPSON, JOANNA WHALEY
2123 SOUTH FORK AVE
AMARILLO, TX 79118-5201                      1027    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SIMPSON, THOMAS ROBERT
2123 SOUTH FORK AVE
AMARILLO, TX 79118-5201                      1008    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SINGH, LISA J
473 GEORGETOWN DR
APT B
LEBANON, OH 45036-1771                       2136    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
SINGH, LISA J
473 GEORGETOWN DR
APT B
LEBANON, OH 45036-1771                       2198    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
SINGH, LISA J
473 GEORGETOWN DR
APT B
LEBANON, OH 45036-1771                       2199    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Singleton, Carl E.
4414 Navajo St.
Pasadena, TX 77504-3422                      781     1/25/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SINGLETON, CARL E.
4414 NAVAJO ST.
PASADENA, TX 77504-3422                      819     1/25/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
SINGLETON, CARL E.
4414 NAVAJO ST.
PASADENA, TX 77504-3422                      832     1/25/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
SINGLETON, CARL E.
4414 NAVAJO ST.
PASADENA, TX 77504-3422                      833     1/25/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
SINGLETON, CARL E.
4414 NAVAJO ST.
PASADENA, TX 77504-3422                      839     1/25/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
SINGLETON, JACQUELINE D
16603 QUIET QUAIL DR
MISSOURI CITY, TX 77489-5407                 1669     2/8/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00

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                                                                                                       Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
SIVULA, A LUCILLE
1131 DALTON DR
PAINESVILLE, OH 44077-5225                   1038    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SIVULA, A LUCILLE
1131 DALTON DR
PAINESVILLE, OH 44077-5225                   1041    1/30/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
SIVULA, A LUCILLE
1131 DALTON DR
PAINESVILLE, OH 44077-5225                   1047    1/30/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
SIVULA, A LUCILLE
1131 DALTON DR
PAINESVILLE, OH 44077-5225                   1073    1/30/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
SIVULA, A LUCILLE
1131 DALTON DR
PAINESVILLE, OH 44077-5225                   1132    1/30/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
SKAGGS, MERTON M
1585 LAND FALL CIR
BARTONVILLE, TX 76226-8420                   2353    2/22/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
SKAGGS, MERTON M
1585 LAND FALL CIR
BARTONVILLE, TX 76226-8420                   2360    2/22/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SKEES, JAMES L
101 W PARK AVE
ST MARY'S, KS 66536                          1886    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Skipper, Joseph L
7505 Elmhurst
Amarillo, TX 79121                            28     9/13/2016        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SLATER, STEVEN R.
3038 N NORTHWEST DR
HOBBS, NM 88240-1721                         2638     5/3/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SLAVIK, GERALD JOSEPH
14330 W 89TH ST
LENEXA, KS 66215-2945                        601     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SLAVIK, GERALD JOSEPH
14330 W 89TH ST
LENEXA, KS 66215-2945                        1171    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Slezak, Mark
2103 Crystal River Dr
Kingwood, TX 77345-1615                      1306     2/2/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SLOAN, PEGGY A
7612A BRIDGES AVE
RICHLAND HILLS, TX 76118                     2141    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SLOCKI, ALLEN T.
6268 FERNSTONE TRAIL NW
ACWORTH, GA 30101-3580                       586     1/21/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
SMITH, DEBORAH J
1524 E 221ST ST E
EUCLID, OH 44117-1509                        665     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SMITH, HELEN S
4321 S MONROE ST
AMARILLO, TX 79110                           2035    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SMITH, J REID
1280 S PARAHAM RD
YORK, SC 29745                               691     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SMITH, JAMES C
2920 LIGHTHOUSE DR
FRISCO, TX 75034-3223                        2520    3/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SMITH, JAMES P
26 LYCIUM QUAYS
STIRLING, WA 4021
AUSTRALIA                                    717     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SMITH, JAMES P
26 LYCIUM QUAYS
STIRLING, WA 4021
AUSTRALIA                                    2535    3/29/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
SMITH, JOHN
1280 S PARAHAM RD
YORK, SC 29745-7415                          727     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00


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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
SMITH, KEVIN L
7200 MILLARD POND DR
MCKINNEY, TX 75071-4628                      671     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Smith, Kristina D.
1226 Porto Pt.
New Braunfels, TX 78132                      1604     2/8/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Smith, Mark F.
304 Galeton Ct.
Greer, SC 29651-2320                         2065    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SMITH, MARSHALL G
10 PLUM COVE COURT
THE WOODLANDS, TX 77381                      2672    7/25/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
SMITH, MARSHALL G
10 PLUM COVE COURT
THE WOODLANDS, TX 77381                      2673    7/25/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
Smith, Marshall G.
10 Plum Cove Court
The Woodlands, TX 77381                      2671    7/25/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
Smith, Marshall G.
10 Plum Cove Court
The Woodlands, TX 77381                      2674    7/25/2017          Gateway Coal Company                                                                                                                                                               $0.00           $0.00
Smith, Marshall G.
10 Plum Cove Court
The Woodlands, TX 77381                      2675    7/25/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
Smith, Nonnie
2802 San Pedro Ct
Youngstown, OH 44511                         1838    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SMITH, RANDY H
6724 WAKEHURST RD
CHARLOTTE, NC 28226-5566                     2214    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SMITH, ROOSEVELT
16035 MILLERS LANDING LANE
HOUSTON, TX 77049                            2157    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Smith, Stephine L
725 Phillips Dr
Dumas, TX 79029-5325                         1697     2/7/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Smith, Stephnie L
725 Phillips Dr
Dumas, TX 79029-5325                         1599     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SMITH, STEPHNIE L
725 PHILLIPS DR
DUMAS, TX 79029-5325                         1731     2/7/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
SMITH, STEPHNIE L
725 PHILLIPS DR
DUMAS, TX 79029-5325                         1734     2/7/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
SMITH, STEPHNIE L
725 PHILLIPS DR
DUMAS, TX 79029-5325                         1735     2/7/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
SMITHART, DEBBIE LYNN
84 RIVER BIRCH WAY
GREER, SC 29650-4657                         1894    2/10/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
SMITHART, DEBBIE LYNN
84 RIVER BIRCH WAY
GREER, SC 29650-4657                         1898    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SMITHART, DEBBIE LYNN
84 RIVER BIRCH WAY
GREER, SC 29650-4657                         1900    2/10/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Smoot, Bobby B
351 PRIVATE ROAD 5567 1560
ALBA, TX 75410-3790                          1283     2/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Snider, James Mark
14551 Broadgreen
Houston, TX 77079                            1663     2/8/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
SNIDER, JAMES MARK
14551 BROADGREEN DR
HOUSTON, TX 77079-6505                       1769     2/8/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
SNIDER, JAMES MARK
14551 BROADGREEN DR
HOUSTON, TX 77079-6505                       1779     2/8/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00

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                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
Snider, James Mark
14551 Broadgreen Dr.
Houston, TX 77079                              1778     2/8/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Snider, James Mark
14551 Broadgreen Drive
Houston, TX 77079                              1783     2/8/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Snider, James Mark
14551 Broadgreen
Houston, TX 77079                              1662     2/7/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Snider, James Mark
14551 Dairy Ashford
Houston, TX 77079                              1658     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SNOW, WANDA M
PO BOX 472
GRANITE, OK 73547-0472                         1045    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SNUG, MICHAEL A
2031 CARDIGAN DR
AIKEN, SC 29803-3758                           904     1/27/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Sojitz Energy Venture, Inc.
Robin B. Cheatham
Adams and Reese LLP
701 Poydras Street, Suite 4500
New Orleans, LA 70139                          126     10/26/2016    Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Sojitz Energy Venture, Inc.
Robin B. Cheatham
Adams and Reese LLP
701 Poydras Street, Suite 4500
New Orleans, LA 70139                          463     12/5/2016     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                    $0.00           $0.00
Solomon, Timothy Dale
19914 Hanna Nash
Crosby, TX 77532                               500     1/19/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SONTAG, DENISE
202 WATERWOOD DR
WYLIE, TX 75098-7475                           1335     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SORRELS, EARLINE M
221 MAPLE ST
HIGHLANDS, TX 77562-2569                       883     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SORRELS, EARLINE M
221 MAPLE ST
HIGHLANDS, TX 77562-2569                       1261    1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SOSA, MELISSA
642 ARBOL APT D13
IRVING, TX 75039-3210                          763     1/25/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SOWMA, JERRY
15172 RED BANK RD
BREMOND, TX 76629-5312                         2306    2/16/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SPEER, DAVID G
1107 LAKE FRASER CT
CALGARY, AB T2J 7G4
CANADA                                         1853    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SPEIDELL, WALTER A
3512 SHORELINE DR
PORTSMOUTH , VA 23703-4032                     725     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Spell, Larry J.
28487 Huffman Cleveland Rd
Huffman, TX 77336-3801                         1845    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Spell, Larry J.
28487 Huffman Cleveland Rd
Huffman, TX 77336-3801                         1846    2/10/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Spell, Larry J.
28487 Huffman Cleveland Rd
Huffman, TX 77336-3801                         1847    2/10/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Spell, Larry J.
28487 Huffman Cleveland Rd
Huffman, TX 77336-3801                         1915    2/10/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Spell, Larry J.
28487 Huffman Cleveland Rd
Huffman, TX 77336-3801                         2162    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00



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                                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
Spell, Larry J.
28487 Huffman Cleveland Rd
Huffman, TX 77336-3801                                      2165    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Spell, Larry J.
28487 Huffman Cleveland Rd
Huffman, TX 77336-3801                                      2194    2/13/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Spell, Larry J.
28487 Huffman Cleveland Rd
Huffman, TX 77336-3801                                      2195    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Spell, Larry J.
28487 Huffman Cleveland Rd
Huffman, TX 77336-3801                                      2196    2/13/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
Spell, Larry J.
28487 Huffman Cleveland Road
Huffman, TX 77336-3801                                      1921    2/10/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
SPHAR, JOYCE E
79 DEERWOOD LN
TERRA ALTA, WV 26764                                        2718     8/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
SPILMAN, KATHY D
1509 CLEVELAND DR
DEER PARK, TX 77536-6414                                    2052    2/13/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
SPILMAN, KATHY D
1509 CLEVELAND DR
DEER PARK, TX 77536-6414                                    2059    2/13/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
SPILMAN, KATHY D
1509 CLEVELAND DR
DEER PARK, TX 77536-6414                                    2061    2/13/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Spilman, Kathy D
1509 Cleveland Dr.
Deer Park, TX 77536                                         1976    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Spilman, Kathy D
1509 Cleveland Drive
Deer Park, TX 77536                                         2040    2/13/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Spriggs, Alan K.
10615 South Morningview
Santa Fe, TX 77510-7951                                     503     1/18/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Stacey, Alan J.
20522 Black Spur Ct.
Richmond, TX 77406                                          1084    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
STAHA, JOSEPH A
1011 PAPAYA CV
HUTTO, TX 78634-2200                                        1058    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
STALZER, WALTER E
6211 CHASE DR
MENTOR, OH 44060-3601                                       1524     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Standard Chlorine Chemical Company Superfund Site Trust
c/o De Maximis, Inc.
450 Montbrook Lane
Knoxville, TN 37919                                         249     10/31/2016 Maxus International Energy Company                                                            $0.00                          $0.00                                                                         $0.00
Standard Chlorine Chemical Company Superfund Site Trust
c/o de maximis, inc.
450 Montbrook Lane
Knoxville, TN 37919                                         329     10/31/2016          Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
Standard Chlorine Chemical Company Superfund Site Trust
c/o de maximis, inc.
450 Montbrook Lane
Knoxville, TN 37919                                         367     10/31/2016       Maxus Energy Corporation                             $243,622.71                                                       $0.00                          $0.00                                    $243,622.71
Stanley Black & Decker, Inc.
Andrew L. Kolesar, Esq.
Thompson Hine LLP
312 Walnut Street, 14th Floor
Cincinnati, OH 45202                                        380     10/31/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
Stanley Black & Decker, Inc.
Andrew L. Kolesat, Esq.
Thompson HIne LLP
312 Walnut Street, 14th Floor
Cincinnati, OH 45202                                        370     10/31/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00




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                                                                                                                              Amount                                                                                     Amount                                                Claim Amount
Stanley, Charles B.
c/o Steven W. Soule, Dustin Perry
Hall, Estill, Hardwick, Gable, Golden & Nelson, PC
320 S. Boston Ave
Suite 200
Tulsa, OK 74103-3706                                     2003    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Stanley, Charles B.
c/o Steven W. Soule, Dustin Perry
Hall, Estill, Hardwick, Gable, Golden & Nelson, PC
320 S. Boston Ave
Suite 200
Tulsa, OK 74103-3706                                     2041    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
Stanley, Charles B.
Steven W. Soulé
320 S. Boston Ave., Suite 200
Tulsa, OK 74103-3706                                     2055    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
State of California
Bankruptcy Section MS A340
Franchise Tax Board
PO Box 2952
Sacramento, CA 95812-2952                                2501    3/23/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
State of California
Bankruptcy Section MS A340
Franchise Tax Board
PO Box 2952
Sacramento, CA 95812-2952                                2518    3/21/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
State of California
Bankruptcy Section MS A340
Franchise Tax Board
PO box 2952
Sacramento, CA 95812-2952                                2519    3/21/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
State of New Jersey - Division of Taxation
PO Box 245
Trenton, NJ 08695                                        123     10/25/2016       Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
State of New Jersey Division of Taxation
PO Box 245
Trenton, NJ 08695                                        122     10/25/2016          Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
State of Ohio, Ohio Department of Natural Resources
c/o Michael E. Idzkowski
Ohio Attorney General's Office
Environmental Enforcement Section
30 East Broad Street, 25th Floor
Columbus, OH 43215                                       471     12/15/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
State of Ohio, Ohio Environmental Protection Agency
c/o Michael E. Idzkowski
Ohio Attorney General's Office
Environmental Enforcement Section
30 East Broad Street, 25th Floor
Columbus , OH 43215                                      470     12/15/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
State of Ohio, Ohio Environmental Protection Agency
c/o Michael E. Idzkowski
Ohio Attorney General's Office
Environmental Enforcement Section
30 East Broad Street, 25th Floor
Columbus, OH 43215                                       469     12/15/2016       Maxus Energy Corporation                          $25,000,000.00                                                                                                                             $25,000,000.00
State of Wisconsin - Department of Natural Resources
Theresa (Esa) M. Anzivino, Dept. of Justice
P.O. Box 7857
Madison, WI 53707                                         80     10/11/2016       Maxus Energy Corporation                           $5,000,000.00                                                                                                                              $5,000,000.00
Stauffer, Carole B
7101 Tremont Lane
Rowlett, TX 75089                                        2069    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
STEELE, DENNIS L
31 OUTERVALE PL
SPRING, TX 77381-4304                                    1288     2/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
STEELE, DENNIS L
31 OUTERVALE PL
SPRING, TX 77381-4304                                    1289     2/1/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00



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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
STEELE, EUGENE
204 CENTER ST
WHITESBORO, TX 76273-1704                    1403     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
STEFFEK, DOUGLAS A
1705 N PARK SIDE DR
DEER PARK, TX 77536-5433                     1644     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
STEPHEN, KIRSTEN M
3407 GARY LN
SPRING, TX 77380-1211                        690     1/23/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
Stephon, John
27 Yeates Dr
New Castle, DE 19720                          30     9/12/2016        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
STERN, LLOYD H.
7908 FT. SMALLWOOD RD.
CURTIS BAY, MD 21226-1908                    1890    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
STERN, LLOYD H.
7908 FT. SMALLWOOD RD.
CURTIS BAY, MD 21226-1908                    2689    7/28/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
STEVENSON, HENRY
PO BOX 1857
BAYTOWN, TX 77522-1820                       670     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Stewart, Mark Ray
24718 Valleylight Drive
Katy, TX 77494                               881     1/27/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
STEWART, MARK RAY
24718 VALLEYLIGHT DRIVE
KATY, TX 77494                               893     1/27/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Stock, Bradley Eugene
1448 Tina Dr. #223
Navarre, FL 32566                            481     12/28/2016       Maxus Energy Corporation                             $195,000.00                        $0.00                                                                                                  $195,000.00
Stock, Bradley Eugene
1448 Tina Dr. #223
Navarre, FL 32566                            483     1/12/2017        Maxus Energy Corporation                             $185,000.00                        $0.00                                                                                                  $185,000.00
Stock, Bradley Eugene
1448 Tina Dr. #223
Navarre, FL 32566                            1180    1/31/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
STOCKER, JULIA
7319 HOPKINS RD
MENTOR, OH 44060-6427                        887     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
STOLLINGS, DEBBIE ANN
1010 ROSENDA LN
AMARILLO, TX 79124                           866     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
STOWERS, REXAL L
2721 ASHBURY LANE
CANTONMENT, FL 32533                         1137    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
STOWERS, REXAL L
2721 ASHBURY LANE
CANTONMENT, FL 32533                         1138    1/31/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
STOWERS, REXAL L
2721 ASHBURY LANE
CANTONMENT, FL 32533                         1139    1/31/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
STOWERS, REXAL L
2721 ASHBURY LANE
CANTONMENT, FL 32533                         1146    1/31/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
STOWERS, REXAL L
2721 ASHBURY LANE
CANTONMENT, FL 32533                         1224    1/31/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
STRAW, DEAN W
4102 RUSTIC LN
CARROLLTON, TX 75007                         2111    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
STRAW, DEAN W
4102 RUSTIC LN
CARROLLTON, TX 75007                         2164    2/13/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
STRAW, DEAN W
4102 RUSTIC LN
CARROLLTON, TX 75007                         2172    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
STRAW, DEAN W
4102 RUSTIC LN
CARROLLTON, TX 75007                         2183    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00

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                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
STRAW, DEAN W
4102 RUSTIC LN
CARROLLTON, TX 75007                             2188    2/13/2017         Gateway Coal Company                                                                 $0.00                                                                                                        $0.00
STREKAL, GERALD J
2 STONEHENGE DR
MEDFORD, NJ 08055                                894     1/27/2017        Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
STUBBINGS, JOHN D
3701 CORAL REEF DR
SEABROOK, TX 77586                               1044    1/30/2017        Maxus Energy Corporation                                                              $0.00                                                                                                        $0.00
STULTS, MARTIN
454 STALLION SPRINGS DR
FISCHER, TX 78623                                2311    2/17/2017        Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
STULTS, MARTIN
454 STALLION SPRINGS DR
FISCHER, TX 78623                                2682    7/27/2017        Maxus Energy Corporation                                  $0.00                                                                                                                    $0.00           $0.00
Stutts, Michael
5 Greenway Plz Ste 110
Houston, TX 77046-0521                           1953    2/13/2017        Maxus Energy Corporation                                  $0.00                       $0.00                                                                                                        $0.00
STWB Inc.
c/o William E. Kelleher, Jr.
Cohen & Grigsby, P.C.
625 Liberty Avenue
Pittsburgh, PA 15222-3152                        181     10/28/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
STWB Inc.
c/o William E. Kelleher, Jr., Esq.
Cohen & Grigsby, P.C.
625 Liberty Avenue
Pittsburgh, PA 15222-3152                        178     10/28/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00
SULLIVAN, THOMAS A
10767 VILLAGER RD APT D
DALLAS, TX 75230-3944                            689     1/24/2017        Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
SUMMERS, ROGER L
183 BERRY RD
SCOTTOWN, OH 45678-9602                          1408     2/3/2017        Maxus Energy Corporation                                                              $0.00                                                                                                        $0.00
Sun Chemical Corporation
c/o Warren Faure, Esq.
35 Waterview Boulevard
Parsippany, NJ 07054                              86     10/14/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00
Sun Chemical Corporation
Warren W. Faure, Esq.
35 Waterview Boulevard
Parsippany, NJ 07054                              85     10/14/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
Sun Pipe Line Company
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                 347     10/31/2016       Maxus Energy Corporation                                                                                             $0.00                                                                         $0.00
Sun Pipe Line Company
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                 354     10/31/2016 Maxus International Energy Company                                                                                         $0.00                                                                         $0.00
Sun Pipe Line Company
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                 358     10/31/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
Sun Pipe Line Company
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                 416     11/4/2016        Maxus Energy Corporation                                                                                             $0.00                                                                         $0.00




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                                                                                                                    Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address              Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                               Amount                                                                                     Amount                                                Claim Amount
Sun Pipe Line Company
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                          426     11/4/2016           Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
Sun Pipe Line Company
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                          427     11/4/2016    Maxus International Energy Company                                                                                         $0.00                                                                         $0.00
Sunoco, Inc. (R&M) f/k/a Sun Refining & Marketing Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                          261     10/31/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
Sunoco, Inc. (R&M) f/k/a Sun Refining & Marketing Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                          266     10/31/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Sunoco, Inc. (R&M) f/k/a Sun Refining & Marketing Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                          334     10/31/2016 Maxus International Energy Company                                                                                           $0.00                                                                         $0.00
Sunoco, Inc. (R&M) f/k/a Sun Refining & Marketing Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                          423     11/4/2016        Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
Sunoco, Inc. (R&M) f/k/a Sun Refining & Marketing Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                          424     11/4/2016           Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
Sunoco, Inc. (R&M) f/k/a Sun Refining & Marketing Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                          425     11/4/2016    Maxus International Energy Company                                                                                         $0.00                                                                         $0.00
Sunoco, Inc. f/k/a Sun Oil Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                          333     10/31/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Sunoco, Inc. f/k/a Sun Oil Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                          335     10/31/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
Sunoco, Inc. f/k/a Sun Oil Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                          341     10/31/2016 Maxus International Energy Company                                                                                           $0.00                                                                         $0.00




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                                                                                                         Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
Sunoco, Inc. f/k/a Sun Oil Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                               420     11/4/2016        Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
Sunoco, Inc. f/k/a Sun Oil Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                               421     11/4/2016           Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
Sunoco, Inc. f/k/a Sun Oil Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                               422     11/4/2016    Maxus International Energy Company                                                                                         $0.00                                                                         $0.00
SWAILS, BETTY J
4241 LANE ROAD
PERRY, OH 44081-9301                           1819     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Sweeney, Anne
3400 Wooster Rd, Apt 501
Rocky River, OH 44116                          210     10/29/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Sweeney, Anne
3400 Wooster Rd, Apt 501
Rocky River, OH 44116                          255     10/29/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Sweeney, Anne
3400 Wooster Rd, Apt 501
Rocky River, OH 44116                          256     10/29/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Sweeney, Anne
3400 Wooster Rd, Apt 501
Rocky River, OH 44116                          297     10/29/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SWEET, WENDY J
17318 ASPEN CT 318
STANHOPE, NJ 07874-2798                        1322     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SWEITZER, CURT J
2700 COWAN BLVD APT 325
FREDERICKSBURG, VA 22401                       938     1/27/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SWINK, TRAVIS D
1110 WILMETH DR
SPEARMAN, TX 79081                             1355     2/3/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Tarver, Marva
655 Senda
Irving, TX 75039                               764     1/25/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Tate & Lyle Ingredients Americas LLC
John R. Holsinger, Esq.
John R. Holsinger LLC
1 University Plaza
Suite 611
Hackensack, NJ 07061                            96     10/19/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Tate & Lyle Ingredients Americas LLC
John R. Holsinger, Esq.
John R. Holsinger LLC
Two University Plaza Suite 300
Suite 611
Hackensack, NJ 07601                            95     10/19/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
TAYLOR, CYNTHIA W
9811 BREUK LN
AMARILLO, TX 79119                             1454     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
TAYLOR, JOHN
234 RS COUNTY ROAD 3332
EMORY, TX 75440-4699                           1217     2/1/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
TAYLOR, JOHN D
4150 HERRING RD
KINGWOOD, WV 26537-8419                        2107    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
TAYLOR, MICHAEL RAND
2121 HICKORY MANOR DR
HUFFMAN, TX 77336-2625                         2103    2/13/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00

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                                                                                                                           Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                  Creditor Name and Address                    Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                      Amount                                                                                     Amount                                                Claim Amount
TAYLOR, MICHAEL RAND
2121 HICKORY MANOR DR
HUFFMAN, TX 77336-2625                                           2122    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Taylor, Michael Rand
2121 Hickory Manor Dr
Huffman, TX 77336-2625                                           2123    2/13/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
TAYLOR, MICHAEL RAND
2121 HICKORY MANOR DR
HUFFMAN, TX 77336-2625                                           2124    2/13/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
TAYLOR, MICHAEL RAND
2121 HICKORY MANOR DR
HUFFMAN, TX 77336-2625                                           2191    2/13/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
TAYLOR, RONALD W
405 W FORREST LN
DEER PARK, TX 77536-4021                                         1758     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
TEBOE, DENNIS L
14932 WALKER RD
CONROE, TX 77302-6668                                            2219    2/14/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
TEGOWSKI, EVA
11310 BUTTERNUT RD
CHARDON, OH 44024-9386                                           949     1/28/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
TEICHMER, SANDRA
2865 ALICE ST
WHITEHALL, MI 49461                                              581     1/21/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
TEMPLE, RICHARD SCOTT
2445 N GOWER ST
LOS ANGELES, CA 90068-2257                                       2063    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
TENEYCK, DAVID
2516 FOSSIL TRACE CT
GOLDEN, CO 80401                                                 447     11/23/2016       Maxus Energy Corporation                              $25,486.66                        $0.00                                                                                                   $25,486.66
TestAmerica Laboratories, Inc.
4101 Shuffel St NW
North Canton, OH 44720                                            16     8/16/2016           Tierra Solutions, Inc.                             $41,480.00                                                                                                                                $41,480.00
Teva Pharmaceuticals USA, Inc. (f/k/a Biocraft Laboratories,
Inc.)
Proskauer Rose LLP
Attn: Gail S. Port, Esq.
Eleven Times Square
New York, NY 10036-8299                                          209     10/27/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
Teva Pharmaceuticals USA, Inc. (f/k/a Biocraft Laboratories,
Inc.)
Proskauer Rose LLP
Attn: Gail S. Port, Esq.
Eleven Times Square
New York, NY 10036-8299                                          224     10/27/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
Texaco Inc.
Mark Pfeiffer, Esq.
Buchanan Ingersoll & Rooney PC
50 S. 16th St., Ste. 3200
Philadelphia, PA 19102                                           200     10/28/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
Texaco Inc.
Mark Pfeiffer, Esq.
Buchanan Ingersoll & Rooney PC
50 S. 16th St., Ste. 3200
Philadelphia, PA 1920                                            218     10/28/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
Texas Comptroller of Public Accounts
Office of the Attorney General- Bankruptcy & Collections
Division
P.O. Box 12548, MC-008
Austin, TX 78711                                                  37     9/12/2016    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Texas Comptroller of Public Accounts
Office of the Attorney General
Bankruptcy & Collections Division
P.O. Box 12548, MC-008
Austin, TX 78711                                                  36     9/12/2016        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00




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                 Creditor Name and Address                  Claim No. Claim Date                Debtor                                                Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
Texas Comptroller of Public Accounts
Office of the Attorney General
Bankruptcy & Collections Division
P.O. Box 12548, MC-008
Austin, TX 78711                                               38     9/12/2016          Tierra Solutions, Inc.                                                              $0.00                                                                                                        $0.00
Texas Comptroller of Public Accounts
Office of the Attorney General
Bankruptcy & Collections Division
P.O. Box 12548, MC-008
Austin, TX 78711                                               39     9/12/2016    Maxus (U.S.) Exploration Company                                                          $0.00                                                                                                        $0.00
Texas Workforce Commission
Office of the Attorney General - Bankruptcy & Collections
Division
P.O. Box 12548, MC-008
Austin, TX 7711-2548                                           3      6/30/2016        Maxus Energy Corporation                                                              $0.00                                                                                                        $0.00
Textron, Inc.
Bonni F. Kaufman
Holland & Knight
800 17th Street, NW
Suite 1100
Washington, DC 20006                                          165     10/28/2016         Tierra Solutions, Inc.                                  $0.00                                                      $0.00                                                                         $0.00
Textron, Inc.
Bonni F. Kaufman
Holland & Knight
800 17th Street, NW
Suite 1100
Washington, DC 20006                                          182     10/28/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00
The Board of Trustees of the University of Illinois
Grants and Contracts Post Award Administration
1901 South First Street, Suite A
Champaign, IL 61820-7406                                      414     11/2/2016          Tierra Solutions, Inc.                           $110,711.82                                                                                                                               $110,711.82
The Dow Chemical Company
C/O Rivkin Radler LLP
Attn: James V. Aiosa
926 RXR Plaza
Uniondale, NY 11556-0926                                      362     10/31/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
The Dow Chemical Company
c/o Rivkin Radler LLP
Attn: James V. Aiosa
926 RXR Plaza
Uniondale, NY 11556-0926                                      375     10/31/2016 Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
The Dow Chemical Company
c/o Rivkin Radler LLP
Attn: James V. Aiosa
926 RXR Plaza
Uniondale, NY 11556-0926                                      376     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
The Essex County Improvement Authority
Mark Pfeiffer, Esq,
Buchanan Ingersoll & Rooney PC
50 S. 16th St., Ste. 3200
Philadelphia, PA 19102                                        349     10/31/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
The Essex County Improvement Authority
Mark Pfeiffer, Esq.
Buchanan Ingersoll & Rooney PC
50 S. 16th St., Ste. 3200
Philadelphia, PA 19102                                        314     10/31/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00
The Hartz Consumer Group, Inc.
Attention: Curtis L. Michael, Vice President
400 Plaza Drive
Secaucus, NJ 07096                                            194     10/28/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00
The Hartz Consumer Group, Inc.
Attention: Curtis L. Michael, Vice President
400 Plaza Drive
Secaucus, NJ 07096                                            286     10/28/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
The Intelligence Group LLC
1545 Route 206 Ste 202
Bedminster, NJ 07921                                          445     11/22/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00




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                                                                                                                 Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                  Creditor Name and Address                    Claim No. Claim Date            Debtor                                            Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                            Amount                                                                                     Amount                                                Claim Amount
The Newark Group, Inc.
David Meezan, Esq.
Kazmarek Mowrey Cloud Laseter LLP
1230 Peachtree St., NE
Suite 3600
Atlanta, GA 30309                                                374     10/31/2016     Tierra Solutions, Inc.                                                                                         $0.00                                                                         $0.00
The Newark Group, Inc.
David Meezan, Esq.
Kazmarek Mowrey Cloud Laseter LLP
1230 Peachtree St., NE
Suite 3600
Atlanta, GA 30309                                                382     10/31/2016   Maxus Energy Corporation                              $0.00                                                      $0.00                                                                         $0.00
The Sherwin-Williams Company
Mark R. Mazanec
Vice President of Environmental, Health, Safety &
Regulatory Affairs
101 West Project Avenue, Midland Building
Cleveland, OH 44115                                              176     10/27/2016   Maxus Energy Corporation                              $0.00                                                      $0.00                                                                         $0.00
The Sherwin-Williams Company
Mark R. Mazanec
Vice President of Environmental, Health, Safety
& Regulatory Affairs
101 West Project Avenue, Midland Building
Cleveland, OH 44115                                              219     10/27/2016     Tierra Solutions, Inc.                              $0.00                                                      $0.00                                                                         $0.00
The Woods Hole Group, Inc.
Attn: Robert Hamilton
107 Waterhouse Road
Bourne, MA 02532                                                 2766    7/10/2018      Tierra Solutions, Inc.                       $100,801.86                                                                                                                               $100,801.86
The Woods Hole Group, Inc.
Attn: Robert Hamilton
107 Waterhouse Road
Bourne, MA 02532                                                 2767    7/11/2018      Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
The Woods Hole Group, Inc.
ATTN: Robert Hamilton
81 Technology Park Drive
East Falmouth, MA 02536                                           49     9/22/2016      Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
Thelma Heller, individually and as Executor of The Estate of
Aldon Heller
Simon Greenstone Panatier Bartlett, PC
3232 McKinney Avenue, Suite 610
Dallas, TX 75204                                                  94     10/18/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
THIGPEN, BILLY R
1660 HERMITAGE DR
FLORENCE, AL 35630                                               2174    2/13/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
THIGPEN, HAROLD DALLEN
522 CORLEY DR
HIGHLANDS, TX 77562-2806                                         2312    2/17/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
THIGPEN, SR., BYRON H
234 S CHANNEL HAVEN DR
WILMINGTON, NC 28409                                             1455     2/3/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
THIGPEN, SR., BYRON H.
234 S CHANNEL HAVEN DR 39
WILMINGTON, NC 28409-3510                                        1463     2/3/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
Thomas, Harry Glenn
5213 Hedgerow Lane
Wilmington, NC 28409                                             2158    2/13/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
THOMAS, ROBERT O.
314 E. BUFFALO CHURCH RD.
WASHINGTON, PA 15301                                             1583     2/7/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Thomas, Robert O.
314 E. Buffalo Church Rd.
Washington, PA 15301                                             1639     2/7/2017     Gateway Coal Company                                 $0.00                                                                                                                                    $0.00
THOMPSON, JERALD
11902 GRAPEWOOD DR
HOUSTON, TX 77089-5438                                           2351    2/21/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
THORN, TERRY A
1126 GLENCREST DRIVE
LA PORTE, TX 77571-7805                                          1650     2/7/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00



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                  Creditor Name and Address         Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                           Amount                                                                                     Amount                                                Claim Amount
THORNTON, MARY A
2016 W SCHAAF RD
CLEVELAND, OH 44109-4608                              606     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
THORNTON, MARY ANN
884 GINO LANE
CLEVELAND, OH 44109-3788                              608     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
THORNTON, ROBERT W
1910 HIXON AVE
FLORENCE, AL 35630                                    707     1/23/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
THRASHER, CATHERNIE L
5705 COUNTY ROAD 108
TOWN CREEK, AL 35672-5401                             1239     2/1/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
THRESHER, WILLIAM R
407 RIO GRANDE DRIVE
IRVING, TX 75039-3364                                 1267     2/2/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
THRESHER, WILLIAM R
407 RIO GRANDE DRIVE
IRVING, TX 75039-3364                                 1269     2/2/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Tiffany and Co.
John H. Klock
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                      105     10/20/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
Tiffany and Co.
John H. Klock, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                      106     10/20/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
TIMMONS, RICHARD L
5 BLUERIDGE DR
MIDDLETOWN, DE 19709-9795                             1312     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Tolson, Robin A
2316 Heavenly Drive
Edmond, OK 73012                                      100     10/19/2016       Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Tolson, Robin A
2316 Heavenly Drive
Edmond, OK 73012                                      103     10/20/2016       Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Tommerup, Jeffery Roy
c/o Steven W. Soule Dustin Perry
Hall, Estill, Hardwick, Gable, Golden & Nelson PC
320 S. Boston Ave., Suite 200
Tulsa, OK 74103                                       2082    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Tommerup, Jeffery Roy
Hall Estill c/o Steven W. Soule
320 S. Boston Ave., Suite 200
Tulsa, OK 74103                                       2083    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Tommerup, Jeffery Roy
Hall Estill c/o Steven W. Soule
320 S. Boston Ave., Suite 200
Tulsa, OK 74103                                       2134    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
TOPLEK, BRUCE
4211 HOLLAND AVE APT 202
DALLAS, TX 75219-2834                                 681     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
TORRES JR, DONALD THOMAS
108 COUNTRY GDNS
LA VERNIA, TX 78121-9540                              706     1/23/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Trampenau, Richard H
9220 Milton Ave.
Gig Harbor, WA 98332-1085                             1959    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Trampenau, Richard H
9220 Milton Ave.
Gig Harbor, WA 98332-1085                             2034    2/13/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Trampenau, Richard H
9220 Milton Ave.
Gig Harbor, WA 98332-1085                             2066    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
Trampenau, Richard H
9220 Milton Ave.
Gig Harbor, WA 98332-1085                             2067    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00



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                Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                   Amount                                                                                     Amount                                                Claim Amount
Trampenau, Richard H
9220 Milton Ave.
Gig Harbor, WA 98332-1085                     2080    2/13/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
TRMI-H LLC
Mark Pfeiffer, Esq.
Buchanan Ingersoll & Rooney PC
50 S. 16th St., Ste. 3200
Philadelphia, PA 19102                        275     10/28/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
TRMI-H LLC
Mark Pfeiffer, Esquire
Buchanan Ingersoll & Rooney PC
50 S. 16th St., Ste. 3200
Philadelphia, PA 19102                        192     10/28/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
TRONCOSO, JUAN C
304 HITCH WAGON DR
MCKINNEY, TX 75071                            1723     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
TROY, WILLIAM M
6604 CHICK EVANS LANE
WOODRIDGE, IL 60517                           1481     2/5/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
TRUBY, CHARLES MICHAEL
8806 ALATERA GROVE
BOERNE, TX 78015                              1952    2/13/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Truby, Charles Michael
8806 Alatera Grove
Boerne, TX 78015                              1954    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Truby, Charles Michael
8806 Alatera Grove
Boerne, TX 78015                              2025    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
TRUBY, CHARLES MICHAEL
8806 ALATERA GROVE
BOERNE, TX 78015                              2026    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
TRUBY, CHARLES MICHAEL
8806 ALATERA GROVE
BOERNE, TX 78015                              2029    2/13/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
Turner, Craig E
207 Hidden Wood Drive
Lafayette, LA 70508                           494     1/18/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Turning Wave Seismic, L.P.
Attn: Patricia Cherne
PO Box 4176
Horseshoe Bay, TX 78657                        46     9/28/2016     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Turpack, Harold S.
852 N. Shore Road
Lake Oswego, OR 97034                         1893    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Turpack, Harold S.
852 N. Shore Road
Lake Oswego, OR 97034                         1895    2/10/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Turpack, Harold S.
852 N. Shore Road
Lake Oswego, OR 97034                         1897    2/10/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
TUTTLE, WILLIAM LEON
PO BOX 9612
HOUSTON, TX 77213-0612                        1407     2/3/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
TUTTLE, WILLIAM LEON
PO BOX 9612
HOUSTON, TX 77213-0612                        1436     2/3/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
TUTTLE, WILLIAM LEON
PO BOX 9612
HOUSTON, TX 77213-0612                        1446     2/3/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
TUTTLE, WILLIAM LEON
PO BOX 9612
HOUSTON, TX 77213-0612                        1450     2/3/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
TUTTLE, WILLIAM LEON
PO BOX 9612
HOUSTON, TX 77213-0612                        1452     2/3/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00




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                                                                                                                              Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                  Creditor Name and Address                       Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                         Amount                                                                                     Amount                                                Claim Amount
U.S. Dep't of Labor, Office of Worker's Comp. Programs, Div. of
Coal Mine Workers' Comp.
Kevin Lyskowski
U.S. Department of Labor
200 Constitution Avenue, NW, Suite N-2119
Washington, DC 20210                                                465     12/5/2016          Gateway Coal Company                                      $0.00                       $0.00                                                                                                        $0.00
U.S. Dep't of Labor, Office of Worker's Comp. Programs, Div. of
Coal Mine Workers' Comp.
Kevin Lyskowski
U.S. Department of Labor
200 Constitution Avenue, NW, Suite N-2119
Washington, DC 20210                                                466     12/5/2016        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
U.S. DOI-BSEE
MARY A. SCHMERGEL
1100 L STREET NW, RM 10026
WASHINGTON, DC 20005                                                2604     4/3/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                    $0.00           $0.00
U.S. Ecology
17440 College Parkway, Suite 300
Livonia, MI 48152                                                   428     11/7/2016           Tierra Solutions, Inc.                             $37,351.28                                                                                                                                $37,351.28
Ubben, Navidad A.
809 Oakway Ct.
Richardson, TX 75081                                                1086    1/31/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
UNDERWOOD, PEARL H
614 W WALNUT AVE
PAINESVILLE, OH 44077-2668                                          1496     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
United States Fire Insurance Co.
Crum & Forster
Gina Pontoriero
305 Madison Ave
Morristown, NJ 07960                                                2754    8/14/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                    $0.00           $0.00
United States Fire Insurance Co.
Crum & Forster
Gina Pontoriero
305 Madison Ave.
Morristown, NJ 07960                                                2743    8/14/2017          Gateway Coal Company                                      $0.00                                                                                                                    $0.00           $0.00
United States Fire Insurance Co.
Crum & Forster
Gina Pontoriero
305 Madison Ave.
Morristown, NJ 07960                                                2747    8/14/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                    $0.00           $0.00
United States Fire Insurance Co.
Crum & Forster
Gina Pontoriero
305 Madison Ave.
Morristown, NJ 07960                                                2751    8/14/2017    Maxus International Energy Company                              $0.00                                                                                                                    $0.00           $0.00
United States Fire Insurance Co.
Crum & Forster
Gina Pontoriero
305 Madison Ave.
Morristown, NJ 07960                                                2752    8/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
United States on behalf of EPA, DOI, and NOAA
c/o: David L. Gordon & Donald G. Frankel
Environmental Enforcement Section
Environment and Natural Resources Division
U.S. Department of Justice P.O. Box 7611
Washington, DC 20044-7611                                           474     12/15/2016       Maxus Energy Corporation                                    $0.00                                                                                                                $9,205.00        $9,205.00
United States on behalf of EPA, DOI, and NOAA
c/o: David L. Gordon & Donald G. Frankel
Environmental Enforcement Section
Environment and Natural Resources Division
U.S. Department of Justice P.O. Box 7611
Washington, DC 20044-7611                                           476     12/15/2016          Tierra Solutions, Inc.                                   $0.00                                                                                                                    $0.00           $0.00
United States on behalf of EPA, DOI, and NOAA
David L. Gordon & Donald G. Frankel
Environmental Enforcement Section
Environment and Natural Resources Division
P.O. Box 7611, U.S. Department of Justice
Washington, D.C. 20044-7611                                         473     12/15/2016       Maxus Energy Corporation                        $145,696,361.00                                                                                                                      $0.00 $145,696,361.00



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                                                                                                                                       Amount                                                                                     Amount                                                Claim Amount
United States, Department of the Interior, Bureau of Safety and
Environmental Enforcement(BSEE)
Phyllisina Leslie, Department of the Interior
1849 C Street, NW, MS 5358
Washington, DC 20240                                                475     12/15/2016   Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00
UPTON, MARK L
513 N CROCKETT ST
DEER PARK, TX 77536-6329                                            1311     2/3/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
URS Corporation
564 White Pond Dr.
Akron, OH 44320                                                     238     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
URS Corporation
564 White Pond Drive
Akron, OH 44320                                                     235     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
URS Corporation
564 White Pond Drive
Akron, OH 44320                                                     240     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
URS Corporation
564 White Pond Drive
Akron, OH 44320                                                     243     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
URS Corporation
564 White Pond Drive
Akron, OH 44320                                                     244     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
URS Corporation
564 White Pond Drive
Akron, OH 44320                                                     245     10/31/2016         Tierra Solutions, Inc.                             $2,132.44                                                                                                                                  $2,132.44
URS Corporation
564 White Pond Drive
Akron, OH 44320                                                     246     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
URSIN, OUBE
29010 HIGHWAY 643
VACHERIE, LA 70090-3023                                             2096    2/13/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Urzen, William J
1104 Church Street
Jessup, PA 18434                                                    1979    2/10/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
UTER, LAWRENCE A
347 LIPPI BLVD
LAFAYETTE, LA 70508                                                 1393     2/6/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
VALIMONT, JAMES E
2412 HORACE DR
WILMINGTON, DE 19808-3321                                           1222     2/1/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
VAN GELUWE, BARBARA
1537 MILL DAM RD APT 201
VIRGINIA BCH, VA 23454-1350                                         1290     2/1/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
Van Meter, Charlene Sue
5613 W. Orlando
Broken Arrow, OK 74011                                               62     9/27/2016       Maxus Energy Corporation                              $8,205.15                        $0.00                                                                                                     $8,205.15
Vandenberg, D
14906 Harvrenee Dr
Cypress, TX 77429                                                   2102    2/13/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
VANDENBERG, DONALD
14906 HARVRENEE DR
CYPRESS, TX 77429-4130                                              594     1/23/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
Vanderbilt Minerals, LLC
Attn: General Counsel
33 Winfield Street
Norwalk, CT 06856-5150                                              277     10/28/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
VANDEUTEKOM, CORNELIS
4373 GEVALIA DR
BROOKSVILLE, FL 34604-5806                                          1411     2/6/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
VANVALKENBURG, CYNTHIA P
6813 MARIKA CIR
AMARILLO, TX 79124-2730                                             1913    2/10/2017    Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00
VARA, JANIE R
6202 4TH ST, #312
LUBBOCK, TX 79416                                                   2712     8/7/2017       Maxus Energy Corporation                                   $0.00                                                                                                                    $0.00           $0.00
VARGAS, ARTHUR
10804 BOIS D ARC ST
LA PORTE, TX 77571-9508                                             2190    2/13/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00

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                                                                                                        Amount                                                                                     Amount                                                Claim Amount
VARGYAS, LINDA
3110 GIVENS CT
PERRY, OH 44081-9544                         1220     2/1/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
VAUGHT, RONALD J
913 PAULETTE DR
DEER PARK, TX 77536-4932                     1634     2/7/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Vendrick, Phyllis
687 New Churchman Rd
Newark, DE 19702                              26     9/12/2016    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
VENTURA, JEFFREY L
7513 MT VERNON DR
COLLEYVILLE, TX 76034-6925                   860     1/26/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
VESTAL, RICHARD C.
PO BOX 209
PENNS PARK, PA 18943                         602     1/23/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
VESTAL, RICHARD C.
PO BOX 209
PENNS PARK, PA 18943                         2694    7/31/2017    Maxus Energy Corporation                              $0.00                                                                                                                    $0.00           $0.00
VEVERKA, CATHERINE A
21765 LITTLE BROOK WAY
STRONGSVILLE, OH 44149                       1635     2/7/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
VIEREGGE, WILLIAM L
4709 CONTENDER LN
WILMINGTON, NC 28409-8917                    2218    2/14/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
VINCENT, NANCY J
6102 WILLOW CREST LN
WEST CHESTER, OH 45069-6465                  1375     2/6/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Vinson & Elkins LLP
Rebecca Petereit
2001 Ross Avenue, Suite 3700
Dallas, TX 75201                              77     10/6/2016    Maxus Energy Corporation                       $182,438.97                                                                                                                               $182,438.97
Vista Analytical Laboratory, Inc.
1104 Windfield Way
El Dorado Hills, CA 95762                     8      7/19/2016      Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
Vista Analytical Laboratory, Inc.
1104 Windfield Way
El Dorado Hills, CA 95762                    2631    4/20/2017      Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
WADDILL, MARY E
305 W PONCE DE LEON DR
SARALAND, AL 36571-2024                      800     1/25/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Wadsworth, David A.
26 Graceful Elm
The Woodlands, TX 77381                       7       7/6/2016    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Wadsworth, David A.
26 Graceful Elm
The Woodlands, TX 77381                      2382     3/6/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
WAGUESPACK, LARRY P
3434 S ANGELLE ST
PAULINA, LA 70763-2230                       1543     2/7/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
WAID, JERRY T
2208 LOPEZ DRIVE
ANTIOCH, CA 94509-4512                       758     1/24/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
WALK, ARTHUR
16800 COUNTY ROAD 290
COSBY, MO 64436-9186                         2078    2/13/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
WALKER, METELLA K
PO BOX 6052
LARGO, MD 20792                              1258     2/2/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
WALKER, WILLIE
3595 CUMMINGS RD
CLEVELAND HEIGHTS, OH 44118-2650             444     11/21/2016   Maxus Energy Corporation                              $0.00                       $0.00                                                                                                        $0.00
WALLACE, A JANE
9201 SO. DAMEN AVENUE
CHICAGO, IL 60643                            1464     2/6/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
WALLS, GREGORY E
65 BUCKEYE DR
POWELL, OH 43065-7345                        664     1/24/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00




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                                                                                                      Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
              Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
WALSH, CAROL S
62 FORD RD
LANDING, NJ 07850-1650                      1821     2/9/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WALTERS, TINA M.
2816 NIGHTHAWK DRIVE
MESQUITE, TX 75181                          1904    2/10/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Walters, Tina M.
2816 Nighthawk Drive
Mesquite, TX 75181                          1906    2/10/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
WALTERS, TINA M.
2816 NIGHTHAWK DRIVE
MESQUITE, TX 75181                          1963    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WALTERS, TINA M.
2816 NIGHTHAWK DRIVE
MESQUITE, TX 75181                          1967    2/10/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
WALTERS, TINA M.
2816 NIGHTHAWK DRIVE
MESQUITE, TX 75181                          1972    2/10/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Walters, Tina M.
2816 Nighthawk Drive
Mesquite, TX 75181                          1981    2/10/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
WALZ, DONALD
31 E 4TH ST
NEW CASTLE, DE 19720-5013                   2171    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WARNING, TIM L
8075 SILKYRIDER CT
CINCINNATI, OH 45249-1276                   757     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Waste Management
2625 W Grandview Rd Ste 150
Phoenix, AZ 85023                           102     10/20/2016       Maxus Energy Corporation                               $1,567.13                                                                                                                                  $1,567.13
Waterman, Betty J
200 Briar Patch Court
Stockbridge, GA 30281                        74     10/5/2016          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Waterman, Betty J
200 Briar Patch Court
Stockbridge, GA 30281                        75     10/5/2016          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
WATKINS, ROY L
2347 OLD TUNNELTON PIKE
KINGWOOD, WV 26537-9779                     720     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WATTS, MARY E
4821 SPICEWOOD SPRINGS RD 177
AUSTIN, TX 78759-8495                       632     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Webb, Ronald
2122 Spillman Drive
Zellwood, FL 32798                          1757     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Webb, Sr., Ronald Lee
2122 Spillman Drive
Zellwood, FL 32798                          1763     2/8/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Webb, Sr., Ronald Lee
2122 Spillman Drive
Zellwood, FL 32798                          1594     2/8/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Webb, Sr., Ronald Lee
2122 Spillman Drive
Zellwood, FL 32798                          1756     2/8/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Webb, Sr., Ronald Lee
2122 Spillman Drive
Zellwood, FL 32798                          1760     2/8/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
WEEMS, JOHNNY WAYNE
103 PALOMINO ST
AMARILLO, TX 79106-4116                     871     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Weems, Lynn A
1210 Denise
Deer Park, TX 77536                         823     1/25/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
WEEMS, LYNN ALAN
1210 DENISE
DEER PARK, TX 77536                         803     1/25/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Weems, Lynn Alan
1210 Denise
Deer Park, TX 77536                         810     1/25/2017           Tierra Solutions, Inc.                                   $0.00                       $0.00                                                                                                        $0.00

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                 Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
WEEMS, LYNN ALAN
1210 DENISE
DEER PARK, TX 77536                            818     1/25/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
Weems, Lynn Alan
1210 Denise
Deer Park, TX 77536                            820     1/25/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Weems, Lynn Alan
1210 Denise
Deer Park, TX 77536                            831     1/25/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
WEEMS, LYNN ALAN
1210 DENISE
DEER PARK, TX 77536                            834     1/25/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WEHRMAN, CAROL RUTH
613 PEDERNALES
PO BOX 57813
WEBSTER, TX 77598-7813                         2365    2/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WELCH JR, CHESTER L
15665 MALVERN HILL AVE
BATON ROUGE, LA 70817                          643     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Welch, Jed
1417 Creekmere Dr
Canyon, TX 79015                               770     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WELKER-HADDOCK, MARY L
8458 E MINERAL CIRCLE
CENTENNIAL , CO 80112                          760     1/24/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
WELKER-HADDOCK, MARY L
8458 E MINERAL CIRCLE
CENTENNIAL, CO 80112                           723     1/24/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
WELKER-HADDOCK, MARY L
8458 E MINERAL CIRCLE
CENTENNIAL, CO 80112                           724     1/24/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
WELKER-HADDOCK, MARY L
8458 E MINERAL CIRCLE
CENTENNIAL, CO 80112                           728     1/24/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
WELKER-HADDOCK, MARY L
8458 E MINERAL CIRCLE
CENTENNIAL, CO 80112                           791     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Wells Fargo Financial Leasing, Inc.
800 Walnut Street MAC N0005-055
Des Moines, IA 50309                            4       7/6/2016           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
WESEMAN, LUKE W
1003 MEADOW CREEK DR
ALLEN, TX 75002-1956                           1627     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WESSEL, ALAN P
509 LAKE DR
MIDDLETOWN, DE 19709-9684                      2648     5/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WEST, BRUCE, ESTATE OF
PO BOX 75
DUMAS, TX 79029-0075                           1540     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
West, Janice L
11060 McClary Rd.
PO Box 75
Dumas, TX 79029                                1501     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WEST, MARGARET F
225 DEFOREST AVE
BRIDGEPORT, CT 06607-2414                      2208    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WETHERBEE, DALE F
19015 CRESCENT BAY DR
HOUSTON, TX 77094-3325                         1331     2/3/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
WETHERBEE, DALE F
19015 CRESCENT BAY DR
HOUSTON, TX 77094-3325                         1333     2/3/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
WETHERBEE, DALE F
19015 CRESCENT BAY DR
HOUSTON, TX 77094-3325                         1386     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WHEELDON, DAN L
4372 OREGON ST
PERRY, OH 44081-9562                           2369    2/28/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00


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                                                                                                                          Amount                                                                                     Amount                                                Claim Amount
WHEELER COUNTY
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                               60     9/23/2016        Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
Wheeler County
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                              2540    3/30/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
WHITAKER, TERRY WAYNE
38371 WELSH DR
PRAIRIEVILLE, LA 70769-3848                          2163    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WHITE, JAMES E.
1616 LOPO ROAD
FLOWER MOUND, TX 75028-1307                          1144    1/30/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
White, James E.
1616 Lopo Road
Flower Mound, TX 75028-1307                          1167    1/30/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
WHITE, JAMES E.
1616 LOPO ROAD
FLOWER MOUND, TX 75028-1307                          1168    1/30/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
WHITE, JAMES E.
1616 LOPO ROAD
FLOWER MOUND, TX 75028-1307                          1169    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
White, James E.
1616 Lopo Road
Flower Mound, TX 75028-1307                          1176    1/30/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
WHITE, JUDI A
7 PRAIRIE DELL TRAILER CT MH
UNION, MO 63084-3354                                 1492     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
White, S J
260 Mill Morr Dr.
Painesville , OH 44077-1334                          1744     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WHITE, STEPHEN LEE
PO BOX 1829
MONT BELVIEU, TX 77580                               1495     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WHITE, STEPHEN LEE
PO BOX 1829
MONT BELVIEU, TX 77580                               1762     2/8/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WHITEHEAD, JIMMIE R
1480 FM 1011 RD
LIBERTY, TX 77575-6406                               2177    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WHITELEY, ELIZABETH
11 STONE ARROW PL
THE WOODLANDS, TX 77382                              2242    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WHITESIDE, JAMES E
3409 BLUEBONNET ST
PASADENA, TX 77505                                   1878    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WIGGINS, JAMES E
8012 SAN CRISTOBAL DR
DALLAS, TX 75218-4428                                2127    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
WIGGINS, JAMES E
8012 SAN CRISTOBAL DR
DALLAS, TX 75218-4428                                2128    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
WIGGINS, JAMES E
8012 SAN CRISTOBAL DR
DALLAS, TX 75218-4428                                2148    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WIGHT, ANDREW W.R.
THE OLD POST OFFICE
CHURCH LANE
CHEARSLEY, BUCKS HP18 ODH
UNITED KINGDOM                                       1499     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WIGHT, ANDREW W.R.
THE OLD POST OFFICE
CHURCH LANE
CHEARSLEY, BUCKS HP18 ODH
UNITED KINGDOM                                       2468    3/17/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
WILKENS, LLOYD DOUGLAS
PO BOX 389
PERRYTON, TX 79070-0389                              703     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
WILLIAM C BROOKS
111 KURT DRIVE
DOVER, DE 19901                              2358    2/21/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WILLIAMS, CHRISTI FORD
365 MUSTANG BLVD
PORT ARANSAS, TX 78373-4916                  446     11/23/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WILLIAMS, DANNY CHARLES
7734 DILLON ST
HOUSTON, TX 77061-2909                       2355    2/22/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WILLIAMS, DONALD EDWARD
PO Box 3584
Oxford, AL 36203                             626     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WILLIAMS, GERALD L
132 MORLEY RD
DILLINER, PA 15327                           752     1/24/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Williams, Gerald Lee
132 Morley Rd
Dilliner, PA 15327                           2691    7/28/2017          Gateway Coal Company                                      $0.00                                                                                                                    $0.00           $0.00
Williams, Johnny M
708 Highland Crest Drive
Hurst, TX 76054-2106                         1083    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WILLIAMS, RICHARD A
8429 BOWDEN WAY
WINDERMERE, FL 34786-5302                    1795     2/9/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
WILLIAMS, RICHARD A
8429 BOWDEN WAY
WINDERMERE, FL 34786-5302                    1797     2/9/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
WILLIAMS, RICHARD A
8429 BOWDEN WAY
WINDERMERE, FL 34786-5302                    1810     2/9/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
WILLIAMS, RICHARD A
8429 BOWDEN WAY
WINDERMERE, FL 34786-5302                    1811     2/9/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WILLIAMS, RICHARD A
8429 BOWDEN WAY
WINDERMERE, FL 34786-5302                    1812     2/9/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
WILLIAMS, RONALD
1822 GEORGIA AVE
DEER PARK, TX 77536-3914                     667     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Williamson, Hearl L.
292 Ridge Crest Dr.
Seguin, TX 78155                             2639     5/5/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WILLIFORD, JOHN A
10320 HUNTER CREEK LN
CONROE, TX 77304                             561     1/20/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WILLIFORD, JOHN A
10320 HUNTER CREEK LN
CONROE, TX 77304                             569     1/20/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
WILLIFORD, JOHN A
10320 HUNTER CREEK LN
CONROE, TX 77304                             570     1/20/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Williford, John A
10320 Hunter Creek Ln.
Conroe, TX 77304                             2395     3/3/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WILLINGHAM, ARVIA DUANE
105 SKOKIE RD
AMARILLO, TX 79118                           1549     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WILLINGHAM, ARVIA DUANE
105 SKOKIE RD
AMARILLO, TX 79118                           2489    3/20/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
WILLIS, CARLTON
906 CHURCH ST
NAVASSA, NC 28451-9795                       1552     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WILLIS, JON C
11001 COLLINGSWOOD
LA PORTE, TX 77571-4397                      1678     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WILSON, JOSEPH
701 W TARA LN
DUNCAN, SC 29334-9287                        1908    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

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                                                                                                                                        Amount                                                                                     Amount                                                Claim Amount
WILSON, ROGER
189 MODERN FARMS RD
WESTWEGO, LA 70094-2330                                            1546     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WILSON, SHERRELL LYNN
32510 GREEN BEND COURT
MAGNOLIA, TX 77354                                                 1683     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Wilson, William
1916 Bohemia Dr.
Cordova, TN 38016                                                  511     1/19/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Winegarner, Arlan
403 Dressen
Spearman, TX 79081                                                 1420     2/3/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Winegarner, Peggy
403 Dressen
Spearman, TX 79081                                                 1447     2/3/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Winstead PC
Annmarie Chiarello
500 Winstead Building
2728 N. Harwood Street
Dallas, TX 75201                                                    61     9/28/2016        Maxus Energy Corporation                               $5,939.34                                                                                                                                  $5,939.34
Wisconsin Electric Company and Wisconsin Gas LLC (collectively
here "We Energies")
Lauren Beslow, Quarles & Brady LLP
300 N. LaSalle Street, Suite 4000
Chicago, IL 60654                                                  302     10/31/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WISDOM, TERRY
10914 LANE ST.
HOUSTON, TX 77029-2832                                             488     1/17/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WITT JR, GERALD F
1019 MISTY TRAILS LANE
LEAGUE CITY, TX 77573                                              1550     2/7/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
WITT JR, GERALD F
1019 MISTY TRAILS LANE
LEAGUE CITY, TX 77573                                              1556     2/7/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
WITT JR, GERALD F
1019 MISTY TRAILS LANE
LEAGUE CITY, TX 77573                                              1567     2/7/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
WITT JR, GERALD F
1019 MISTY TRAILS LANE
LEAGUE CITY, TX 77573                                              1570     2/7/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
WITT JR, GERALD F
1019 MISTY TRAILS LANE
LEAGUE CITY, TX 77573                                              1593     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Wolf, Joseph R.
2A-10-2 The View Twin Tower
Jalan Batu Uban 5, Gelugor
Penang 11700
Malaysia                                                           2408     3/7/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Woodard, Dennis M
3238 S Ridge Rd E
Ashtabula, OH 44004-4544                                           1201    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WOODARD, DENNIS M
3238 S RIDGE RD E
ASHTABULA, OH 44004-4544                                           2135    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WOODS, JODY SCOTT
2501 LIVINGSTON LN
GRAND PRAIRIE, TX 75052-4107                                       2350    2/21/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Wooten III, Earl
159 Mountain Laurel Dr.
Montgomery, TX 77316                                               2755    8/15/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
WOOTEN, REBA
3402 S RUSK STREET
AMARILLO, TX 79109-4830                                            1005    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WRIGHT, LEE A
PO BOX 791
HARDIN, TX 77561-0791                                              1885    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00




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                                                                                                                      Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
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                                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
Wyeth Pharmaceuticals, Inc., on behalf of Shulton, Inc.
Attn: Stephanie M. Haggerty, Senior Corporate Counsel,
Regulatory
Law, Legal Dvision, Pfizer Inc.
235 East 42nd Street
New York, NY 10017                                          148     10/27/2016          Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
Wyeth Pharmaceuticals, Inc., on behalf of Shulton, Inc.
Stephanie M. Haggerty | Senior Corporate Counsel
Regulatory Law | Legal Division
Pfizer Inc.
235 East 42nd Street (235/25/21)
New York, NY 10017                                          155     10/27/2016       Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
YAHNEL, DAVID H.
P.O. BOX 125
MURRAY, KY 42071-0002                                       1013    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
YAHNEL, DAVID H.
P.O. BOX 125
MURRAY, KY 42071-0002                                       2721     8/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
YANCEY, JIMMY M
305 SOUTH BLACKWELL
LA PORTE, TX 77571                                          1620     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Yancich, Richard D.
PO Box 1
Dilliner, PA 15327                                          509     1/19/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Yancich, Richard D.
PO Box 1
Dilliner, PA 15327                                          510     1/19/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
YARNELL, RICHARD A
548 HOLLETTS CORNER RD
CLAYTON, DE 19938                                           2070    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Yates, Steven Moore
12853 Cross Point Dr.
Frisco, TX 75033                                            1646     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
YELVERTON, ROY ALAN
108 TREE CREST CIR
SPRING, TX 77381-3295                                       1800     2/9/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
YELVERTON, ROY ALAN
108 TREE CREST CIR
SPRING, TX 77381-3295                                       1807     2/9/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
YELVERTON, ROY ALAN
108 TREE CREST CIR
SPRING, TX 77381-3295                                       1808     2/9/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
YELVERTON, ROY ALAN
108 TREE CREST CIR
SPRING, TX 77381-3295                                       1809     2/9/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
YELVERTON, ROY ALAN
108 TREE CREST CIR
SPRING, TX 77381-3295                                       1813     2/9/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
YODER, MICHAEL RAYMOND
2119 AVENUE N
NEDERLAND, TX 77627-5518                                    1330     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
YOSH, JAMES P
11431 TIMBER POINT DR D
CHESTERFIELD, VA 23838-8952                                 2319    2/17/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
YOUNG, RAYMOND
3036 ROSEDALE AVE
DALLAS, TX 75205-1452                                       2091    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
YPF Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                     254     10/28/2016    Maxus (U.S.) Exploration Company                               $0.00                       $0.00                                                                                                        $0.00
YPF Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                     257     10/28/2016          Tierra Solutions, Inc.                             $51,173.44                        $0.00                                                                                                   $51,173.44




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                                                                                                                           Amount                                                                                     Amount                                                Claim Amount
YPF Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                               282     10/28/2016         Gateway Coal Company                                      $0.00                       $0.00                                                                                                        $0.00
YPF Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                               294     10/28/2016 Maxus International Energy Company                          $51,173.44                        $0.00                                                                                                   $51,173.44
YPF Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                               295     10/28/2016       Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
YPF Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                               2657    5/22/2017        Maxus Energy Corporation                              $51,173.44                        $0.00                                                                                                   $51,173.44
YPF Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                               2665    5/22/2017           Tierra Solutions, Inc.                             $51,173.44                        $0.00                                                                                                   $51,173.44
YPF Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                               2666    5/22/2017    Maxus International Energy Company                        $51,173.44                        $0.00                                                                                                   $51,173.44
YPF S.A.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                               321     10/31/2016         Gateway Coal Company                                      $0.00                       $0.00                          $0.00                                                                         $0.00
YPF S.A.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                               326     10/31/2016       Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
YPF S.A.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                               327     10/31/2016    Maxus (U.S.) Exploration Company                               $0.00                       $0.00                                                                                                        $0.00
YPF S.A.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                               328     10/31/2016          Tierra Solutions, Inc.                                   $0.00                       $0.00                                                                                                        $0.00
YPF S.A.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                               2660    5/22/2017     Maxus (U.S.) Exploration Company                               $0.00                       $0.00                                                                                                        $0.00
YPF S.A.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                               2662    5/22/2017          Gateway Coal Company                                      $0.00                       $0.00                                                                                                        $0.00
YPF S.A.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                               2663    5/22/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00




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                                                                                                                 Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                Creditor Name and Address            Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                            Amount                                                                                     Amount                                                Claim Amount
YPF S.A.
Norton Rose Fulbright US LLP
Howard Seife, Esq., Samuel S. Kohn, Esq.
Francisco Vazquez, Esq.
1301 Avenue of the Americas
New York, NY 10019-6022                                2667    5/22/2017           Tierra Solutions, Inc.                                   $0.00                       $0.00                                                                                                        $0.00
YPF Services USA Corp.
Norton Rose Fulbright US LLP
Attn:Howard Seife,Samuel S. Kohn,Francisco Vazquez
1301 Avenue of the Americas
New York, NY 10019-6022                                296     10/28/2016    Maxus (U.S.) Exploration Company                         $17,307.58                        $0.00                                                                                                   $17,307.58
YPF Services USA Corp.
Norton Rose Fulbright US LLP
Attn:Howard Seife,Samuel S. Kohn,Francisco Vazquez
1301 Avenue of the Americas
New York, NY 10019-6022                                2661    5/22/2017     Maxus (U.S.) Exploration Company                         $10,307.58                        $0.00                                                                                                   $10,307.58
ZAMUDIO, MARIA EUGENIA
1362 CHEYENNE RD
LEWISVILLE, TX 75077-2821                              705     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ZANKL, LOURDES M
ODENWALDSTR. 20
BAD HOMBURG 61352
GERMANY                                                1470     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ZANKL, LOURDES M
ODENWALDSTR. 20
BAD HOMBURG 61352
GERMANY                                                2522    3/27/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
ZANKL, LOURDES M
ODENWALDSTR. 20
BAD HOMBURG 61352
GERMANY                                                2683    7/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
ZAPPATERRINI, DAVID J
2002 N BANCROFT PKWY
WILMINGTON, DE 19806                                   2125    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ZAPPITELLI, ALFRED A
127 FAIRFIELD RD
PAINESVILLE, OH 44077-1518                             668     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ZAPPITELLI, BARBARA A
651 WRIGHTS AVE
CONNEAUT, OH 44030-1666                                1725     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ZELLER, RONALD D
2519 E 4925 S
VERNAL, UT 84078-9267                                  1637     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ZELLER, WILLIAM J
131 OAKLAKE ST
PIERRE PART, LA 70339                                  1558     2/7/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
ZELLER, WILLIAM J
131 OAKLAKE ST
PIERRE PART, LA 70339                                  1559     2/7/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
ZELLER, WILLIAM J
131 OAKLAKE ST
PIERRE PART, LA 70339                                  1563     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ZELLER, WILLIAM J
131 OAKLAKE ST
PIERRE PART, LA 70339                                  1569     2/7/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Zeller, William J
131 Oaklake St
Pierre Part, LA 70339                                  1575     2/7/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
ZEMAN, WAYNE P
3401 SAGINAW AVE
THE VILLAGES, FL 32163-6385                            1221     2/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Zeno Digital Solutions LLC dba Zeno Imaging
10688 Haddington Drive
Houston, TX 77043                                      2472    3/20/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Zeringue, Jeffery J
8377 HWY 405
Donaldsonville, LA 70346-8313                          1994    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00




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                                                                                                         Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
ZERINGUE, WILLIAM J
12192 VERBA LN
SAINT AMANT, LA 70774-3641                     2178    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Zetts, Arthur E
9194 Vernon Hill Drive
North Ridgeville, OH 44039-9763                525     1/19/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Zolnier, James
2125 Canyon Lakes Dr
San Ramon, CA 94582                            1513     2/6/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Zolnier, James
2125 Canyon Lakes Dr
San Ramon, CA 94582                            1585     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Zolnier, James
2125 Canyon Lakes Dr
San Ramon, CA 94582                            1617     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ZOLNIER, JAMES
2125 CANYON LAKES DR
SAN RAMON, CA 94582                            672     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ZOLNIER, JAMES
2125 CANYON LAKES DR
SAN RAMON, CA 94582                            1373     2/6/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Zolnier, James
2125 Canyon Lakes Dr
San Ramon, CA 94582                            1518     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Zolnier, James
2125 Canyon Lakes Dr
San Ramon, CA 94582                            1519     2/6/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
ZORICH, RICHARD A
405 LAKEFIELD TER
STROUDSBURG, PA 18360-7763                     2046    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00




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